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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW JERSEY

                                FEE STATEMENT COVER SHEET

  Debtor:         LTL Management LLC               Applicant:        Paul Hastings LLP

  Case No.:       23-12825 (MBK)                   Client:           Ad Hoc Committee of Supporting
                                                                     Counsel

  Chapter:        11                               Case Filed:       April 4, 2023


                                              SECTION I
                                            FEE SUMMARY

                              Monthly Fee Statement Covering the Period
                                 May 1, 2023 through May 31, 2023

  Total Fees:                                                                          $2,181,878.50
  Total Disbursements:                                                                 $12,376.87
  Minus % holdback of Fees:                                                            (436,375.70)
  Amount Sought at this Time                                                           $1,757,879.67

                                                                            Total for Statement Period
              Name            Department      Date of        Hourly Rate    Hours         Amount
                               or Group        First                        Billed
                                             Admission
       Hansen, Kris            Financial       1996
                              Restructuring                     $2,075.00    100.50       $208,537.50
       Heard, Scott             Finance          2008           $1,625.00      8.50        $13,812.50
       Miller, Allison         Financial         2004
                              Restructuring                     $1,725.00     27.40         $47,265.00
       Murphy, Matt            Financial         1999
                              Restructuring                     $1,750.00    166.70       $291,725.00
       Pasquale, Ken            Financial        1990
                              Restructuring                     $1,875.00     23.00         $43,125.00
       Whitner, William         Complex          1996
                              Litigation &
                               Arbitration                      $1,650.00     65.80       $108,570.00
                                          Total Partner:                     391.90       $713,035.00
       Micheli, Matthew         Financial        2002
                              Restructuring                     $1,650.00    223.20       $368,280.00
       Montefusco, Ryan        Financial         2012
                              Restructuring                     $1,600.00    209.30       $334,880.00
       Silber, Gary                Tax           2006           $1,600.00      1.50         $2,400.00
       Traxler, Katherine      Financial         1990
                              Restructuring                     $1,025.00      1.40          $1,435.00
                                          Total Counsel:                     435.40       $706,995.00
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                                                                         Total for Statement Period
             Name           Department       Date of      Hourly Rate    Hours         Amount
                             or Group         First                      Billed
                                            Admission
      Farmer, Will           Financial        2018
                            Restructuring                    $1,235.00     27.50         $33,962.50
      Glogowski, Angelika    Financial         2021
                            Restructuring                      $915.00      6.20          $5,673.00
      Jones, Mike            Financial         2011
                            Restructuring                    $1,235.00      1.60          $1,976.00
      Lawand, Sam             Financial        2016
                            Restructuring                    $1,270.00    178.80       $227,076.00
      McMillan, Jillian       Financial        2019
                            Restructuring                    $1,125.00    180.00       $202,500.00
      Miliotes, Lanie        Financial         2023
                            Restructuring                      $855.00    121.10       $103,540.50
      Simpson, Louise          Private         2022
                               Equity                          $855.00     10.50          $8,977.50
      Wald, Abigail           Complex          2016
                             Litigation
                             Arbitration                     $1,290.00     40.50         $52,245.00
      Whalen, Michael         Complex          2015
                            Litigation &
                             Arbitration                     $1,320.00     72.10         $95,172.00
                                       Total Associate:                   638.30       $731,122.50
      Magzamen, Michael       Financial
                            Restructuring                      $540.00     56.50         $30,510.00
      Mohamed, David         Financial
                            Restructuring                      $540.00      0.40           $216.00
                              Total Paraprofessional:                      56.90         $30,726.00
                                                Total:                   1522.50      $2,181,878.50




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                                     SECTION II
                                 SUMMARY OF SERVICES

                                                             Total for Statement
                                                                    Period

                                                            Total      Total Fees
             U.S. Trustee Task Code and Project Category
                                                            Hours
            B110    Case Administration                      142.60    $190,872.00
            B113    Pleadings Review                          38.80     $45,063.00
            B150    Meetings of and Communications with
                    Creditors                                 76.60    $121,005.00
            B155    Court Hearings                           109.30    $160,774.00
            B160    Employment / Fee Applications (Paul
                    Hastings)                                 20.30     $25,107.50
            B165    Fee/Employment Applications for Other
                    Professionals                              2.00      $1,548.00
            B170    Fee/Employment Objections                  0.80      $1,400.00
            B190    Other Contested Matters(excl.
                    assumption/rejections motions)           158.60    $207,722.00
            B191    General Litigation                       509.50    $761,793.50
            B240    Tax Issues                                 1.80      $2,895.00
            B310    Claims Administration and Objections       1.60      $2,108.00
            B320    Plan and Disclosure Statement            460.60    $661,590.50
            TOTAL                                           1522.50   $2,181,878.50




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                                         SECTION III
                                   SUMMARY OF DISBURSEMENTS


                                                                 Total for Statement
                                     Category
                                                                        Period
                Computer Search                                             $6,931.30
                Court Reporting Services                                    $4,692.90
                Meals                                                         $282.25
                Taxi/Ground Transportation                                     $30.96
                Reproduction Charges                                          $160.80
                Courier Services                                              $278.66
                TOTAL                                                      $12,376.87



 I certify under penalty of perjury that the above is true.

  Date: July 18, 2023                                         /s/ Matthew M. Murphy
                                                              Matthew M. Murphy




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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)

     PAUL HASTINGS LLP
     200 Park Avenue
     New York, New York 10166
     Kristopher M. Hansen (admitted pro hac vice)

     PAUL HASTINGS LLP
     71 South Wacker Drive, Suite 4500
     Chicago, Illinois 60606
     Matthew M. Murphy (admitted pro hac vice)
     Matthew Micheli (admitted pro hac vice)

     COLE SCHOTZ P.C.
     Court Plaza North
     25 Main Street, P.O. Box 800
     Hackensack, New Jersey 07602-0800
     Michael D. Sirota
     Warren A. Usatine
     Seth Van Aalten (admitted pro hac vice)
     Justin Alberto (admitted pro hac vice)

     PARKINS & RUBIO LLP
     700 Milam, Suite 1300
     Houston, Texas 77002
     Lenard M. Parkins (admitted pro hac vice)
     Charles M. Rubio (admitted pro hac vice)

     Counsel to Ad Hoc Committee of Supporting
     Counsel
     In re:                                                      Chapter 11

     LTL MANAGEMENT LLC,1                                        Case No.: 23-12825 (MBK)

                                            Debtor.              Judge: Michael B. Kaplan


              MONTHLY FEE STATEMENT OF PAUL HASTINGS LLP,
    COUNSEL TO AD HOC COMMITTEE OF SUPPORTING COUNSEL, FOR THE
                  PERIOD MAY 1, 2023 THROUGH MAY 31, 2023
 ______________________________________________________________________________


 1
        The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
        Street, New Brunswick, New Jersey 08933.
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        On June 20, 2023, the Court entered the Order Authorizing the Debtor to Enter into the

 Reimbursement Agreement [ECF No. 838] (the “Reimbursement Order”), pursuant to which the

 Debtor entered into a post-petition expense reimbursement agreement (the “Reimbursement

 Agreement”) to pay certain fees and expenses of the Ad Hoc Committee of Supporting Counsel

 (the “AHC of Supporting Counsel”).

        The Reimbursement Agreement provides that the Debtor will pay the reasonable and

 documented fees and out-of-pocket expenses of professionals retained by the AHC of Supporting

 Counsel, including, among others, Paul Hastings LLP (“Paul Hastings”), for the period from April

 18, 2023 through the termination of the Reimbursement Agreement.

        The Reimbursement Agreement further provides that Paul Hastings will file monthly fee

 statements and interim and final fee applications in accordance with the Court’s Order

 Establishing Procedures for Interim Compensation and Reimbursement of Expenses of Retained

 Professionals [ECF No. 562] (the “Interim Compensation Order”), entered on May 22, 2023.

        Paul Hastings respectfully submits this Fee Application in accordance with the

 Reimbursement Order, the Reimbursement Agreement, and the Interim Compensation Order for

 services rendered and expenses incurred as counsel to the Ad Hoc Committee of Supporting

 Counsel for the period commencing May 1, 2023 and ending May 31, 2023 (the

 “Statement Period”).

        The billing invoices, along with a detailed breakdown of all out-of-pocket disbursements

 necessarily incurred by Paul Hastings for the Statement Period are annexed hereto as Exhibit A.

 These invoices detail the services performed by Paul Hastings.

        The payment of fees and reimbursement of expenses requested in this Statement are as

 follows:




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                                                                             Expense
          Fees               Fee Holdback            Fee Payment
                                                                          Reimbursement
        (100%)                   (20%)                  (80%)
                                                                             (100%)


     $2,181,878.50            $436,375.70           $1,745,502.80            $12,376.87


        WHEREFORE, Paul Hastings respectfully requests payment of fees and reimbursement of

 expenses for the Statement Period of $1,757,879.67 (80% of total fees and 100% of expenses) in

 accordance with the Interim Compensation Order.



 Dated: July 18, 2023                       PAUL HASTINGS LLP


                                            /s/ Matthew M. Murphy
                                            Matthew M. Murphy (admitted pro hac vice)
 `                                          Matthew Micheli (admitted pro hac vice)
                                            71 South Wacker Drive, Suite 4500
                                            Chicago, IL 60606
                                            Telephone: (312) 499-6000
                                            Email: mattmurphy@paulhastings.com
                                                    mattmicheli@paulhastings.com

                                            Kristopher M. Hansen (admitted pro hac vice)
                                            200 Park Avenue
                                            New York, NY 10166
                                            Telephone: (212) 318-6000
                                            Email: krishansen@paulhastings.com


                                            Counsel to AHC of Supporting Counsel




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                                 EXHIBIT A
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                                                          PAUL HASTINGS LLP
                                                          200 Park Avenue, New York, NY 10166-3205
                                                          t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




 Ad Hoc Committee of Supporting Talc Counsel in LTL July 17, 2023
 488 Madison Avenue
 New York, NY                                       Please Refer to
                                                    Invoice Number: 2364905

 Attn: Jonathan Schulman                                                 PH LLP Tax ID No. XX-XXXXXXX


                                                 SUMMARY SHEET

 Representation in Chapter 11 bankruptcy proceedings
 PH LLP Client/Matter # 51691-00002
 Scott A. Heard

 Legal fees for professional services
 for the period ending May 31, 2023                                                                         $2,181,878.50
                             Costs incurred and advanced                                                         12,376.87
                             Current Fees and Costs Due                                                     $2,194,255.37
                             Total Balance Due - Due Upon Receipt                                           $2,194,255.37




 We encourage our clients to pay via ACH, however, in the event that you pay by check, please send
 payment to the remittance address below:

 TO PROTECT AGAINST FRAUD, the Firm will not change its wiring instructions via email. We
 strongly encourage clients to confirm any change in wiring instructions by contacting Teri Goffredo @
 213-683-5045 or via email @ terigoffredo@paulhastings.com and requesting written and verbal
 confirmation.

 Wiring and ACH Instructions:                                        Remittance Address:
   Citibank                                                             Paul Hastings LLP
   ABA #                                                                Lockbox 4803
   SWIFT Address: CITIUS33                                              PO Box 894803
   787 W. 5th Street                                                    Los Angeles, CA 90189-4803
   Los Angeles, CA 90071
   Account Number:
   Account Name: Paul Hastings LLP

 For wires, please reference the invoice, client and matter number(s) being paid
 For ACH payments, please use the CTX format and/or send any remittances to cashepn@paulhastings.com. This is a no-reply
 mailbox
 Please refer all questions to billing@paulhastings.com
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                                                          PAUL HASTINGS LLP
                                                          200 Park Avenue, New York, NY 10166-3205
                                                          t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




 Ad Hoc Committee of Supporting Talc Counsel in LTL July 17, 2023
 488 Madison Avenue
 New York, NY                                       Please Refer to
                                                    Invoice Number: 2364905

 Attn: Jonathan Schulman                                                 PH LLP Tax ID No. XX-XXXXXXX


                                               REMITTANCE COPY

 Representation in Chapter 11 bankruptcy proceedings
 PH LLP Client/Matter # 51691-00002
 Scott A. Heard

 Legal fees for professional services
 for the period ending May 31, 2023                                                                         $2,181,878.50
                             Costs incurred and advanced                                                         12,376.87
                             Current Fees and Costs Due                                                     $2,194,255.37
                             Total Balance Due - Due Upon Receipt                                           $2,194,255.37




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 confirmation.

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   ABA #                                                                Lockbox 4803
   SWIFT Address: CITIUS33                                              PO Box 894803
   787 W. 5th Street                                                    Los Angeles, CA 90189-4803
   Los Angeles, CA 90071
   Account Number:
   Account Name: Paul Hastings LLP

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                                                  PAUL HASTINGS LLP
                                                  200 Park Avenue, New York, NY 10166-3205
                                                  t: +1.212.318.6000 | f: +1.212.319.4090 | www.paulhastings.com




 Ad Hoc Committee of Supporting Talc Counsel in LTL July 17, 2023
 488 Madison Avenue
 New York, NY                                       Please Refer to
                                                    Invoice Number: 2364905

 Attn: Jonathan Schulman                                        PH LLP Tax ID No. XX-XXXXXXX


 FOR PROFESSIONAL SERVICES RENDERED
 for the period ending May 31, 2023


 Representation in Chapter 11 bankruptcy proceedings                                                $2,181,878.50




 Date         Initials   Description                                         Hours           Rate        Amount

 B110   Case Administration
 05/01/2023   AM50       Call with K. Hansen, K. Pasquale, M.                   0.70    1,725.00         1,207.50
                         Murphy, M. Micheli, M. Whalen, R.
                         Montefusco, S. Lawand, and L. Miliotes re
                         case plan
 05/01/2023   JM63       Attend call with K. Hansen, K. Pasquale, M.            0.70    1,125.00           787.50
                         Murphy, M. Micheli, M. Whalen, R.
                         Montefusco, S. Lawand, and L. Miliotes
                         regarding case plan and issues/task list
 05/01/2023   KP17       Call with K. Hansen, M. Murphy, A. Miller,             0.70    1,875.00         1,312.50
                         M. Micheli, M. Whalen, R. Montefusco, S.
                         Lawand, J. McMillan, and L. Miliotes re case
                         matters and next steps
 05/01/2023   KH18       Call with K. Pasquale, A. Miller, M.                   1.20    2,075.00         2,490.00
                         Murphy, M. Micheli, R. Montefusco, M.
                         Whalen, S. Lawand, J. McMillan, and L.
                         Miliotes regarding case plan and issues/task
                         list (.7); prepare notes regarding case plan
                         and issues/task list (.5)
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 Date         Initials   Description                                     Hours      Rate    Amount
 05/01/2023   LM20       Update case calendar and task list (.6);         1.60    855.00    1,368.00
                         correspond with M. Micheli re same (.2);
                         meeting with K. Hansen, K. Pasquale, M.
                         Murphy, M. Micheli, M. Whalen, R.
                         Montefusco, S. Lawand, J. McMillan
                         regarding case plan and issues/task list (.7)
 05/01/2023   MMM5 Attend call with K. Hansen, K. Pasquale, M.            0.70   1,750.00   1,225.00
                   Micheli, M. Whalen, R. Montefusco, S.
                   Lawand, J. McMillan, and L. Miliotes
                   regarding case updates and issues/task list
 05/01/2023   MM53       Analyze case strategy regarding upcoming         1.10   1,650.00   1,815.00
                         pleadings and filings.
 05/01/2023   MM53       Draft case plan and related calendar (.5);       0.70   1,650.00   1,155.00
                         review recently filed pleadings regarding
                         same (.2)
 05/01/2023   MM53       Telephone conference with K. Hansen, K.          0.70   1,650.00   1,155.00
                         Pasquale, M. Murphy, M. Whalen, R.
                         Montefusco, S. Lawand, J. McMillan, and L.
                         Miliotes regarding pending case matters and
                         motion to dismiss and response.
 05/01/2023   MM53       Correspond with M. Murphy regarding case         0.20   1,650.00     330.00
                         updates.
 05/01/2023   MM53       Draft correspondence to Jones Day                0.30   1,650.00     495.00
                         regarding upcoming case matters.
 05/01/2023   MM53       Update work in progress document.                0.50   1,650.00     825.00
 05/01/2023   MM53       Telephone conference with SteerCo                0.30   1,650.00     495.00
                         member and S. Heard regarding case
                         matters and engagement letters.
 05/01/2023   MW22       Call with K. Hansen, K. Pasquale, M.             0.70   1,320.00     924.00
                         Murphy, M. Micheli, R. Montefusco, S.
                         Lawand, J. McMillan, and L. Miliotes
                         regarding open issues/tasks, case matters,
                         and pending drafts
 05/01/2023   MM57       Calendar critical dates and filing deadlines     0.70    540.00      378.00
                         (.1); arrange for bulk document transfer
                         with Jones Day (.2); correspond with M.
                         Micheli on case workstreams (.2); review
                         and confirm hearing credentials with Cole
                         Schotz (.1)
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 Date         Initials   Description                                    Hours      Rate    Amount
 05/01/2023   RM30       Call with K. Hansen, K. Pasquale, M.            0.70   1,600.00   1,120.00
                         Murphy, M. Micheli, M. Whalen, S. Lawand,
                         J. McMillan, and L. Miliotes re case updates
                         and strategy
 05/01/2023   SL38       Attend call with K. Hansen, K. Pasquale, A.     0.70   1,270.00     889.00
                         Miller, M. Murphy, M. Micheli, M. Whalen,
                         R. Montefusco, J. McMillan, and L. Miliotes
                         regarding case developments and strategy
 05/01/2023   SAH1       Call with SteerCo member and M. Micheli         0.30   1,625.00     487.50
                         regarding case matters and engagement
                         letter
 05/01/2023   SAH1       Attend portion of call with K. Hansen, K.       0.30   1,625.00     487.50
                         Pasquale, M. Murphy, M. Micheli, R.
                         Montefusco, S. Lawand, M. Whalen, J.
                         McMillan, and L. Miliotes regarding case
                         plan and issues/task list
 05/02/2023   KH18       Telephone conference with D. Prieto, M.         1.10   2,075.00   2,282.50
                         Micheli and M. Murphy regarding case
                         strategy (.7); review and comment on case
                         strategy and related workstreams (.4)
 05/02/2023   LM20       Update work in progress chart (.8);             0.90    855.00      769.50
                         correspond with M. Micheli re same (.1)
 05/02/2023   MMM5 Attend call with Jones Day, M. Micheli and            0.70   1,750.00   1,225.00
                   K. Hansen regarding case status and next
                   steps
 05/02/2023   MM53       Analyze case strategy regarding upcoming        0.70   1,650.00   1,155.00
                         matters.
 05/02/2023   MM53       Attend portion of telephone conference          0.40   1,650.00     660.00
                         with D. Prieto, K. Hansen and M. Murphy
                         regarding case strategy.
 05/02/2023   MM53       Update work in progress document.               0.40   1,650.00     660.00
 05/03/2023   AG29       Correspond with M. Murphy regarding UST         5.70    915.00    5,215.50
                         committee disbandment (.1); Correspond
                         with M. Jones regarding same (.1); research
                         and review precedent cases and documents
                         regarding same and changing committee
                         composition (3.9); draft analysis of same
                         (1.4); correspond with M. Murphy, M. Jones
                         regarding same (.2)
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 Date         Initials   Description                                   Hours      Rate    Amount
 05/03/2023   KH18       Review and comment on Rule 2019                1.70   2,075.00   3,527.50
                         statement and related issues (1.0); review
                         and comment on case strategy and related
                         workstreams (.7)
 05/03/2023   LM20       Correspond with M. Micheli re case             1.30    855.00    1,111.50
                         issues/task list (.2); Update case calendar
                         and task list re same (1.1)
 05/03/2023   MM53       Revise work in progress document.              0.40   1,650.00     660.00
 05/04/2023   JM63       Attend meeting with K. Pasquale, M.            0.80   1,125.00     900.00
                         Murphy, M. Whalen, S. Lawand, L. Miliotes
                         re case strategy, mandamus, and
                         workstreams
 05/04/2023   KP17       Attend portion of call with M. Murphy, S.      0.60   1,875.00   1,125.00
                         Lawand, J. McMillan, L. Miliotes, and M.
                         Whalen re mandamus, related documents,
                         and case matters
 05/04/2023   LM20       Update case calendar and case issues list      1.80    855.00    1,539.00
                         (1.0); meeting with K. Pasquale, M. Murphy,
                         M. Whalen, S. Lawand, J. McMillan re case
                         updates and upcoming filings (.8)
 05/04/2023   MMM5 Attend portion of case issues/task list call         0.50   1,750.00     875.00
                   with K. Pasquale, M. Whalen, S. Lawand, J.
                   McMillan and L. Miliotes
 05/04/2023   MM53       Telephone conference with M. Murphy, K.        0.80   1,650.00   1,320.00
                         Whitner, M. Whalen, J. McMillan, S.
                         Lawand and L. Miliotes regarding case
                         status matters
 05/04/2023   MM53       Prepare documents relating to rule 2019        0.60   1,650.00     990.00
                         statement.
 05/04/2023   MM53       Telephone conference with S. Van Aalten        0.20   1,650.00     330.00
                         regarding rule 2019 and related filings.
 05/04/2023   MM53       Analysis of case strategy regarding pending    0.70   1,650.00   1,155.00
                         motions and upcoming matters.
 05/04/2023   MW22       Call with M. Murphy, K. Pasquale, J.           0.80   1,320.00   1,056.00
                         McMillan, S. Lawand, and L. Miliotes
                         regarding open case issues and related
                         workstreams
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 Date         Initials   Description                                      Hours      Rate    Amount
 05/04/2023   MM57       Correspond with M. Micheli re: PSAs and           0.60    540.00      324.00
                         client lists for rule 2019 purposes (.2);
                         review and comment on bulk document
                         transfer correspondence to Cole Schotz (.2);
                         correspond with local counsel re: critical
                         dates and filing deadlines (.1); calendar same
                         (.1)
 05/04/2023   RM30       Correspond with Jones Day re case matters         0.60   1,600.00     960.00
                         and strategy
 05/04/2023   SL38       Attend call with K. Pasquale, M. Murphy, J.       0.80   1,270.00   1,016.00
                         McMillan, L. Miliotes, and M. Whalen
                         regarding case strategy, issues, and
                         mandamus papers.
 05/05/2023   KP17       Correspond with K. Hansen re case plan            0.50   1,875.00     937.50
                         and next steps
 05/05/2023   LM20       Correspond with S. Lawand re case                 0.10    855.00       85.50
                         issues/tasks
 05/05/2023   MMM5 Telephone call with D. Pietro regarding                 0.70   1,750.00   1,225.00
                   open case issues (.3); telephone calls with S.
                   Van Aalten regarding rule 2019 and rule
                   2019 statements (.2); correspond with S.
                   Van Aalten regarding same (.2)
 05/05/2023   MMM5 Telephone calls with M. Micheli regarding               1.40   1,750.00   2,450.00
                   rule 2019 and related statements (.7);
                   correspond with M. Micheli regarding same
                   (.7)
 05/05/2023   MM53       Analysis of case strategy regarding               0.40   1,650.00     660.00
                         upcoming matters.
 05/05/2023   MM53       Telephone conferences with M. Murphy              0.70   1,650.00   1,155.00
                         regarding plan and pending case matters.
 05/05/2023   MM53       Revise work in progress document.                 0.30   1,650.00     495.00
 05/05/2023   MM53       Analysis of Rule 2019 and related client          0.80   1,650.00   1,320.00
                         documents
 05/05/2023   MM57       Calendar case dates and deadlines                 0.40    540.00      216.00
 05/06/2023   KH18       Review rule 2019 process and pleadings (.4);      0.60   2,075.00   1,245.00
                         correspond with M. Micheli and M. Murphy
                         regarding same (.2)
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 05/07/2023   KH18       Review rule 2019 process and pleadings (.3);    0.50   2,075.00   1,037.50
                         correspond with M. Micheli and M. Murphy
                         regarding same (.2)
 05/07/2023   KH18       Review and comment on TCC pleadings             0.70   2,075.00   1,452.50
                         and related case strategy
 05/07/2023   MM53       Analyze case strategy regarding upcoming        1.50   1,650.00   2,475.00
                         matters.
 05/07/2023   MM53       Correspond with M. Murphy regarding case        0.30   1,650.00     495.00
                         updates and filed pleadings.
 05/07/2023   MM53       Review and comment on rule 2019                 1.10   1,650.00   1,815.00
                         statement for Ad Hoc Committee (.6);
                         review open due diligence items related to
                         same (.5)
 05/07/2023   MM53       Correspond with K. Hansen and J. Alberto        0.40   1,650.00     660.00
                         regarding rule 2019 statement.
 05/07/2023   MM53       Telephone conference with S. Van Aalten         0.20   1,650.00     330.00
                         regarding rule 2019 statement.
 05/08/2023   AM50       Review emails from C. Rubio regarding case      0.40   1,725.00     690.00
                         updates
 05/08/2023   JM63       Attend call with M. Murphy, K. Pasquale,        0.60   1,125.00     675.00
                         M. Whalen, S. Lawand, and L. Miliotes
                         regarding case plan and next steps (.4);
                         correspond with R. Montefusco and L.
                         Miliotes re list of client law firms (.2)
 05/08/2023   KP17       Call with M. Murphy, M. Whalen, S.              0.40   1,875.00     750.00
                         Lawand, J. McMillan, and L. Miliotes
                         regarding case updates, strategy, and
                         workstreams
 05/08/2023   MMM5 Call with M. Micheli and S. Van Aalten                0.70   1,750.00   1,225.00
                   regarding case updates and going forward
                   strategy (.3); meeting with K. Pasquale, M.
                   Whalen, S. Lawand, J. McMillan, and L.
                   Miliotes regarding case updates and next
                   steps (.4)
 05/08/2023   MM53       Review and comment on rule 2019                 0.70   1,650.00   1,155.00
                         statement for Ad Hoc Committee (.4);
                         review related due diligence items (.3)
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 Date         Initials   Description                                         Hours      Rate    Amount
 05/08/2023   MM53       Attend portion of telephone conference               0.20   1,650.00     330.00
                         with M. Murphy, J. Alberto and S. Van
                         Aalten regarding committee call and rule
                         2019 issues.
 05/08/2023   MM53       Update work in progress document.                    0.20   1,650.00     330.00
 05/08/2023   MM53       Analyze and outline case strategy regarding          1.00   1,650.00   1,650.00
                         upcoming matters.
 05/08/2023   MW22       Call with M. Murphy, K. Pasquale, S.                 0.40   1,320.00     528.00
                         Lawand, J. McMillan, and L. Miliotes
                         regarding open case issues and related
                         workstreams
 05/08/2023   SL38       Attend call with M. Murphy, J. McMillan, L.          0.40   1,270.00     508.00
                         Miliotes, K. Pasquale, and M. Whalen
                         regarding case strategy, issues, and
                         responses to disclosure statement
                         objections and cross motion.
 05/08/2023   SAH1       Attend portion of call with M. Murphy, J.            0.30   1,625.00     487.50
                         McMilllan, S. Lawand, and L. Miliotes
                         regarding case issues/task list
 05/09/2023   AM50       Review updates regarding AHC of                      0.50   1,725.00     862.50
                         Supporting Counsel court filings from M>
                         Magzamen
 05/09/2023   JM63       Attend meeting with M. Micheli, S. Lawand            1.50   1,125.00   1,687.50
                         L. Miliotes re case strategy and ongoing
                         work streams (.4); correspond with A. Wald,
                         R. Montefusco, and L. Miliotes re ad hoc
                         lawyer list (.4); draft list of firms included in
                         the ad hoc group (.5); correspond with M.
                         Murphy re email to claimants re case
                         plan/workstream update (.2)
 05/09/2023   LM20       Meeting with M. Micheli, S. Lawand and J.            0.40    855.00      342.00
                         McMillan re case plan and issues/task list
 05/09/2023   LM20       Review recent filings for new deadlines and          2.70    855.00    2,308.50
                         hearing dates (.5); update case calendar and
                         issues/task list per same (2.2)
 05/09/2023   LM20       Prepare form filings for objections,                 0.80    855.00      684.00
                         adversary proceedings, motions, and
                         proposed orders
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 Date         Initials   Description                                       Hours      Rate    Amount
 05/09/2023   MM53       Analyze and update outline regarding case          0.40   1,650.00     660.00
                         strategy regarding upcoming matters.
 05/09/2023   MM53       Telephone conference with S. Lawand, J.            0.40   1,650.00     660.00
                         McMillan and L. Miliotes regarding case
                         matters.
 05/09/2023   SL38       Review and prepare notes on rule 2019              0.30   1,270.00     381.00
                         motion filed by UST.
 05/09/2023   SL38       Attend call with M. Micheli, J. McMillan,          0.40   1,270.00     508.00
                         and L. Miliotes regarding case strategy,
                         deadlines, and workstreams.
 05/10/2023   JM63       Correspond with L. Miliotes and S. Lawand          0.80   1,125.00     900.00
                         re updates to task list and case calendar (.2);
                         Correspond with S. Lawand re case calendar
                         (.2); correspond with L. Miliotes, R.
                         Montefusco, and M. Micheli re follow up
                         issues and related ad hoc group document
                         (.4).
 05/10/2023   KH18       Analyze pending litigation, upcoming               1.50   2,075.00   3,112.50
                         filings, and intervention order (.9); prepare
                         notes regarding same (.3); correspond with
                         M. Micheli, M. Murphy and J. McMillan
                         regarding same (.3)
 05/10/2023   LM20       Prepare client list and related information        2.90    855.00    2,479.50
                         (.8); correspond with J. McMillan and M.
                         Micheli re same (.1); correspond with R.
                         Montefusco re same (.1); update case
                         issues/task list and case calendar (1.3);
                         correspond with M. Micheli, S. Lawand, and
                         J. McMillan re same (.4); correspond with
                         M. Magzamen re filing deadlines (.2)
 05/10/2023   MM53       Analyze and update outline on case strategy        0.80   1,650.00   1,320.00
                         regarding upcoming matters.
 05/10/2023   MM53       Update work in progress document.                  0.20   1,650.00     330.00
 05/10/2023   MM57       Correspond with L. Miliotes re: case               0.30    540.00      162.00
                         deadlines and critical dates (.2); correspond
                         with S. Lawand re: working group list (.1)
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 Date         Initials   Description                                     Hours      Rate    Amount
 05/11/2023   JM63       Review and revise case issues/task list (.3);    1.20   1,125.00   1,350.00
                         correspond with S. Lawand and L. Miliotes
                         re same (.3); correspond with M. Micheli re
                         updates to pending action items (.2); attend
                         meeting with M. Micheli, M. Murphy, S.
                         Lawand, L. Miliotes, R. Montefusco
                         regarding case plan and pending matters (.4)
 05/11/2023   LM20       Meeting with M. Micheli, M. Murphy, S.           3.70    855.00    3,163.50
                         Lawand, J. McMillan, and R. Montefusco re
                         case updates and upcoming filings (.4);
                         review docket and update case calendar and
                         issues/task list regarding same (1.7);
                         correspond with J. McMillan and S. Lawand
                         re same (.2); review and comment on case
                         distribution lists (1.1); correspond with M.
                         Magzamen re hearing documents and case
                         action items (.3)
 05/11/2023   MMM5 Attend portion of case update meeting with             0.30   1,750.00     525.00
                   M. Micheli, S. Lawand, J. McMillan, R.
                   Montefusco, L. Miliotes
 05/11/2023   MM53       Telephone conference with M. Murphy, S.          0.40   1,650.00     660.00
                         Lawand, J. McMillan, R. Montefusco, L.
                         Miliotes regarding case matters and plan for
                         same.
 05/11/2023   MM53       Update work in progress document.                0.30   1,650.00     495.00
 05/11/2023   MM53       Analyze and prepare notes regarding case         0.50   1,650.00     825.00
                         strategy and upcoming matters.
 05/11/2023   MM53       Draft agenda for case update and strategy        0.30   1,650.00     495.00
                         call with M. Murphy, S. Lawand, J.
                         McMillan, R. Montefusco, L. Miliotes
 05/11/2023   MW22       Call with J. McMillan, M. Micheli, R.            0.40   1,320.00     528.00
                         Montefusco, A. Wald, A. Miller, S. Lawand,
                         M. Murphy, and L. Miliotes regarding open
                         issues and pending tasks
 05/11/2023   MM57       Update case calendar (.2); review upcoming       0.30    540.00      162.00
                         dates and deadlines with Cole Schotz (.1)
 05/11/2023   RM30       Call with M. Murphy, M. Micheli S.               0.40   1,600.00     640.00
                         Lawand, J. McMillan, and L. Miliotes re case
                         updates and strategy
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 05/11/2023   SL38       Attend call with M. Murphy, M. Micheli, J.       0.40   1,270.00     508.00
                         McMillan, L. Miliotes, R. Montefusco, and
                         M. Whalen regarding plan and disclosure
                         issues, case matters (.4)
 05/12/2023   JM63       Attend case plan and update call M.              0.60   1,125.00     675.00
                         Murphy, M. Micheli, S. Lawand, and L.
                         Miliotes
 05/12/2023   LM20       Call with M. Murphy, M. Micheli, S.              1.70    855.00    1,453.50
                         Lawand, and J. McMillan re upcoming
                         filings and case issues/tasks (.6); follow up
                         with M. Micheli re client correspondence
                         (.1); review and comment on same (.6);
                         correspond with M. Magzamen re same (.4)
 05/12/2023   LM20       Review recent filings for case calendar          0.50    855.00      427.50
                         updates
 05/12/2023   MMM5 Telephone conference with M. Micheli, J.               0.60   1,750.00   1,050.00
                   McMillan, S. Lawand and L. Miliotes
                   regarding case plan and strategy
 05/12/2023   MM53       Analyze case strategy regarding upcoming         0.20   1,650.00     330.00
                         matters.
 05/12/2023   MM53       Correspond with M. Murphy regarding case         0.10   1,650.00     165.00
                         updates.
 05/12/2023   MM53       Attend portion of telephone conference           0.50   1,650.00     825.00
                         with M. Murphy, J. McMillan, S. Lawand,
                         and L. Miliotes regarding case matters.
 05/12/2023   SL38       Attend call with M. Murphy, M. Micheli, J.       0.60   1,270.00     762.00
                         McMillan, and L. Miliotes regarding case
                         strategy, issues/task list, and next steps
 05/13/2023   MM53       Analyze and update outline regarding case        0.50   1,650.00     825.00
                         strategy regarding upcoming matters.
 05/14/2023   JM63       Update case issues/task list and case            0.30   1,125.00     337.50
                         calendar (.2); correspond with L. Miliotes re
                         same (.1)
 05/14/2023   LM20       Update case calendar and case issues/task        1.90    855.00    1,624.50
                         list (1.6); correspond with S. Lawand and J.
                         McMillan re same (.2); correspond with M.
                         Magzamen re same (.1)
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 Date         Initials   Description                                      Hours      Rate    Amount
 05/14/2023   MM53       Analyze and update notes regarding case           0.50   1,650.00     825.00
                         strategy regarding upcoming matters.
 05/15/2023   AHW1       Call with K. Whitner, M. Murphy, M.               0.30   1,290.00     387.00
                         Micheli, S. Heard, R. Montefusco, J.
                         McMillan, L. Miliotes, S. Lawand re case
                         issues and upcoming filings
 05/15/2023   AM50       Review updates regarding Plan issues              0.20   1,725.00     345.00
 05/15/2023   DM26       Update upcoming calendar reminder                 0.10    540.00       54.00
 05/15/2023   JM63       Correspond with L. Miliotes and S. Lawand         0.80   1,125.00     900.00
                         re case issues/task list (.3); correspond with
                         L. Miliotes re action items (.2); attend case
                         plan and update meeting with M. Murphy,
                         M. Micheli, S. Lawand, R. Montefusco, and
                         L. Miliotes (.3)
 05/15/2023   LM20       Update case issues/task list                      1.60    855.00    1,368.00
 05/15/2023   MMM5 Review and edit agenda in advance of case               0.50   1,750.00     875.00
                   meeting (.2); attend meeting with M.
                   Micheli, S. Lawand, R. Montefusco, J.
                   McMillan, K. Whitner, and L. Miliotes
                   regarding open issues and going forward
                   plan (.3)
 05/15/2023   MM53       Telephone conference with M. Murphy, S.           0.30   1,650.00     495.00
                         Lawand, R. Montefusco, J. McMillan, M.
                         Whalen, L. Miliotes regarding case and plan
                         matters.
 05/15/2023   MM53       Analyze and update outline on case strategy       0.40   1,650.00     660.00
                         regarding upcoming matters (1.3); Attend
                         case plan and update meeting with M.
                         Murphy, M. Micheli, R. Montefusco, A.
                         Wald, S. Lawand, and J. McMillan
 05/15/2023   MW22       Call with K. Whitner, M. Murphy, M.               0.30   1,320.00     396.00
                         Micheli, S. Heard, R. Montefusco, J.
                         McMillan, A. Wald, L. Miliotes, S. Lawand
                         regarding case issues and open tasks
 05/15/2023   RM30       Review and revise pro hac vice application        1.40   1,600.00   2,240.00
                         (1.1); Call with K. Whitner, M. Murphy, M.
                         Micheli, J. McMillan, S. Lawand, and L.
                         Miliotes re case updates and strategy (.3)
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 Date         Initials   Description                                     Hours      Rate    Amount
 05/15/2023   SAH1       Call with K. Whitner, M. Murphy, M.              0.30   1,625.00     487.50
                         Micheli, S. Heard, R. Montefusco, J.
                         McMillan, A. Wald, L. Miliotes, S. Lawand
                         regarding case plan and next steps
 05/15/2023   WKW        Participate in call with M. Murphy, M.           0.30   1,650.00     495.00
                         Micheli, S. Lawand, R. Montefusco, J.
                         McMillan, and L. Miliotes regarding case
                         plan and open issues/tasks
 05/16/2023   LM20       Review recent filings and update case            2.00    855.00    1,710.00
                         calendar and issues/task list (1.7);
                         correspond with M. Magzamen re same (.3)
 05/16/2023   MM53       Update work in progress document.                0.40   1,650.00     660.00
 05/16/2023   MM53       Analyze case strategy regarding upcoming         0.30   1,650.00     495.00
                         matters.
 05/16/2023   MM53       Correspond with M. Murphy regarding case         0.20   1,650.00     330.00
                         matters.
 05/16/2023   MM57       Review comments from M. Micheli re:              0.10    540.00       54.00
                         client distributions
 05/17/2023   JM63       Update case issues/task list and case            0.50   1,125.00     562.50
                         calendar (.4); correspond with L. Miliotes re
                         same (.1)
 05/17/2023   LM20       Update case calendar and case issues/tasks       1.50    855.00    1,282.50
                         (1.2); call with S. Lawand re same (.1);
                         correspond with J. McMillan re same (.1);
                         correspond with M. Micheli re same (.1)
 05/17/2023   MMM5 Call with K. Whitner regarding case updates            0.30   1,750.00     525.00
                   and upcoming filings
 05/17/2023   MM53       Analyze case strategy regarding upcoming         0.30   1,650.00     495.00
                         matters.
 05/17/2023   MM53       Update work in progress document.                0.50   1,650.00     825.00
 05/17/2023   MM57       Correspond with L. Morton (CS) re:               0.30    540.00      162.00
                         transcript of 5/16/23 hearing (.1);
                         correspond with L. Morton (CS) re: pro hac
                         vice fees (.2)
 05/17/2023   SL38       Review WIP and case calendar (.5); Call          0.70   1,270.00     889.00
                         with L. Miliotes regarding same (.1); draft
                         email to M. Micheli regarding calendar
                         issues (.1)
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 Date         Initials   Description                                   Hours      Rate    Amount
 05/17/2023   WKW        Conference with M. Murphy regarding case       0.30   1,650.00     495.00
                         update and next steps
 05/18/2023   JM63       Correspond with L. Miliotes re external        0.80   1,125.00     900.00
                         parties distribution concerns (.3); attend
                         case plan and update meeting with M.
                         Murphy, M. Micheli, R. Montefusco, S.
                         Lawand and L. Miliotes (.5)
 05/18/2023   LM20       Meeting with M. Murphy, M. Micheli, R.         1.30    855.00    1,111.50
                         Montefusco, S. Lawand and J. McMillan re
                         upcoming filings and hearings (.5); review
                         and comment on email distribution list (.8)
 05/18/2023   LM20       Review recent filings and update case          1.30    855.00    1,111.50
                         calendar and case issues/task list
                         accordingly
 05/18/2023   MMM5 Review and prepare notes regarding                   1.30   1,750.00   2,275.00
                   upcoming case matters (.3); attend meeting
                   with M. Micheli, K. Whitner, M. Whalen, J.
                   McMillan, S. Lawand, R. Montefusco and L.
                   Miliotes regarding case plan and
                   issues/tasks list (.5); attend case update call
                   with K. Hansen and M. Micheli (.5)
 05/18/2023   MM53       Draft agenda for case update call.             0.20   1,650.00     330.00
 05/18/2023   MM53       Telephone conference with M. Murphy            0.50   1,650.00     825.00
                         regarding case updates and task list
 05/18/2023   MM53       Telephone conference with M. Murphy, K.        0.50   1,650.00     825.00
                         Whitner, M. Whalen, J. McMillan, S.
                         Lawand, R. Montefusco and L. Miliotes
                         regarding case matters.
 05/18/2023   MM53       Analyze and prepare notes regarding case       0.70   1,650.00   1,155.00
                         strategy regarding upcoming matters.
 05/18/2023   MW22       Call with J. McMillian, M. Murphy, M.          0.50   1,320.00     660.00
                         Micheli, K. Whitner, A. Wald, L. Miliotes,
                         R. Montefusco, S. Lawand, S. Heard
                         regarding open case issues and tasks
 05/18/2023   MM57       Review and revise signature block and case     0.40    540.00      216.00
                         caption for pending briefs (.3); correspond
                         with M. Whalen re: same (.1)
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 Date         Initials   Description                                  Hours      Rate    Amount
 05/18/2023   RM30       Call with K. Whitner, M. Murphy, M.           0.50   1,600.00     800.00
                         Micheli, S. Lawand, J. McMillian and L.
                         Miliotes re case updates and upcoming
                         filings
 05/18/2023   SL38       Attend call with M. Murphy, M. Micheli, J.    0.50   1,270.00     635.00
                         McMillan, L. Miliotes, R. Montefusco, and
                         M. Whalen regarding plan and disclosure
                         issues, open issues/tasks, and case plan
 05/18/2023   SAH1       Call with K. Hansen, M. Murphy, K.            0.50   1,625.00     812.50
                         Whitner, M. Whalen, J. McMillan, S.
                         Lawand, R. Montefusco and L. Miliotes
                         regarding case plan and workstreams
 05/18/2023   WKW        Participate in call with M. Murphy, K.        0.50   1,650.00     825.00
                         Whitner, M. Whalen, J. McMillan, S.
                         Lawand, R. Montefusco and L. Miliotes
                         regarding case plan and next steps
 05/19/2023   JM63       Attend case plan and update meeting with      0.60   1,125.00     675.00
                         M. Murphy, M. Micheli, R. Montefusco, S.
                         Lawand, and L. Miliotes (.5); follow up
                         correspondence with M. Micheli and L.
                         Miliotes re same (.1)
 05/19/2023   LM20       Review recent filings and update case         0.40    855.00      342.00
                         calendar accordingly (.2); correspond with
                         S. Lawand re same (.2)
 05/19/2023   LM20       Meeting with M. Murphy, M. Micheli, R.        0.50    855.00      427.50
                         Montefusco, S. Lawand, and J. McMillan re
                         motion drafting and case updates
 05/19/2023   MMM5 Prepare notes regarding next steps on               1.00   1,750.00   1,750.00
                   pending matters (.2); attend call with M.
                   Micheli, R. Montefusco, S. Lawand, J.
                   McMillan and L. Miliotes regarding case
                   updates and issues/task list (.5); review
                   calendar of critical dates (.3)
 05/19/2023   MM53       Update work in progress document.             0.80   1,650.00   1,320.00
 05/19/2023   MM53       Attend portion of telephone conference        0.40   1,650.00     660.00
                         with M. Murphy, J. McMillan, S. Lawand, R.
                         Montefusco and L. Miliotes regarding case
                         plan and pending matters.
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 Date         Initials   Description                                     Hours      Rate    Amount
 05/19/2023   MM53       Analyze case strategy regarding upcoming         0.20   1,650.00     330.00
                         matters.
 05/19/2023   MM53       Review updated client information.               0.30   1,650.00     495.00
 05/19/2023   MM53       Correspond with M. Murphy and S. Van             0.10   1,650.00     165.00
                         Aalten regarding client disclosure issues.
 05/19/2023   MM53       Correspond with M. Murphy regarding case         0.30   1,650.00     495.00
                         plan and pending matters.
 05/19/2023   RM30       Attend portion of call with M. Murphy, M.        0.40   1,600.00     640.00
                         Micheli, J. McMillan, S. Lawand, and L.
                         Miliotes re case matters and strategy
 05/19/2023   SL38       Attend portion of call with M. Murphy, M.        0.30   1,270.00     381.00
                         Micheli, R. Montefusco, J. McMillan, and L.
                         Miliotes regarding case strategy, outstanding
                         case issues/tasks, and next steps
 05/20/2023   MM57       Calendar critical litigation deadlines           0.70    540.00      378.00
 05/21/2023   LM20       Review recent filings and update case            0.50    855.00      427.50
                         calendar re same
 05/21/2023   MM53       Review and comment on rule 2019                  0.50   1,650.00     825.00
                         statements filed in LTL 1.0
 05/21/2023   MM53       Analyze case strategy and open issues/tasks      0.50   1,650.00     825.00
 05/21/2023   RM30       Correspond with M. Micheli re rule 2019          0.40   1,600.00     640.00
                         issues
 05/22/2023   JM63       Review and revise case issues/task list (.3);    1.00   1,125.00   1,125.00
                         attend call with K. Hansen, M. Murphy, K.
                         Whitner, M. Whalen, S. Lawand, R.
                         Montefusco and L. Miliotes regarding case
                         plan and next steps (.7).
 05/22/2023   KH18       Meeting with M. Murphy, K. Whitner, M.           0.70   2,075.00   1,452.50
                         Whalen, J. McMillan, S. Lawand, R.
                         Montefusco and L. Miliotes regarding case
                         matters and issues/task list
 05/22/2023   LM20       Meeting with K. Hansen, M. Murphy, M.            0.70    855.00      598.50
                         Micheli, J. McMillan, W. Farmer and R.
                         Montefusco re plan negotiations and
                         litigation updates
 05/22/2023   LM20       Update case calendar                             0.20    855.00      171.00
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 05/22/2023   MMM5 Correspond with R. Montefusco regarding               1.20   1,750.00   2,100.00
                   rule 2019 (.2); prepare notes regarding case
                   updates and upcoming matters (.1); attend
                   meeting with K. Hansen, W. Farmer, M.
                   Micheli, K. Whitner, M. Micheli, R.
                   Montefusco, J. McMillan, S. Lawand, and L.
                   Miliotes regarding same and issues/task list
                   (.7); review case management order (.2)
 05/22/2023   MM53       Telephone conference with K. Hansen, M.         0.70   1,650.00   1,155.00
                         Murphy, K. Whitner, W. Farmer, M.
                         Whalen, J. McMillan, S. Lawand, R.
                         Montefusco, L. Miliotes, and S. Heard
                         regarding case matters.
 05/22/2023   MM53       Analyze case strategy and open issues/tasks     0.30   1,650.00     495.00
                         list.
 05/22/2023   MM53       Correspond with M. Murphy regarding case        0.30   1,650.00     495.00
                         matters.
 05/22/2023   MM53       Update work in progress tracking                0.20   1,650.00     330.00
                         document.
 05/22/2023   RM30       Call with K. Hansen, M. Micheli, K.             0.70   1,600.00   1,120.00
                         Whitner, M. Micheli, M. Whalen, J.
                         McMillan, S. Lawand, and L. Miliotes re
                         case matters and next steps
 05/22/2023   SL38       Attend call with K. Hansen, M. Murphy, M.       0.70   1,270.00     889.00
                         Micheli, J. McMillan, W. Farmer, L.
                         Miliotes, R. Montefusco, K. Whitner, and
                         M. Whalen regarding case strategy and
                         discovery
 05/22/2023   SAH1       Call with K. Hansen, M. Murphy, K.              0.70   1,625.00   1,137.50
                         Whitner, J. McMillan, S. Lawand, R.
                         Montefusco, W. Farmer, and L. Miliotes
                         regarding issues/task list and case updates
 05/22/2023   WCF        Call with K. Hansen, M. Murphy, M.              0.80   1,235.00     988.00
                         Micheli, K. Whitner, R. Montefusco, J.
                         McMillan, S. Lawand, L. Miliotes regarding
                         chapter 11 case plan and related issues/task
                         list (.7); Prepare notes re same (.1)
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 Date         Initials   Description                                    Hours      Rate    Amount
 05/22/2023   WKW        Participate in call with K. Hansen, M.          0.70   1,650.00   1,155.00
                         Murphy, M. Micheli, R. Montefusco, J.
                         McMillan, S. Lawand, L. Miliotes regarding
                         case updates and strategy
 05/23/2023   JM63       Attend meeting with. Murphy, M. Micheli,        0.50   1,125.00     562.50
                         S. Lawand, and L. Miliotes regarding case
                         matters and related strategy
 05/23/2023   KP17       Call with M. Murphy, M. Micheli, R.             0.50   1,875.00     937.50
                         Montefusco, J. McMillan, and S. Lawand re
                         case matters and upcoming hearing
 05/23/2023   LM20       Review recent filings and update case           0.20    855.00      171.00
                         calendar accordingly
 05/23/2023   LM20       Meeting with K. Pasquale, M. Murphy, M.         0.50    855.00      427.50
                         Micheli, J. McMillan, and S. Lawand re
                         upcoming filings and case tasks
 05/23/2023   MMM5 Attend call with M. Micheli, R. Montefusco,           0.50   1,750.00     875.00
                   S. Lawand, J. McMillian and L. Miliotes
                   regarding case plan and related issues/task
                   list
 05/23/2023   MM53       Analyze case strategy and issues/task list.     0.20   1,650.00     330.00
 05/23/2023   MM53       Attend portion of telephone conference          0.40   1,650.00     660.00
                         with M. Murphy, J. McMillan, S. Lawand, R.
                         Montefusco and L. Miliotes regarding case
                         matters.
 05/23/2023   MM57       Update depositions calendar and working         0.40    540.00      216.00
                         group re: same
 05/23/2023   SL38       Attend meeting with M. Murphy, M.               0.50   1,270.00     635.00
                         Micheli, J. McMillan and L. Miliotes re case
                         matters and upcoming filings
 05/23/2023   WKW        Call with M. Murphy, M. Micheli, R.             0.50   1,650.00     825.00
                         Montefusco, S. Lawand, J. McMillian and L.
                         Miliotes re upcoming filings and motion to
                         dismiss trial
 05/24/2023   JM63       Correspond with L. Miliotes re case             0.40   1,125.00     450.00
                         issue/task list (.1); update same (.3)
 05/24/2023   LM20       Review docket and update case calendar          0.40    855.00      342.00
                         accordingly (.3); correspond with J.
                         McMillan re same (.1)
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 Date         Initials   Description                                    Hours      Rate    Amount
 05/24/2023   MM53       Analyze case strategy and open issues           0.30   1,650.00     495.00
 05/25/2023   AHW1       Correspond with R. Montefusco and K.            0.50   1,290.00     645.00
                         Whitner regarding case strategy
 05/25/2023   JM63       Attend meeting with M. Murphy, R.               0.40   1,125.00     450.00
                         Montefusco, M. Micheli, S. Lawand and L.
                         Miliotes re case updates and next steps
 05/25/2023   LM20       Review docket and update case calendar          1.40    855.00    1,197.00
                         and issues/task list accordingly (1.2);
                         correspond with M. Magzamen re certain
                         objection deadlines (.2)
 05/25/2023   LM20       Meeting with M. Murphy, R. Montefusco,          0.40    855.00      342.00
                         M. Micheli, S. Lawand and J. McMillan re
                         case updates and upcoming filings
 05/25/2023   MMM5 Correspond with S. Heard regarding open               1.40   1,750.00   2,450.00
                   issues and next steps (.3); attend meeting
                   with J. McMillan, K. Pasquale, M. Whalen,
                   R. Montefusco, A. Wald, L. Miliotes, M.
                   Micheli, S. Lawand, S. Heard, K. Whitner
                   regarding case issues/tasks (.4); Analyze
                   outstanding case issues (.4); Correspond
                   with M. Micheli re same (.3)
 05/25/2023   MM53       Update case issues/task list                    0.30   1,650.00     495.00
 05/25/2023   MM53       Attend portion of telephone conference          0.30   1,650.00     495.00
                         with M. Murphy, M. Whalen, J. McMillan,
                         S. Lawand, R. Montefusco, K. Whitner, A.
                         Wald and L. Miliotes regarding case matters.
 05/25/2023   MM53       Analyze case strategy and case issues/task      0.40   1,650.00     660.00
                         list.
 05/25/2023   MW22       Call with J. McMillan, M. Murphy, R.            0.40   1,320.00     528.00
                         Montefusco, A. Wald, L. Miliotes, M.
                         Micheli, S. Lawand, S. Heard, K. Whitner
                         regarding open issues and tasks
 05/25/2023   MM57       Draft K. Whitner pro hac vice application       0.90    540.00      486.00
                         (.7); correspond with S. Van Aalten and L.
                         Morton (CS) re: same (.2)
 05/25/2023   RM30       Call with M. Murphy, M. Micheli, S.             0.40   1,600.00     640.00
                         Lawand, S. Heard, and L. Miliotes re case
                         matters and strategy
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 Date         Initials   Description                                   Hours      Rate    Amount
 05/25/2023   SL38       Attend portion of call with M. Murphy, K.      0.30   1,270.00     381.00
                         Whitner, M. Micheli, J. McMillan, L.
                         Miliotes, R. Montefusco, and M. Whalen
                         regarding case issues and workstreams.
 05/25/2023   SAH1       Call with M. Murphy, K. Whitner, M.            0.40   1,625.00     650.00
                         Micheli, J. McMillan, L. Miliotes, R.
                         Montefusco, and M. Whalen regarding case
                         strategy and workstreams
 05/25/2023   WKW        Participate in case update call with M.        0.40   1,650.00     660.00
                         Micheli, M. Murphy and R. Montefusco, S.
                         Lawand, J. McMillan, and L. Miliotes
 05/26/2023   KP17       Emails with J. McMillan re case updates        0.20   1,875.00     375.00
 05/26/2023   MM53       Analyze case strategy and issues/task list     0.60   1,650.00     990.00
 05/28/2023   JM63       Correspond with L. Miliotes re case            0.20   1,125.00     225.00
                         issues/task list (.1); follow up review of
                         same (.1)
 05/30/2023   AHW1       Call with M. Micheli, M. Murphy, L.            0.30   1,290.00     387.00
                         Miliotes, S. Lawand, W. Farmer, K.
                         Whitner, and J. McMillan regarding case
                         strategy
 05/30/2023   JM63       Attend meeting with M. Micheli, M.             0.50   1,125.00     562.50
                         Murphy, L. Miliotes, S. Lawand, W. Farmer,
                         K. Whitner, and A. Wald regarding open
                         case issues and tasks (.3); correspond with
                         L. Miliotes re changes to hearing dates and
                         deadlines (.2).
 05/30/2023   LM20       Meeting with M. Murphy, M. Micheli, K.         0.30    855.00      256.50
                         Whitner, W. Farmer, J. McMillan and S.
                         Lawand regarding case updates and
                         upcoming filings
 05/30/2023   LM20       Review recent filings and update case          0.30    855.00      256.50
                         calendar accordingly
 05/30/2023   MMM5 Attend LTL meeting with M. Micheli, K.               0.30   1,750.00     525.00
                   Whitner, W. Farmer, J. McMillan and S.
                   Lawand regarding case updates and open
                   issues
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 Date         Initials   Description                                    Hours      Rate    Amount
 05/30/2023   MMM5 Correspond with K. Hansen, R.                         0.30   1,750.00     525.00
                   Montefusco and M. Micheli regarding
                   release of additional information from rule
                   2019 statement (.2); telephone call with M.
                   Micheli, S. Van Aalten regarding release of
                   additional information under rule 2019 (.1)
 05/30/2023   MM53       Analyze case strategy and open issues and       0.60   1,650.00     990.00
                         tasks.
 05/30/2023   MM53       Telephone conference with M. Murphy and         0.10   1,650.00     165.00
                         S. Van Aalten regarding 2019 statement
                         disclosures
 05/30/2023   MM53       Telephone conference with M. Murphy, M.         0.30   1,650.00     495.00
                         Whalen, J. McMillan, S. Lawand, K.
                         Whitner, A. Wald and L. Miliotes regarding
                         case plan and updates.
 05/30/2023   MW22       Call with M. Murphy, M. Micheli, K.             0.30   1,320.00     396.00
                         Whitner, A. Wald, S. Lawand, J. McMillan,
                         W. Farmer, and L. Miliotes regarding open
                         case issues and tasks
 05/30/2023   MM57       Call with M. Murphy, M. Micheli, R.             0.40    540.00      216.00
                         Montefusco, K. Whitner, A. Wald, S.
                         Lawand, J. McMillan, W. Farmer, and L.
                         Miliotes re: case updates and pending
                         discovery (.3); correspond with S. Van
                         Aalten and L. Morton regarding critical
                         dates and deadlines (.1)
 05/30/2023   SAH1       Call with M. Murphy, M. Micheli, K.             0.30   1,625.00     487.50
                         Whitner, A. Wald, S. Lawand, J. McMillan,
                         W. Farmer, and L. Miliotes regarding case
                         strategy and workstreams
 05/30/2023   WCF        Call with M. Murphy, M. Micheli, K.             0.30   1,235.00     370.50
                         Whitner, J. McMillan, S. Lawand, L.
                         Miliotes regarding case plan and issues/task
                         list
 05/30/2023   WKW        Attend case update meeting with M.              0.30   1,650.00     495.00
                         Murphy, M. Micheli, A. Wald, S. Lawand, J.
                         McMillan, W. Farmer, and L. Miliotes
 05/31/2023   JM63       Correspond with M. Micheli re ongoing           0.10   1,125.00     112.50
                         workstreams and next steps.
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 05/31/2023   KH18       Review and comment on 2019 order                  0.30   2,075.00      622.50
 05/31/2023   LM20       Review recent filings and hearing transcripts     1.60    855.00      1,368.00
                         (1.1); update case calendar and issues/task
                         list accordingly (.4); correspond with M.
                         Micheli re same (.1)
 05/31/2023   MM53       Analyze case strategy and open                    0.70   1,650.00     1,155.00
                         workstreams.
              Subtotal: B110 Case Administration                         142.60              190,872.00




 B113   Pleadings Review
 05/01/2023   AM50       Review court filings and related case             1.40   1,725.00     2,415.00
                         documents
 05/01/2023   KH18       Review recently filed pleadings                   0.40   2,075.00      830.00
 05/01/2023   MM53       Analyze additional recently filed pleadings       1.40   1,650.00     2,310.00
 05/01/2023   MM57       Follow-up correspondence with S. Lawand           0.70    540.00       378.00
                         and R. Montefusco regarding documents
                         for litigation documents (.1); review recent
                         ECF filings and share with working group
                         (.5); review recent docket filings and update
                         working group regarding same (.2)
 05/02/2023   AM50       Review recent court filings regarding PSAs        0.50   1,725.00      862.50
 05/02/2023   KH18       Review recently filed pleadings                   1.00   2,075.00     2,075.00
 05/02/2023   MMM5 Review motions to dismiss                               2.30   1,750.00     4,025.00
 05/02/2023   MM53       Review analysis of Itkin motion to dismiss.       0.50   1,650.00      825.00
 05/02/2023   MM53       Review recently filed pleadings.                  0.80   1,650.00     1,320.00
 05/02/2023   MM57       Review recent ECF filings and share with          0.60    540.00       324.00
                         working group (.3); respond to case queries
                         from working group regarding filed
                         documents (.1); review recent docket filings
                         and update working group regarding same
                         (.2)
 05/03/2023   MM53       Analyze recently filed pleadings.                 0.70   1,650.00     1,155.00
 05/03/2023   MM57       Review recent ECF filings and share with          0.40    540.00       216.00
                         working group
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 05/04/2023   MM53       Review recently filed pleadings.                  0.50   1,650.00     825.00
 05/04/2023   MM57       Review recent ECF filings and share with          0.20    540.00      108.00
                         working group
 05/05/2023   LM20       Review new filings and related hearing dates      0.50    855.00      427.50
 05/05/2023   MM53       Review and comment on recently filed              0.80   1,650.00   1,320.00
                         pleadings.
 05/05/2023   MM57       Review recent docket filings and update           1.50    540.00      810.00
                         working group regarding same (.3); review
                         recent ECF filings and share with working
                         group (.9); correspond with working group
                         regarding hearing transcript (.1); review new
                         Third Circuit order on timing of filings (.1);
                         respond to working group queries re:
                         certain case documents (.1)
 05/05/2023   MM57       Review recent docket filings and update           0.30    540.00      162.00
                         working group re: same
 05/06/2023   AHW1       Review pleadings regarding motion to              1.70   1,290.00   2,193.00
                         dismiss
 05/06/2023   MM57       Research certain documents on docket and          0.60    540.00      324.00
                         share with working group
 05/07/2023   KP17       Review latest pleadings                           1.40   1,875.00   2,625.00
 05/07/2023   MM53       Analyze recently filed pleadings regarding        1.20   1,650.00   1,980.00
                         schedules and statements and objection to
                         Debtors disclosure statement motion.
 05/07/2023   MM57       Review recent docket filings and update           0.20    540.00      108.00
                         calendars and working group regarding
                         same
 05/08/2023   AM50       Review recent court filings related to PSAs       0.30   1,725.00     517.50
 05/08/2023   MM53       Analyze recently filed pleadings regarding        1.30   1,650.00   2,145.00
                         agenda for hearing, schedules and
                         statements and order appointing future
                         claims representative
 05/08/2023   MM57       Respond to attorney requests for case             0.70    540.00      378.00
                         documents (.2); review recent ECF filings
                         and share with working group (.5)
 05/08/2023   MM57       Review recent court filings and update            0.30    540.00      162.00
                         calendars and working group re same
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 05/09/2023   MM57       Review recent ECF filings and share with       1.00    540.00      540.00
                         working group (.4); correspond with L.
                         Morton (Cole Schotz) re: case documents
                         (.1); correspond with working group re:
                         recent LTL correspondence (.2); review
                         recent court filings and update calendars
                         and working group re same (.3)
 05/10/2023   MM57       Review recent court filings and update         0.60    540.00      324.00
                         calendars and working group re same (.4);
                         review recent ECF filings and share with
                         working group (.2)
 05/11/2023   MM57       Review recent ECF filings and update           0.40    540.00      216.00
                         working group re: same (.2); review recent
                         court filings and update calendars and
                         working group re: same (.2)
 05/11/2023   SL38       Review recently filed pleadings in             1.40   1,270.00   1,778.00
                         connection with case calendar, deadlines
                         and hearing dates.
 05/12/2023   MM53       Review recently filed pleadings regarding      0.30   1,650.00     495.00
                         2019 for ad hoc committee of states.
 05/12/2023   MM57       Adjust calendar events (.1); review and        1.10    540.00      594.00
                         update steering committee information (.2);
                         review recent ECF filings and update
                         working group re same (.5); review recent
                         court filings and update calendars and
                         working group re same (.3)
 05/12/2023   MM57       Review certain executed subpoenas              0.20    540.00      108.00
 05/12/2023   SL38       Review filed pleadings and case calendar       0.40   1,270.00     508.00
                         regarding case plan, deadlines and hearing
                         dates.
 05/14/2023   LM20       Review recently filed pleadings for case       0.40    855.00      342.00
                         calendar updates
 05/14/2023   MM57       Review recent ECF filings and update           0.10    540.00       54.00
                         working group re same
 05/15/2023   DM26       Research regarding appeal and judgement in     0.30    540.00      162.00
                         LTL v. State of New Mexico relating to
                         LTL's 2021chapter 11 case (.3)
 05/15/2023   LM20       Review recent filings and upcoming             0.40    855.00      342.00
                         deadlines
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 05/15/2023   MM53       Analyze recently filed pleadings regarding     1.30   1,650.00   2,145.00
                         objections to disclosure statement motion
                         and TCC’s cross motion
 05/15/2023   MM57       Review recent court filings and update         0.40    540.00      216.00
                         calendars and working group re same
 05/16/2023   MM57       Review recent ECF filings and update           0.70    540.00      378.00
                         working group re same (.4); review recent
                         court filings and update calendars and
                         working group re same (.3)
 05/17/2023   LM20       Review recent filings for case calendar        0.30    855.00      256.50
                         updates
 05/17/2023   MM57       Review recent court filings and update         0.90    540.00      486.00
                         calendars and working group re: same (.5);
                         review recent ECF filings and transcripts
                         and update working group re: same (.4)
 05/18/2023   MM57       Review recent filings and update calendars     0.20    540.00      108.00
                         and working group re: same
 05/18/2023   SL38       Review pleadings in connection with            0.30   1,270.00     381.00
                         substantial contribution claims.
 05/19/2023   MM57       Review recent court filings and update         0.40    540.00      216.00
                         calendars based on Court's entries
 05/21/2023   MM53       Review case management order.                  0.30   1,650.00     495.00
 05/22/2023   MM57       Respond to attorney requests for case          0.50    540.00      270.00
                         documents (.1); review recent filings and
                         update calendars and working group re:
                         same (.4)
 05/23/2023   MM57       Review recent ECF and docket filings and       0.30    540.00      162.00
                         update case calendars and working group re:
                         same
 05/24/2023   MM53       Review recently filed pleadings regarding      0.20   1,650.00     330.00
                         entered orders from May 22
 05/24/2023   MM57       Review recent docket and ECF filings and       0.50    540.00      270.00
                         update calendars and working group re:
                         same
 05/25/2023   KP17       Review recent filings re pending litigation    0.80   1,875.00   1,500.00
                         and upcoming motions
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 05/25/2023   MM57       Research certain requested court documents    1.40    540.00      756.00
                         (.5); review recent court and ECF filings
                         and update calendars and working group re:
                         same (.9)
 05/26/2023   MM57       Review recent ECF filings and update          0.20    540.00      108.00
                         working group re: same
 05/27/2023   MM57       Review recent ECF filings and update          0.20    540.00      108.00
                         working group re: same
 05/28/2023   MM57       Review recent ECF filings and update          0.10    540.00        54.00
                         working group re: same
 05/29/2023   MM57       Review recent ECF filings and update          0.10    540.00        54.00
                         working group re: same
 05/30/2023   MM57       Review recent docket and ECF filings and      0.60    540.00      324.00
                         update calendars and working group re:
                         same
 05/31/2023   MM57       Review recent ECF filings and update          0.30    540.00      162.00
                         working group re: same (.2); respond to
                         attorney requests for case documents (.1)
              Subtotal: B113 Pleadings Review                         38.80              45,063.00




 B150   Meetings of and Communications with Creditors
 05/01/2023   MM53       Draft case update report to Steering          0.60   1,650.00     990.00
                         Committee.
 05/02/2023   KH18       Telephone conferences with SteerCo            0.40   2,075.00     830.00
                         regarding motions to dismiss and plan
                         process
 05/02/2023   MMM5 Attend call with the SteerCo regarding case         0.50   1,750.00     875.00
                   status and next steps (.4); Review notes
                   regarding the same (.1)
 05/02/2023   MM53       Telephone conference with SteerCo             0.40   1,650.00     660.00
                         regarding hearing and motion to intervene.
 05/02/2023   MW22       Attend case strategy and update call with     0.40   1,320.00     528.00
                         Steering Committee
 05/03/2023   SAH1       Call with SteerCo Member regarding case       0.30   1,625.00     487.50
                         updates and workstreams
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 05/04/2023   KP17       Call with SteercCo re case matters               0.80   1,875.00   1,500.00
 05/04/2023   MMM5 Attend SteerCo call regarding Motion to                0.40   1,750.00     700.00
                   Dismiss
 05/04/2023   MM53       Telephone conference with SteerCo                0.60   1,650.00     990.00
                         regarding case updates
 05/04/2023   RM30       Call with Steering Committee re motion to        0.40   1,600.00     640.00
                         dismiss objection
 05/04/2023   SAH1       Correspond with SteerCo member and M.            0.30   1,625.00     487.50
                         Murphy regarding plan support
 05/05/2023   MMM5 Telephone call with SteerCo and M. Micheli             0.50   1,750.00     875.00
                   members regarding TDP
 05/05/2023   MMM5 Telephone call with member of SteerCo                  0.50   1,750.00     875.00
                   regarding case inquiries
 05/05/2023   MM53       Telephone conference with SteerCo                0.70   1,650.00   1,155.00
                         members and M. Murphy regarding plan
                         (.5); Prepare notes re same (.2)
 05/05/2023   MM53       Telephone conference with ad hoc group           0.30   1,650.00     495.00
                         members regarding TDPs.
 05/06/2023   JM63       Draft email to committee member re               1.10   1,125.00   1,237.50
                         formation of ad hoc committee (.7);
                         correspond with M. Micheli and S. Lawand
                         re same (.4)
 05/06/2023   MMM5 Telephone call with SteerCo regarding TDP              0.80   1,750.00   1,400.00
 05/06/2023   MM53       Telephone conference with SteerCo                0.80   1,650.00   1,320.00
                         regarding trust distribution procedures.
 05/07/2023   MM53       Draft summary update of case matters for         0.70   1,650.00   1,155.00
                         Steering Committee.
 05/08/2023   JM63       Review notes to prepare for call (.2); Attend    0.90   1,125.00   1,012.50
                         meeting with clients, M. Micheli, M.
                         Murphy, Parkins & Rubio, and Cole Schotz
                         regarding plan and trust distribution
                         procedures issues list (.7)
 05/08/2023   JM63       Correspond with M. Micheli re ad hoc             0.10   1,125.00     112.50
                         committee meeting
 05/08/2023   MMM5 Telephone call with committee regarding                0.70   1,750.00   1,225.00
                   2019 filing
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 05/08/2023   MM53       Attend Steering Committee call regarding        0.70   1,650.00   1,155.00
                         rule 2019, rule 2019 statements, and case
                         matters.
 05/08/2023   MM53       Draft summary update of case matters for        0.40   1,650.00     660.00
                         Steering Committee.
 05/09/2023   KH18       Conference with client regarding next steps     1.20   2,075.00   2,490.00
                         and related case issues
 05/09/2023   MMM5 Telephone calls with Ad Hoc Committee                 0.80   1,750.00   1,400.00
                   regarding response to subpoenas (.5);
                   correspond with Ad Hoc Committee
                   regarding response to subpoenas (.3)
 05/09/2023   MM53       Draft summary update to Steering                0.60   1,650.00     990.00
                         Committee regarding court hearing and
                         plan issues.
 05/09/2023   WKW        Correspond with committee regarding LTL         0.30   1,650.00     495.00
                         subpoena
 05/10/2023   AM50       Participate on call with clients regarding      1.50   1,725.00   2,587.50
                         TDP and plan issues
 05/10/2023   JM63       Attend SteerCo meeting re plan issues (1.5);    1.80   1,125.00   2,025.00
                         Correspond with M. Micheli re same (.3)
 05/10/2023   MMM5 Correspond with Ad Hoc Committee                      0.50   1,750.00     875.00
                   regarding responses to subpoenas
 05/10/2023   MMM5 Telephone call with SteerCo regarding plan            1.50   1,750.00   2,625.00
                   issues
 05/10/2023   MMM5 Telephone calls with Ad Hoc Group                     1.20   1,750.00   2,100.00
                   regarding case strategy and litigation issues
 05/10/2023   MM53       Prepare notes for call with Steering            0.20   1,650.00     330.00
                         Committee.
 05/10/2023   MM53       Attend Steering Committee call regarding        1.70   1,650.00   2,805.00
                         plan issues.
 05/11/2023   JM63       Attend meeting with M. Micheli, M.              1.20   1,125.00   1,350.00
                         Murphy, and Steering Committee re trust
                         distribution procedures
 05/11/2023   JM63       Draft summary for SteerCo re reply in           0.90   1,125.00   1,012.50
                         support of scheduling motion and objection
                         to the TCC's cross motion (.5); correspond
                         with M. Micheli, SteerCo, A. Wald, and S.
                         Lawand re same (.4)
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 05/11/2023   JM63       Prepare for upcoming meeting with SteerCo    0.10   1,125.00     112.50
 05/11/2023   LM20       Attend 341 meeting of creditors (1.8);       2.50    855.00    2,137.50
                         prepare summary of same (.7)
 05/11/2023   MMM5 Telephone call SteerCo members, M.                 1.20   1,750.00   2,100.00
                   Micheli, J. McMillan regarding bridging gap
                   on plan issues
 05/11/2023   MMM5 Telephone calls with Ad Hoc Group                  0.60   1,750.00   1,050.00
                   regarding response to subpoenas (.2);
                   correspond with Ad Hoc Group regarding
                   response to subpoenas (.4)
 05/11/2023   MM53       Attend Steering Committee call with M.       1.20   1,650.00   1,980.00
                         Murphy, J. McMillan regarding trust
                         distribution procedures.
 05/11/2023   MM53       Consider and comment on issues raised at     0.20   1,650.00     330.00
                         section 341 meeting.
 05/11/2023   MM53       Attend portion of 341 meeting.               0.80   1,650.00   1,320.00
 05/11/2023   MM53       Draft summary update to Steering             0.30   1,650.00     495.00
                         Committee regarding case matters.
 05/12/2023   JM63       Attend meeting with SteerCo, M. Micheli,     1.00   1,125.00   1,125.00
                         and Cole Schotz re plan term sheet.
 05/12/2023   JM63       Draft summary for SteerCo re intervention    0.70   1,125.00     787.50
                         order and related client letter (.5);
                         correspond with M. Micheli re same (.2).
 05/12/2023   MMM5 Telephone calls with Ad Hoc Group                  0.80   1,750.00   1,400.00
                   regarding response to subpoenas (.3);
                   correspond with Ad Hoc Group regarding
                   same (.5)
 05/12/2023   MMM5 Review plan and TDP documents to                   1.90   1,750.00   3,325.00
                   prepare for SteerCo call (.9); attend call with
                   SteerCo, M. Micheli, J. McMillan regarding
                   plan term sheet (1.0)
 05/12/2023   MM53       Attend Steering Committee call with M.       1.00   1,650.00   1,650.00
                         Murphy, J. McMillan regarding plan
                         matters.
 05/13/2023   JM63       Attend SteerCo meeting with M. Micheli       0.80   1,125.00     900.00
                         and M. Murphy re plan issues
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 05/13/2023   KH18       Participate in SteerCo call regarding plan       2.00   2,075.00   4,150.00
                         issues (.8); correspond with Ad Hoc
                         Members regarding TDP and related
                         strategy issues (.7); prepare notes regarding
                         same (.5)
 05/13/2023   MM53       Attend Steering Committee call with M.           0.80   1,650.00   1,320.00
                         Murphy, J. McMillan regarding plan
                         matters.
 05/14/2023   JM63       Attend meetings with SteerCo, M. Murphy,         2.00   1,125.00   2,250.00
                         M. Micheli re TDP and plan issues (1.2);
                         Attend call with SteerCo, M. Murphy, M.
                         Micheli, and Barnes and Thornburg (.8)
 05/14/2023   MMM5 Attend call with SteerCo, M. Micheli, J.               2.00   1,750.00   3,500.00
                   McMillan regarding plan issues (1.2);
                   telephone call with SteerCo, M. Micheli, J.
                   McMillan and Barnes and Thornburg
                   regarding TDP (.8)
 05/14/2023   MM53       Attend Steering Committee call with J.           0.80   1,650.00   1,320.00
                         Murdica, M. Murphy, J. McMillan regarding
                         plan issues.
 05/14/2023   MM53       Attend Steering Committee call with M.           1.20   1,650.00   1,980.00
                         Murphy, J. McMillan regarding trust
                         distribution procedures.
 05/15/2023   JM63       Prepare for SteerCo meetings re plan and         0.20   1,125.00     225.00
                         TDP issues
 05/15/2023   JM63       Attend meeting with SteerCo, M. Murphy,          1.00   1,125.00   1,125.00
                         M. Micheli re plan and TDP issues
 05/15/2023   MMM5 Attend call with SteerCo, M. Micheli, J.               1.90   1,750.00   3,325.00
                   McMillan regarding open plan issues (1.0);
                   telephone calls and correspond with
                   members of the SteerCo regarding plan
                   issues (.9)
 05/15/2023   MM53       Attend Steering Committee call with M.           1.00   1,650.00   1,650.00
                         Murphy, J. McMillan regarding plan
                         negotiations.
 05/16/2023   JM63       Attend SteerCo meeting with M. Murphy,           0.30   1,125.00     337.50
                         M. Micheli, and K. Hansen re plan, TDP,
                         and upcoming hearing
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 Date         Initials   Description                                    Hours      Rate    Amount
 05/16/2023   KH18       Participate in SteerCo meeting regarding        0.30   2,075.00     622.50
                         hearing matters
 05/16/2023   MMM5 Review certain submissions and notes to               1.60   1,750.00   2,800.00
                   prepare for AHC SteerCo meeting (.6);
                   attend AHC SteerCo meeting with M.
                   Micheli, J. McMillan and K. Hansen
                   regarding filed plan and upcoming hearing
                   (.3); Review and revise correspondence with
                   the AHC regarding May 16, 2023 hearing
                   (.2); Attend call with AHC, M. Micheli
                   regarding intervention order (.5)
 05/16/2023   MM53       Attend Steering Committee call with M.          0.50   1,650.00     825.00
                         Murphy regarding intervention issues and
                         plan matters.
 05/16/2023   MM53       Attend Steering Committee call with M.          0.30   1,650.00     495.00
                         Murphy, K. Hansen, and J. McMillan
                         regarding hearing and plan support issues.
 05/16/2023   MM53       Draft update to Steering Committee              0.30   1,650.00     495.00
                         regarding plan and TDP issues.
 05/17/2023   JM63       Attend call with L. Miliotes, M. Murphy, M.     0.80   1,125.00     900.00
                         Micheli, SteerCo re plan and TDP issues list
 05/17/2023   LM20       Call with M. Murphy, M. Micheli, J.             0.80    855.00      684.00
                         McMillan, and client group re plan
                         negotiations
 05/17/2023   MMM5 Prepare notes for AHC call regarding plan             1.00   1,750.00   1,750.00
                   and TDPs (.2); attend AHC call regarding
                   plan and TDP issues with J. McMillan, M.
                   Micheli, and L. Miliotes (.8)
 05/17/2023   MM53       Attend portion of Steering Committee call       0.60   1,650.00     990.00
                         regarding plan support issues with M.
                         Murphy, J. McMillan, and L. Miliotes.
 05/17/2023   MM57       Correspond with M. Micheli re: executed         0.20    540.00      108.00
                         bylaws for Ad Hoc Committee
 05/18/2023   MM53       Draft summary memorandum to Steering            0.60   1,650.00     990.00
                         Committee regarding meet and confer on
                         discovery issues.
 05/19/2023   MMM5 Review and revise update email for SteerCo            0.40   1,750.00     700.00
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 05/19/2023   MM53       Draft summary memorandum to Steering           0.50   1,650.00     825.00
                         Committee regarding meet and confer and
                         discovery issues.
 05/19/2023   MM53       Draft correspondence to Steering               0.40   1,650.00     660.00
                         Committee regarding plan settlement,
                         mediation and case updates.
 05/20/2023   JM63       Attend SteerCo with M. Micheli and M.          0.70   1,125.00     787.50
                         Murphy meeting regarding case updates and
                         plan for upcoming week (.6); Prepare notes
                         re same (.1).
 05/20/2023   KH18       Call with SteerCo, K. Whitner, regarding       2.00   2,075.00   4,150.00
                         case strategy and TDP related issues (.6);
                         follow up review of same and next steps
                         (1.0); prepare comments on same (.4)
 05/20/2023   MMM5 Attend portion of Steering Committee                 0.50   1,750.00     875.00
                   update call regarding plan and next steps
 05/20/2023   MM53       Telephone conference with Steering             0.60   1,650.00     990.00
                         Committee, K. Hansen, M. Murphy, S. Van
                         Aalten, J. Alberto, L. Parkins and C. Rubio
                         regarding plan negotiations and mediation
 05/20/2023   WKW        Participate in update conference with K.       0.60   1,650.00     990.00
                         Hansen, M. Murphy, M. Micheli, and J.
                         McMillan and ad hoc committee members
 05/22/2023   MMM5 Correspond with SteerCo regarding                    0.40   1,750.00     700.00
                   deduplication
 05/25/2023   JM63       Attend SteerCo update meeting with K.          0.50   1,125.00     562.50
                         Hansen, M. Micheli, and M. Murphy (.5)
 05/25/2023   MMM5 Call with K. Hansen and M. Micheli                   0.80   1,750.00   1,400.00
                   regarding SteerCo meeting regarding plan
                   (.3); attend meeting with SteerCo, K.
                   Hansen, M. Micheli, and M. Murphy
                   regarding plan (.5)
 05/25/2023   MM53       Telephone conference with Steering             0.50   1,650.00     825.00
                         Committee, K. Hansen, M. Murphy, S.
                         Heard, J. Alberto, S. Van Aalten, C. Rubio,
                         L. Parkins and J. McMillan regarding
                         mediation and open issues related to trust
                         distribution procedures and plan.
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 Date         Initials   Description                                    Hours      Rate      Amount
 05/25/2023   SAH1       Attend portion of with SteerCo, K. Hansen,      0.40   1,625.00      650.00
                         M. Murphy, M. Micheli, J. Alberto, S. Van
                         Aalten, C. Rubio, L. Parkins and J.
                         McMillan regarding open issues
 05/25/2023   WKW        Participate in AHCSC Steering Committee         0.50   1,650.00      825.00
                         update call
 05/27/2023   RM30       Call with Steering Committee re response to     0.60   1,600.00      960.00
                         TCC request for meet and confer
 05/31/2023   JM63       Prepare notes for SteerCo meeting (.1);         1.60   1,125.00     1,800.00
                         attend meeting with SteerCo, Parkins &
                         Rubio, M. Micheli, M. Murphy, K. Hansen,
                         and Cole Schotz (1.5)
 05/31/2023   KH18       Attend call with SteerCo, Parkins & Rubio,      2.00   2,075.00     4,150.00
                         M. Micheli, M. Murphy, J. McMillan and
                         Cole Schotz regarding plan, TDPs (1.5);
                         Call with Parkins and Rubio and M.
                         Murphy re same (.3); analyze and comment
                         on same (.2)
 05/31/2023   MMM5 Review TDP issues list (.3); attend call with         2.10   1,750.00     3,675.00
                   SteerCo, Parkins & Rubio, M. Micheli, K.
                   Hansen, and Cole Schotz to review TDPs
                   (1.5); attend call with K. Hansen and
                   Parkins Rubio to discuss open issues in
                   TDPs (.3)
 05/31/2023   MM53       Telephone conference with Steering              1.50   1,650.00     2,475.00
                         Committee, L. Parkins, C. Rubio, J. Van
                         Aalten, J. Alberto, K. Hansen, M. Murphy,
                         J. McMillan regarding trust distribution
                         procedures.
              Subtotal: B150 Meetings of and Communications             76.60              121,005.00
                        with Creditors




 B155   Court Hearings
 05/02/2023   KH18       Review submissions and related authority in     3.70   2,075.00     7,677.50
                         preparation for hearing regarding future
                         claims representative, motion to dismiss and
                         additional case issues
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 05/02/2023   MM57       Correspond with M. Micheli re: hearing            0.20    540.00      108.00
                         prep
 05/03/2023   JM63       Attend meeting with K. Hansen, K.                 0.50   1,125.00     562.50
                         Pasquale, M. Murphy, M. Whalen, L.
                         Miliotes, Cole Schotz, Parkins & Rubio re
                         hearing updates
 05/03/2023   KP17       Monitor portions of court hearing (2.0); call     2.50   1,875.00   4,687.50
                         with K. Hansen, M. Murphy, M. Whalen, J.
                         McMillan, L. Miliotes, Cole Schotz, Parkins
                         & Rubio re hearing and related follow-up
                         (.5)
 05/03/2023   KH18       Prepare outline for hearing regarding FCR,        4.80   2,075.00   9,960.00
                         motion to dismiss and additional case issues
                         (3.2); follow up review of issues discussed at
                         hearing (1.1); telephone conference with K.
                         Pasquale, M. Murphy, M. Whalen, J.
                         McMillan, L. Miliotes, Cole Schotz, Parkins
                         & Rubio regarding hearing and next steps
                         (.5)
 05/03/2023   LM20       Meeting with K. Hansen, K. Pasquale, M.           0.50    855.00      427.50
                         Murphy, M. Whalen, J. McMillan, Cole
                         Schotz, Parkins & Rubio regarding hearing
                         and next steps (.5)
 05/03/2023   MMM5 Attend LTL hearing (4.0); telephone call                4.50   1,750.00   7,875.00
                   with K. Hansen, K. Pasquale, M. Whalen, J.
                   McMillan, L. Miliotes, Cole Schotz, and
                   Parkins Rubio regarding hearing and next
                   steps (.5)
 05/03/2023   MM53       Attend LTL court hearing via zoom                 4.40   1,650.00   7,260.00
 05/03/2023   MM53       Draft summary of hearing.                         0.40   1,650.00     660.00
 05/03/2023   MM53       Attend portion of telephone conference            0.30   1,650.00     495.00
                         with K. Hansen, K. Pasquale, M. Murphy,
                         M. Whalen, J. McMillan, L. Miliotes,
                         Parkins & Rubio and Cole Schotz regarding
                         hearing and next steps
 05/03/2023   MM53       Correspond with R. Montefusco regarding           0.10   1,650.00     165.00
                         hearing and next steps.
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 05/03/2023   MW22       Call with K. Hansen, K. Pasquale, M.              0.50   1,320.00     660.00
                         Murphy, J. McMillan, L. Miliotes, Cole
                         Schotz, Parkins & Rubio regarding hearing
                         and next steps
 05/03/2023   MM57       Correspond with M. Micheli re: appearance         1.80    540.00      972.00
                         at hearing (.1); prepare hearing reminder for
                         working group (.1); monitor parts of
                         hearing for critical dates and deadlines (1.6)
 05/03/2023   SL38       Review submissions on scheduling and              1.70   1,270.00   2,159.00
                         motion to appoint mediators in preparation
                         for hearing (.2); attend hearing on same
                         (1.5)
 05/03/2023   SAH1       Virtually attend portion of hearing               0.50   1,625.00     812.50
                         regarding motion to appoint claimant
                         representative
 05/08/2023   JM63       Correspond with S. Lawand re preparation          0.10   1,125.00     112.50
                         of documents and cases for hearing
 05/08/2023   KH18       Prepare outline for hearing on intervention,      1.50   2,075.00   3,112.50
                         certification, and motion to dismiss
 05/08/2023   MM53       Review writ of mandamus in preparation            0.30   1,650.00     495.00
                         for hearing.
 05/08/2023   MM53       Review submissions and notes to prepare           0.90   1,650.00   1,485.00
                         for May 9, 2023 hearing.
 05/08/2023   MM57       Prepare reference materials for K. Hansen         2.40    540.00    1,296.00
                         for hearing
 05/09/2023   KP17       Monitor portions of court hearing (.5);           0.70   1,875.00   1,312.50
                         correspond with K. Hansen re same (.2)
 05/09/2023   KH18       Attend hearing on motion to intervene,            0.30   2,075.00     622.50
                         motion for direct certification, and status
                         conference on motions to dismiss
 05/09/2023   LM20       Attend and take notes on hearing on               3.80    855.00    3,249.00
                         motion to intervene, motion for direct
                         certification, and status conference on
                         motions to dismiss (3.1); prepare summary
                         re same (.7)
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 05/09/2023   MMM5 Review submissions and prepare notes for               4.50   1,750.00   7,875.00
                   hearing (.6); Call with Cole Schotz, Parkins
                   and Rubio, and R. Montefusco and M.
                   Micheli regarding hearing (.3); attend
                   hearing on motion to intervene and motion
                   for direct certification (3.5)
 05/09/2023   MM53       Attend May 9 hearing on motion to                2.00   1,650.00   3,300.00
                         intervene and motion for direct certification
 05/09/2023   MM53       Telephone conference with M. Murphy, R.          0.30   1,650.00     495.00
                         Montefusco, S. Van Aalten, J. Alberto, L.
                         Parkins and C. Rubio regarding hearing
                         issues.
 05/09/2023   MM57       Correspond with K. Hansen re: hearing            1.50    540.00      810.00
                         materials (.1); monitor portion of hearing
                         (1.1); correspond with working group re:
                         5/16/23 hearing (.2); correspond with L.
                         Morton (CS) re: same (.1)
 05/09/2023   RM30       Call with M. Murphy and M. Micheli,              2.60   1,600.00   4,160.00
                         Parkins and Rubio, and Cole Schotz re
                         hearing prep issues (.3); attend hearing re
                         intervention and discovery issues (2.3)
 05/10/2023   MM57       Draft email to Chambers re: 5/16/23              0.30    540.00      162.00
                         hearing participation
 05/11/2023   MM57       Correspond with L. Miliotes re: May 16,          1.10    540.00      594.00
                         2023 hearing (.1); prepare hearing materials
                         for same (.9); register K. Hansen for live
                         Zoom appearance at May 16, 2023 hearing
                         (.1)
 05/12/2023   MM57       Prepare reference materials for hearing for      1.10    540.00      594.00
                         K. Hansen
 05/15/2023   MM53       Draft summary of hearing notes for TCC's         0.40   1,650.00     660.00
                         motion to compel.
 05/15/2023   RM30       Review submissions and disputes in               2.80   1,600.00   4,480.00
                         preparation for hearing on claimant list and
                         discovery issues
 05/15/2023   WKW        Prepare talking points for hearing on            0.20   1,650.00     330.00
                         motion to compel unredacted documents
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 05/16/2023   JM63       Attend LTL hearing (3.5); correspond with        4.60   1,125.00   5,175.00
                         L. Miliotes and M. Micheli re summary of
                         hearing for client (.4); draft summary of
                         hearing for client (.6); correspond with ad
                         hoc committee re same (.1)
 05/16/2023   KH18       Review submissions and notes to prepare          3.90   2,075.00   8,092.50
                         for hearing on protective orders, motion to
                         suspend chapter 11 case, and scheduling
                         matters (.4); attend and participate in
                         hearing on protective orders, motion to
                         suspend chapter 11 case, and scheduling
                         matters (3.5)
 05/16/2023   LM20       Attend and take notes during hearing on          4.10    855.00    3,505.50
                         motion for protective orders, motion to
                         suspend chapter 11 case, and scheduling
                         matters (3.3); prepare summary re same (.8)
 05/16/2023   MMM5 Attend May 16, 2023 hearing (3.4); debrief             3.80   1,750.00   6,650.00
                   call with M. Micheli regarding results of
                   hearing (.4)
 05/16/2023   MM53       Attend zoom hearing on motion for                3.10   1,650.00   5,115.00
                         protective orders, motion to suspend
                         chapter 11 case, and scheduling matters
 05/16/2023   MM57       Observe hearing on motion for protective         2.20    540.00    1,188.00
                         orders, motion to suspend chapter 11 case,
                         and scheduling matters
 05/16/2023   RM30       Prepare notes for hearing on claimant list       4.60   1,600.00   7,360.00
                         and discovery issues (1.2); attend hearing on
                         claimant list and discovery issues (3.4)
 05/16/2023   SL38       Attend hearing on scheduling motion,             2.30   1,270.00   2,921.00
                         suspension motion, protective orders, case
                         timeline
 05/16/2023   SAH1       Virtually attend court hearing with Judge        2.30   1,625.00   3,737.50
                         Kaplan
 05/17/2023   MMM5 Review transcript from May 16, 2023                    0.40   1,750.00     700.00
                   hearing
 05/25/2023   MM57       Email Chambers re: live participants for         0.40    540.00      216.00
                         May 30, 2023 hearing (.2); prepare reference
                         materials for K. Hansen for May 30, 2023
                         hearing (.2)
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 05/26/2023   MM57       Email Chambers re: May 30, 2023 hearing          1.00    540.00      540.00
                         participants (.2); continue preparing
                         reference materials for K. Hansen for May
                         30, 2023 hearing (.8)
 05/29/2023   MM57       Continue preparing reference materials for       2.10    540.00    1,134.00
                         K. Hansen for May 30, 2023 hearing (2.0);
                         correspond with K. Hansen, M. Micheli and
                         R. Montefusco re: same (.1)
 05/30/2023   JM63       Review discovery issues in preparation for       2.00   1,125.00   2,250.00
                         LTL hearing (.2); attend and take notes on
                         LTL hearing re discovery and motion to
                         dismiss issues (1.6); correspond with L.
                         Miliotes re hearing notes (.2).
 05/30/2023   KH18       Pre-hearing call with K. Whitner, R.             3.40   2,075.00   7,055.00
                         Montefusco, M. Micheli, and M. Murphy
                         (.3) Review submissions and authority to
                         prepare for hearing (.7); prepare outline for
                         hearing (.6); participate in hearing on
                         discovery disputes (1.6); follow up
                         correspondence with client regarding same
                         (.2)
 05/30/2023   MMM5 Review notes and certain filings to prepare            3.10   1,750.00   5,425.00
                   for May 30, 2023 hearing (.8); attend call
                   with K. Whitner, K. Hansen, M Micheli and
                   R. Montefusco to discuss open issues for
                   May 30, 2023 hearing (.3); attend May 30,
                   2023 hearing (2.0)
 05/30/2023   MM53       Telephone conference with K. Hansen, M.          0.60   1,650.00     990.00
                         Murphy, K. Whitner and R. Montefusco
                         regarding hearing preparation (.3); Prepare
                         notes for court hearing re same (.3)
 05/30/2023   MM53       Review and revise correspondence to              0.20   1,650.00     330.00
                         Steering committee regarding court rulings
                         at hearing.
 05/30/2023   MM53       Draft correspondence to Steering                 0.40   1,650.00     660.00
                         committee regarding issues to be addressed
                         at court hearing.
 05/30/2023   MM53       Attend court hearing on discovery issues.        1.60   1,650.00   2,640.00
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 05/30/2023   RM30       Review submissions and prepare outline for        4.90   1,600.00     7,840.00
                         discovery hearing (2.2); call with K. Hansen,
                         M. Murphy, M. Micheli, K. Whitner re
                         strategy for same (.3); correspond with K.
                         Hansen and M. Murphy re hearing prep (.8);
                         attend hearing re claimant lists and
                         additional discovery disputes (1.6)
 05/30/2023   SL38       Review submissions and notes to prepare           1.70   1,270.00     2,159.00
                         for court hearing (.1); attend hearing on
                         protective order, discovery, and case status
                         (1.6)
 05/30/2023   WKW        Participate in pre-hearing prep call with M.      0.30   1,650.00      495.00
                         Murphy, K. Hansen, M. Micheli and R.
                         Montefusco
 05/30/2023   WKW        Attend discovery dispute hearing                  1.50   1,650.00     2,475.00
 05/31/2023   JM63       Prepare email to ad hoc committee re May          0.20   1,125.00      225.00
                         30, 2023 hearing updates (.1); correspond
                         with R. Montefusco re same (.1).
 05/31/2023   MMM5 Review transcript from May 30, 2023                     0.70   1,750.00     1,225.00
                   hearing (.3); Correspond with M. Micheli
                   regarding June 2, 2023 hearing (.1); review
                   filings related to June 2, 2023 hearing (.3)
 05/31/2023   MM53       Review hearing transcript from 5.30.23            0.30   1,650.00      495.00
                         hearing.
 05/31/2023   MM57       Correspond with local counsel re: May 30,         0.10    540.00         54.00
                         2023 hearing transcript
 05/31/2023   WKW        Review proposed order on May 30, 2023             0.30   1,650.00      495.00
                         hearing and hearing transcript
              Subtotal: B155 Court Hearings                              109.30              160,774.00




 B160   Fee/Employment Applications
 05/01/2023   SAH1       Review correspondence from M. Micheli             0.10   1,625.00      162.50
                         and M. Magzamen regarding engagement
                         letters
 05/09/2023   MMM5 Review and edit motion to pay ad hoc                    0.40   1,750.00      700.00
                   committee fees
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 05/09/2023   MM53       Revise motion for payment of ad hoc group       1.00   1,650.00   1,650.00
                         fees.
 05/12/2023   MM53       Telephone conference with S. Van Aalten         0.50   1,650.00     825.00
                         regarding motion for payment of ad hoc
                         group fees.
 05/12/2023   MM53       Revise motion for payment of ad hoc group       0.50   1,650.00     825.00
                         fees.
 05/18/2023   KAT2       Review fee and compensation matters (.3);       0.50   1,025.00     512.50
                         prepare correspondence to M. Micheli
                         regarding same (.1)
 05/19/2023   AG29       Telephone conference with L. Miliotes           0.40    915.00      366.00
                         regarding PH invoice review (.3);
                         correspond with L. Miliotes regarding same
                         (.1)
 05/19/2023   KAT2       Correspond with M. Micheli regarding fee        0.30   1,025.00     307.50
                         and compensation matters (.1); correspond
                         with C. Edge regarding same (.2)
 05/19/2023   LM20       Call with A. Glogowski re LTL fee protocol      0.30    855.00      256.50
 05/22/2023   JM63       Analyze case law related to substantial         1.20   1,125.00   1,350.00
                         contribution and attorneys' fees (.8); draft
                         summary of findings (.4)
 05/22/2023   MMM5 Review draft motion to approve fees                   0.40   1,750.00     700.00
 05/22/2023   MM53       Review and revise motion for payment of         0.60   1,650.00     990.00
                         ad hoc group fees.
 05/23/2023   AG29       Correspond with L. Miliotes regarding PH        0.10    915.00       91.50
                         invoice review
 05/23/2023   MM53       Draft revisions to motion for payment of ad     0.40   1,650.00     660.00
                         hoc group fees
 05/25/2023   JM63       Correspond with M. Micheli and L. Miliotes      3.20   1,125.00   3,600.00
                         re attorneys' fees and section 363 of the
                         Bankruptcy Code (.3); analyze issues related
                         to attorneys' fees and section 363 of the
                         Bankruptcy Code (2.9)
 05/25/2023   KAT2       Correspond with L. Miliotes regarding fee       0.20   1,025.00     205.00
                         matters
 05/25/2023   LM20       Correspond with K. Traxler re fee matters       0.20    855.00      171.00
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 05/26/2023   JM63       Analyze issues related to attorneys' fees and     3.10   1,125.00    3,487.50
                         section 363 of the Bankruptcy Code
 05/30/2023   JM63       Analyze issues related to attorneys' fees in      4.30   1,125.00    4,837.50
                         connection with section 363(b) of the
                         Bankruptcy Code (2.9); analyze precedent
                         substantial contribution motions in mass
                         tort cases (.9); draft summary re same (.3);
                         correspond with M. Micheli and L. Miliotes
                         re same (.2).
 05/31/2023   JM63       Attend call with M. Micheli re attorneys'         1.20   1,125.00    1,350.00
                         fees in connection with section 363(b) (.2);
                         review pleadings in Boy Scouts cases
                         regarding attorneys' fees pursuant to
                         substantial contribution (.3); correspond
                         with M. Micheli re same (.2); draft outline re
                         response to reimbursement of attorneys' fee
                         objection (.2); draft email memo to K.
                         Hansen re precedent cases where attorneys
                         sought payment of fees pursuant to
                         substantial contribution (.3).
 05/31/2023   KAT2       Correspond with L. Miliotes and M. Micheli        0.40   1,025.00     410.00
                         regarding PH fee matters (.1); review
                         interim compensation order and section 363
                         motion (.3)
 05/31/2023   MM53       Review analysis of section 363 and related        0.40   1,650.00     660.00
                         case law regarding professional
                         compensation
 05/31/2023   MM53       Review analysis of case law regarding             0.40   1,650.00     660.00
                         substantial contribution claims.
 05/31/2023   MM53       Call with J. McMillan regarding Bankruptcy        0.20   1,650.00     330.00
                         Code section 363 and substantial
                         contribution.
              Subtotal: B160 Fee/Employment Applications                  20.30              25,107.50




 B165   Fee/Employment Applications for Other Professionals
 05/01/2023   MM57       Follow-up comments on engagement letters          0.20    540.00      108.00
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 Date         Initials   Description                                       Hours      Rate    Amount
 05/04/2023   MM57       Correspond with M. Micheli re: executed            0.30    540.00      162.00
                         engagement letters and follow-up re: same
 05/11/2023   MM57       Correspond with S. Van Aalten (Cole                0.10    540.00       54.00
                         Schotz) re: engagement letters
 05/23/2023   JM63       Review and revise fee letter from Jones Day        0.80   1,125.00     900.00
                         (.6); correspond with M. Micheli re same
                         (.2)
 05/24/2023   MM57       Correspond with W. Clark (UnitedLex) re:           0.20    540.00      108.00
                         engagement
 05/25/2023   MM57       Correspond with M. Micheli, R.                     0.20    540.00      108.00
                         Montefusco re: UnitedLex correspondence
                         (.1); follow up correspondence with W.
                         Clark (UnitedLex) re: engagement (.1)
 05/26/2023   MM57       Correspond with L. Dinner (UnitedLex) re:          0.10    540.00       54.00
                         engagement
 05/31/2023   MM57       Correspond with M. Micheli, R.                     0.10    540.00       54.00
                         Montefusco and UnitedLex re: engagement
              Subtotal: B165 Fee/Employment Applications for                2.00              1,548.00
                        Other Professionals




 B170   Fee/Employment Objections
 05/09/2023   MMM5 Review and revise Motion to Pay Ad Hoc                   0.80   1,750.00   1,400.00
                   Committee Fees
              Subtotal: B170 Fee/Employment Objections                      0.80              1,400.00




 B190   Other Contested Matters(excl. assumption/rejections motions)
 05/01/2023   LM20       Research and analyze case law re objection         1.60    855.00    1,368.00
                         to motion for direct certification (.7); review
                         precedents regarding motion to certify (.6);
                         correspond with S. Lawand re same (.1);
                         revise objection to certification motion (.2).
 05/01/2023   MM53       Analyze authority for objection on motions         0.30   1,650.00     495.00
                         for direct appeal.
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 05/01/2023   SL38       Draft omnibus objection to motions to             3.90   1,270.00   4,953.00
                         certify direct appeal.
 05/02/2023   JM63       Prepare parts of objection to certification of    3.20   1,125.00   3,600.00
                         direct appeal (2.2); correspond with S.
                         Lawand re objection to certification of
                         direct appeal (.2); review mandamus petition
                         (.6); correspond with M. Whalen and Cole
                         Schotz re same (.2);
 05/02/2023   KP17       Review mandamus petition (1.4);                   1.60   1,875.00   3,000.00
                         correspond with K. Hansen re same (.2)
 05/02/2023   LM20       Analyze appellate standard for objection to       2.40    855.00    2,052.00
                         direct certification motion (1.8); correspond
                         with S. Lawand re same (.4); correspond
                         with J. McMillan re same (.2)
 05/02/2023   MMM5 Review changes and comments regarding                   0.90   1,750.00   1,575.00
                   motion to intervene (.2); review writ of
                   mandamus (.7)
 05/02/2023   MM53       Analyze motions for direct appeal.                0.50   1,650.00     825.00
 05/02/2023   MM53       Review and comment on writ of mandamus            1.00   1,650.00   1,650.00
                         filed by the TCC.
 05/02/2023   MM53       Review and comment on draft omnibus               0.50   1,650.00     825.00
                         objection to motion for direct certification.
 05/02/2023   RM30       Analyze motion for certification (.8); review     1.60   1,600.00   2,560.00
                         and revise opposition to same (.8)
 05/02/2023   SL38       Research application of section 158 and           4.20   1,270.00   5,334.00
                         standards governing direct certification
 05/02/2023   SL38       Review and analyze direct certification           2.80   1,270.00   3,556.00
                         briefing in first bankruptcy case.
 05/02/2023   SL38       Analyze motions for direct certification          5.60   1,270.00   7,112.00
                         (2.1); draft parts of omnibus objection to
                         the same (3.5)
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 05/03/2023   JM63       Attend call with L. Miliotes regarding             5.60   1,125.00   6,300.00
                         objection to direct certification (.2);
                         correspond with S. Lawand, R. Montefusco
                         and L. Miliotes re case law addressing
                         objection to direct certification (.8); prepare
                         parts of objection to direct certification
                         (2.7); analyze case law related to objection
                         to direct certification re injunction (.5);
                         correspond with S. Lawand and L. Miliotes
                         re same (.2); analyze process behind writs of
                         mandamus (1.1); correspond with L.
                         Miliotes re same (.1)
 05/03/2023   LM20       Research and analyze certification standard        4.80    855.00    4,104.00
                         for appellate review (1.8); review mandamus
                         procedures (1.6); correspond with J.
                         McMillan re same (.2); prepare parts of
                         objection to certification motion (.8);
                         correspond with S. Lawand re same (.3);
                         correspond with J. McMillan re same (.1)
 05/03/2023   MM53       Prepare parts of omnibus objection to              1.10   1,650.00   1,815.00
                         motion for direct certification.
 05/03/2023   MM53       Review and comment on writ of mandamus             0.20   1,650.00     330.00
                         filed by the TCC.
 05/03/2023   MM53       Correspond with S. Lawand regarding                0.40   1,650.00     660.00
                         omnibus objection to motions for direct
                         appeal.
 05/03/2023   MW22       Analyze questions related to mandamus              0.20   1,320.00     264.00
                         petition
 05/03/2023   RM30       Analyze mandamus petition (.8); analyze            3.20   1,600.00   5,120.00
                         case law and statutory authority re same
                         (1.6); review and revise opposition to
                         motion for certification (.8)
 05/03/2023   SL38       Analyze caselaw governing certification            0.90   1,270.00   1,143.00
                         motions.
 05/03/2023   SL38       Review and comment on writ of                      0.60   1,270.00     762.00
                         mandamus.
 05/03/2023   SL38       Continue drafting omnibus objection to             2.70   1,270.00   3,429.00
                         certification motions.
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 05/04/2023   JM63       Prepare parts of objection to motion for          2.30   1,125.00   2,587.50
                         direct certification (1.4); correspond with L.
                         Miliotes and S. Lawand re objection to
                         motion for direct certification (.3); analyze
                         issues related to mandamus objection (.6)
 05/04/2023   MMM5 Review amended declaration of Randi Ellis               0.70   1,750.00   1,225.00
                   in support of motion for order appointing
                   him as legal rep for future talc claimants
                   (.4); review cross motion to suspend cases
                   (.3)
 05/04/2023   MM53       Prepare parts of omnibus objection to             1.70   1,650.00   2,805.00
                         motion for direct certification.
 05/04/2023   MW22       Analyze issues and related case                   5.10   1,320.00   6,732.00
                         law/statutory authority regarding
                         mandamus petition and response (2.1);
                         correspond with J. McMillan regarding
                         same (.3); draft mandamus petition (2.7)
 05/04/2023   MM57       Correspond with J. McMillan re: mass tort         2.80    540.00    1,512.00
                         cases (.1); research re: same (1.8);
                         correspond with R. Montefusco re:
                         background/preliminary portion of brief re
                         direct appeal to 3d Circuit (.1); draft same
                         (.8)
 05/05/2023   JM63       Analyze issues and related case law for           2.20   1,125.00   2,475.00
                         mandamus objection (2.0); correspond with
                         M. Whalen re same (.2)
 05/05/2023   LM20       Correspond with M. Micheli re comments            0.10    855.00      85.50
                         to objection to certification motion
 05/05/2023   MM53       Draft parts of omnibus objection to motion        0.90   1,650.00   1,485.00
                         for direct certification.
 05/05/2023   MW22       Analyze questions and related authority           1.20   1,320.00   1,584.00
                         relevant to mandamus response
 05/05/2023   SL38       Analyze disclosure statement objection and        3.20   1,270.00   4,064.00
                         cross motion to suspend case (.6); prepare
                         outline of proposed responses to the same
                         (2.6).
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 05/06/2023   JM63       Correspond with M. Whalen re objection to         0.30   1,125.00     337.50
                         writ for mandamus (.1); correspond with S.
                         Lawand re motions for direct certification
                         (.1); review recent filings related to motions
                         for direct certification (.1)
 05/06/2023   MW22       Analyze caselaw relevant to mandamus              9.50   1,320.00   12,540.00
                         petition and response (3.6); draft parts of
                         response to mandamus petition (5.9)
 05/06/2023   MM57       Draft Third Circuit caption for brief             0.10    540.00       54.00
 05/06/2023   SL38       Analyze case suspension under section             2.40   1,270.00    3,048.00
                         305(a) (1.6); prepare summary of same (.8)
 05/07/2023   MMM5 Review and comment on draft mandamus                    0.50   1,750.00     875.00
                   response
 05/07/2023   MW22       Draft parts of response to mandamus               3.40   1,320.00    4,488.00
                         petition
 05/07/2023   SL38       Analyze draft response to mandamus                0.60   1,270.00     762.00
                         papers (.4); provide comments on the same
                         to M. Whalen (.2)
 05/07/2023   SL38       Analyze suspension under section 305(a)           1.80   1,270.00    2,286.00
                         and applicable case law.
 05/08/2023   AHW1       Prepare parts of opposition to case               2.80   1,290.00    3,612.00
                         suspension motion
 05/08/2023   JM63       Prepare parts of objection to petition for        2.00   1,125.00    2,250.00
                         writ of mandamus (1.5); correspond with
                         M. Whalen re comments on objection to
                         petition for writ of mandamus (.5)
 05/08/2023   KP17       Review and comment on parties' filed              1.00   1,875.00    1,875.00
                         mandamus pleadings
 05/08/2023   MMM5 Attend call with S. Lawand, K. Whitner and              0.90   1,750.00    1,575.00
                   M. Micheli regarding motion to suspend
                   case (.4); draft responsive email to AHC
                   SteerCo regarding Imerys and Cyprus (.5)
 05/08/2023   MMM5 Review and comment on updated                           1.50   1,750.00    2,625.00
                   mandamus response (.6); review and
                   comment on omnibus objection to motions
                   for direct certification (.7); Correspond with
                   K. Pasquale regarding discovery (.2)
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 05/08/2023   MM53       Revise objection to motions for direct           0.30   1,650.00     495.00
                         certification.
 05/08/2023   MM53       Attend portion of telephone conference           0.30   1,650.00     495.00
                         with S. Lawand, K. Whitner and M. Murphy
                         regarding cross motion for suspending the
                         bankruptcy cases.
 05/08/2023   MW22       Draft parts of response to mandamus              4.10   1,320.00   5,412.00
                         petition
 05/08/2023   MM57       Review and cite check response to                1.80    540.00      972.00
                         mandamus request (1.0); prepare table of
                         authorities and table of contents regarding
                         same (.5); review and compare subpoenas
                         (.3)
 05/08/2023   RM30       Prepare parts of mandamus opposition             2.20   1,600.00   3,520.00
 05/08/2023   SL38       Review certain appellate certification issues    0.30   1,270.00     381.00
                         (.2); attend call with M. Micheli regarding
                         omnibus objection to certification motions
                         (.1)
 05/08/2023   SL38       Review and revise omnibus objection to           0.80   1,270.00   1,016.00
                         certification motions.
 05/08/2023   SL38       Attend portion of call with M. Micheli, M.       0.30   1,270.00     381.00
                         Murphy, and K. Whitner regarding case
                         suspension motion
 05/08/2023   SL38       Analyze authority on case suspension under       0.40   1,270.00     508.00
                         section 305(a)(1)
 05/08/2023   WKW        Review and prepare notes on TCC motion           0.60   1,650.00     990.00
                         to suspend case
 05/08/2023   WKW        Attend call with S. Lawand, M. Micheli and       0.40   1,650.00     660.00
                         M. Murphy regarding response to TCC's
                         motion to suspend case
 05/08/2023   WKW        Review draft objections to TCC motion to         1.50   1,650.00   2,475.00
                         suspend case (1.1); prepare inserts to same
                         (.4)
 05/09/2023   AHW1       Prepare parts of opposition to case              1.50   1,290.00   1,935.00
                         suspension motion
 05/09/2023   SL38       Review and comment on debtor's objection         0.40   1,270.00     508.00
                         to certification motion.
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 05/09/2023   SL38       Revise motion to seal and proposed order          0.50   1,270.00     635.00
                         to determine whether scope of disclosure is
                         consistent with UST's request.
 05/09/2023   SL38       Review and comment on mandamus                    0.40   1,270.00     508.00
                         response filed by debtor.
 05/09/2023   WKW        Prepare parts of opposition to case               1.20   1,650.00    1,980.00
                         suspension motion
 05/10/2023   AHW1       Prepare parts of opposition to case               8.90   1,290.00   11,481.00
                         suspension motion
 05/10/2023   MMM5 Review and edit objection to motion to                  0.60   1,750.00    1,050.00
                   suspend case
 05/10/2023   WKW        Revise and prepare parts of opposition to         3.20   1,650.00    5,280.00
                         case suspension motion
 05/11/2023   AHW1       Prepare parts of opposition to case               5.30   1,290.00    6,837.00
                         suspension motion
 05/11/2023   MMM5 Review and revise objection to motion to                0.40   1,750.00     700.00
                   suspend cases
 05/11/2023   MM53       Revise objection to motions for direct            0.60   1,650.00     990.00
                         certification.
 05/11/2023   MM53       Correspond with S. Lawand regarding               0.10   1,650.00     165.00
                         objection to motions for direct certification.
 05/11/2023   MM53       Correspond with R. Montefusco regarding           0.20   1,650.00     330.00
                         motion to dismiss.
 05/11/2023   MM57       Correspond with S. Lawand re: suspending          1.20    540.00      648.00
                         chapter 11 case (.1); research related
                         precedent (.6); prepare pleadings re: same
                         for R. Montefusco (.5)
 05/11/2023   RM30       Review and revise objection to case               3.10   1,600.00    4,960.00
                         suspension motion
 05/11/2023   SL38       Analyze arguments and authorities for             4.30   1,270.00    5,461.00
                         objection to suspension motion.
 05/11/2023   SL38       Analyze and comment on draft objection to         3.20   1,270.00    4,064.00
                         suspension motion.
 05/11/2023   WKW        Review and revise opposition to suspension        1.50   1,650.00    2,475.00
                         motion
 05/12/2023   AHW1       Prepare parts of opposition to case               1.60   1,290.00    2,064.00
                         suspension motion
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 05/12/2023   MM53       Revise objection to motions to suspend the       0.80   1,650.00     1,320.00
                         cases.
 05/12/2023   SL38       Review and revise objection to case              1.60   1,270.00     2,032.00
                         suspension motion.
 05/12/2023   SL38       Analyze case law and statutory authority for     3.10   1,270.00     3,937.00
                         objection to case suspension motion.
 05/12/2023   WKW        Review and revise opposition to TCC case         1.30   1,650.00     2,145.00
                         suspension motion
 05/15/2023   MM53       Review and comment on protective order           0.40   1,650.00      660.00
                         issues and related pleadings.
 05/15/2023   WKW        Review TCC motion to compel unredacted           0.40   1,650.00      660.00
                         documents
 05/16/2023   MM53       Review issues and case findings related to       0.20   1,650.00      330.00
                         personally identifiable information.
 05/17/2023   MW22       Analyze protective order and related joinder     1.60   1,320.00     2,112.00
                         issues
 05/17/2023   WKW        Analyze court approved protective order          0.40   1,650.00      660.00
 05/19/2023   LM20       Analyze precedent cases where exclusivity        0.20    855.00       171.00
                         was terminated
 05/19/2023   MM53       Correspond with J. Jonas, D. Molton, M.          0.20   1,650.00      330.00
                         Murphy and K. Hansen regarding case
                         updates and settlement matters
 05/26/2023   JM63       Review notice of appeal re appointment of        0.10   1,125.00      112.50
                         FCR
 05/26/2023   MM57       Correspond with L. Morton and S. Van             0.30    540.00       162.00
                         Aalten re: same and K. Whitner pro hac
                         vice application
              Subtotal: B190 Other Contested Matters(excl.              158.60              207,722.00
                        assumption/rejections motions)
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 B191   General Litigation
 05/01/2023   JM63       Correspond with L. Miliotes re case law in         3.90   1,125.00   4,387.50
                         support of objection to motion to dismiss
                         (.1); review and summarize case law related
                         to tactical litigation premise (3.2);
                         correspond with S. Lawand re same (.1);
                         analyze case law rejecting arguments that
                         filing was made to obtain a tactical litigation
                         advantage (.5)
 05/01/2023   JM63       Correspond with M. Micheli re motion to            0.30   1,125.00     337.50
                         shorten regarding motion to intervene (.1);
                         review and revise motion to shorten (.2)
 05/01/2023   KH18       Review future claims representative filings,       2.60   2,075.00   5,395.00
                         motion to dismiss, and related case matters
                         (2.3); correspond with Paul Hastings
                         working group regarding same (.3)
 05/01/2023   MMM5 Review outline of response to motions to                 0.30   1,750.00     525.00
                   dismiss
 05/01/2023   MMM5 Review motion to intervene (.1); review                  0.20   1,750.00     350.00
                   correspondence from K. Hansen related
                   thereto (.1)
 05/01/2023   MM53       Analyze certain objections to motions to           0.70   1,650.00   1,155.00
                         dismiss and related case law.
 05/01/2023   MM53       Analyze confidentiality issues and related         0.50   1,650.00     825.00
                         precedent.
 05/01/2023   MM53       Review motion to shorten regarding motion          0.30   1,650.00     495.00
                         to intervene.
 05/01/2023   MM53       Revise motion to intervene.                        0.30   1,650.00     495.00
 05/01/2023   MW22       Draft parts of motion to intervene (2.9);          3.40   1,320.00   4,488.00
                         correspond with K. Hansen and M. Micheli
                         regarding same (.3); correspond with
                         Steering Committee regarding same (.2)
 05/01/2023   MM57       Update motion to dismiss tracker regarding         0.20    540.00      108.00
                         related filings and responses
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 05/01/2023   RM30       Review plan re motions to dismiss and next         7.70   1,600.00   12,320.00
                         steps (.3); analyze case law and statutory
                         authority re motion to dismiss and
                         opposition to same (4.3); revise outline re
                         opposition to motion to dismiss (.8);
                         analyze deposition transcripts in connection
                         with motion to dismiss opposition (2.3)
 05/01/2023   SL38       Review and analyze deposition transcripts          1.90   1,270.00    2,413.00
                         for motion to dismiss response
 05/01/2023   SL38       Analyze motion to dismiss issues and               3.50   1,270.00    4,445.00
                         related case law and statutory authority.
 05/01/2023   SAH1       Review correspondence from R.                      0.30   1,625.00     487.50
                         Montefusco regarding deposition
                         transcripts and debtor's letter to Judge
                         Kaplan
 05/02/2023   JM63       Correspond with M. Micheli, L. Miliotes,           1.90   1,125.00    2,137.50
                         and S. Lawand re comments on motion to
                         shorten regarding motion to intervene (.3);
                         prepare parts of motion to shorten
                         regarding motion to intervene (.7); review
                         and revise motion to intervene (.9);
 05/02/2023   JM63       Analyze case law rejecting arguments that          2.00   1,125.00    2,250.00
                         filing was made to obtain a tactical litigation
                         advantage (1.6); review depositions of
                         Pulaski and Watts in furtherance of
                         objection to motion to dismiss (.3);
                         correspond with M. Micheli, S. Lawand, and
                         L. Miliotes re case law for objections to
                         motion to dismiss (.1)
 05/02/2023   KP17       Review and comment on additional                   1.10   1,875.00    2,062.50
                         motions to dismiss
 05/02/2023   LM20       Review and revise motion to shorten                3.70    855.00     3,163.50
                         regarding motion to intervene (1.7); review
                         and revise proposed order re same (.6);
                         prepare parts of motion to intervene (1.1);
                         correspond with M. Whalen, M. Micheli, J.
                         McMillan, and S. Lawand re same (.3)
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 05/02/2023   LM20       Review and summarize case law on                  2.40    855.00     2,052.00
                         bankruptcy filings for tactical litigation
                         purposes (2.2); correspond with J. McMillan
                         re same (.2)
 05/02/2023   MM53       Revise motion to shorten regarding motion         0.40   1,650.00     660.00
                         to intervene
 05/02/2023   MM53       Revise motion to intervene.                       1.10   1,650.00    1,815.00
 05/02/2023   MM53       Correspond with R. Montefusco regarding           0.20   1,650.00     330.00
                         motions to dismiss
 05/02/2023   MM53       Correspond with R. Montefusco regarding           0.20   1,650.00     330.00
                         motion to intervene.
 05/02/2023   MM53       Correspond with M. Whalen regarding               0.20   1,650.00     330.00
                         motion to intervene.
 05/02/2023   MW22       Analyze motions to dismiss                        0.70   1,320.00     924.00
 05/02/2023   MW22       Draft parts of motion to intervene                0.80   1,320.00    1,056.00
 05/02/2023   MM57       Update motion to dismiss tracker regarding        0.20    540.00      108.00
                         related filings and responses
 05/02/2023   RM30       Call with Cole Schotz re motion to dismiss        7.30   1,600.00   11,680.00
                         evidentiary issues (.3); review and
                         summarize Watts, Pulaski and Murdica
                         depositions in connection with motion to
                         dismiss response (6.4); draft email to clients
                         re evidentiary needs on motion to dismiss
                         opposition (.6)
 05/03/2023   MM53       Review deposition transcripts in connection       0.70   1,650.00    1,155.00
                         with motion to dismiss response.
 05/03/2023   RM30       Correspond with M. Murphy and M.                  5.00   1,600.00    8,000.00
                         Micheli re motion to dismiss discovery
                         issues (.4); emails with ad hoc committee
                         and local counsel re same (.2); analyze case
                         law re motions to dismiss and opposition to
                         same (4.4)
 05/03/2023   SL38       Review and comment on motion to                   0.20   1,270.00     254.00
                         intervene.
 05/04/2023   KH18       Review and comment on motion to                   1.50   2,075.00    3,112.50
                         intervene (.9); analyze authority regarding
                         same (.6)
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 05/04/2023   KH18       Review and comment on response to               2.50   2,075.00   5,187.50
                         motion to dismiss (1.6); analyze objections
                         regarding same and related authority (.9)
 05/04/2023   RM30       Analyze Watts documents in support of           1.10   1,600.00   1,760.00
                         motion to dismiss objection (.7); analyze
                         authority and case documents re motion to
                         dismiss objection (1.4)
 05/05/2023   JM63       Review debtors' plan and related portions       5.80   1,125.00   6,525.00
                         of depositions (3.9); draft section of
                         objection to motion to dismiss re same (1.9)
 05/05/2023   KP17       Review document request to ad hoc group         0.50   1,875.00     937.50
                         (.2); correspond with M. Murphy, M.
                         Micheli re strategy for response (.3)
 05/05/2023   KH18       Call with R. Montefusco and with Brown          2.70   2,075.00   5,602.50
                         Rudnick regarding case status matters and
                         discovery requests (.5); correspond with ad
                         hoc members regarding settlement matters
                         (.3); analyze arguments in motion to dismiss
                         and comment on response (1.7);
                         correspond with R. Montefusco regarding
                         same (.4)
 05/05/2023   KH18       Review and prepare notes on discovery           1.80   2,075.00   3,735.00
                         requests and next steps (1.0); analyze and
                         comment on intervention issues (.6);
                         correspond with R. Montefusco regarding
                         same (.2)
 05/05/2023   MMM5 Review discovery requests from TCC                    0.20   1,750.00     350.00
 05/05/2023   MMM5 Telephone call with LTL regarding motion              1.00   1,750.00   1,750.00
                   to dismiss (.5); telephone call with Brown
                   Rudnick regarding case status and potential
                   discovery issues (.5)
 05/05/2023   MM53       Review and comment on pending discovery         0.60   1,650.00     990.00
                         matters.
 05/05/2023   MM53       Attend portion of meet and confer               0.30   1,650.00     495.00
                         regarding motion to dismiss with Debtor
                         and objecting parties.
 05/05/2023   MM57       Correspond with L. Morton (CS) re:              0.10    540.00       54.00
                         transcripts
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 05/05/2023   RM30       Review submissions and notes to prepare          1.20   1,600.00   1,920.00
                         for discovery meet & confer (.3); attend
                         meet and confer with Jones Day, K. Hansen
                         and Brown Rudnick re outstanding
                         discovery issues (.5); Correspond with K.
                         Hansen and Brown Rudnick re same (.4)
 05/05/2023   RM30       Analyze certain declarations re motion to        0.60   1,600.00     960.00
                         dismiss
 05/05/2023   RM30       Analysis of intervention and discovery           1.20   1,600.00   1,920.00
                         issues
 05/06/2023   AHW1       Prepare response to discovery request from       4.90   1,290.00   6,321.00
                         TCC to AHCSC members
 05/06/2023   KH18       Review pleadings and issues regarding TCC        0.90   2,075.00   1,867.50
                         litigation tactics
 05/06/2023   MMM5 Prepare outline and review discovery                   1.00   1,750.00   1,750.00
                   requests and related documents for call with
                   K. Whitner (.6); telephone call with K.
                   Whitner, M. Micheli, and R. Montefusco
                   regarding response to discovery requests
                   (.4)
 05/06/2023   MM53       Telephone conference with M. Murphy, K.          0.40   1,650.00     660.00
                         Whitner and R. Montefusco regarding
                         discovery issues.
 05/06/2023   RM30       Analyze discovery requests (.7); Call with M.    1.10   1,600.00   1,760.00
                         Micheli, K. Whitner and M. Murphy re
                         discovery response letter (.4)
 05/06/2023   WKW        Telephone conference with M. Murphy, R.          0.80   1,650.00   1,320.00
                         Montefusco, and M. Micheli regarding
                         opposition to discovery requests (.4);
                         Review requests in preparation of same (.4)
 05/06/2023   WKW        Review motion to intervene and supporting        3.00   1,650.00   4,950.00
                         documents (1.5); review appellate
                         certification documents (1.5)
 05/06/2023   WKW        Review discovery request letter (.5); outline    1.80   1,650.00   2,970.00
                         opposition to discovery request letter (1.3)
 05/07/2023   KP17       Review and revise draft response to TCC          0.80   1,875.00   1,500.00
                         discovery (.5); emails with R. Montefusco re
                         same (.3)
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 05/07/2023   MMM5 Review and edit letter responding to                 2.10   1,750.00    3,675.00
                   discovery request (1.3; Correspond with K.
                   Pasquale and K. Whitner regarding letter
                   responding to discovery requests (.8)
 05/07/2023   MM53       Correspond with M. Murphy and R.               0.20   1,650.00     330.00
                         Montefusco regarding discovery matters.
 05/07/2023   MM53       Review summaries of depositions to inform      0.20   1,650.00     330.00
                         response to motion to dismiss.
 05/07/2023   MM53       Revise discovery letter to TCC                 0.70   1,650.00    1,155.00
 05/07/2023   MM53       Review and comment on certain arguments        0.40   1,650.00     660.00
                         in motion to dismiss.
 05/07/2023   MM53       Correspond with M. Murphy regarding            0.40   1,650.00     660.00
                         discovery letter to M. Winograd
 05/07/2023   MM53       Review and comment on discovery requests       0.40   1,650.00     660.00
                         and responses.
 05/07/2023   RM30       Review and revise discovery response letter    5.50   1,600.00    8,800.00
                         (1.7); correspond with K. Pasquale re same
                         (.4); prepare parts of opposition to
                         mandamus petition (3.4)
 05/08/2023   KH18       Review TCC discovery requests (.8); follow     2.30   2,075.00    4,772.50
                         up correspondence with R. Montefusco and
                         K. Whitner regarding same (.5); review and
                         comment on petition for mandamus (1.0)
 05/08/2023   MW22       Analyze TCC objection to motion to             0.40   1,320.00     528.00
                         intervene
 05/08/2023   MW22       Analyze TCC discovery requests                 0.20   1,320.00     264.00
 05/08/2023   RM30       Analyze certain arguments in motions to        6.60   1,600.00   10,560.00
                         dismiss (2.6); analyze related case law and
                         case documents (2.9); draft motion to
                         dismiss (1.1)
 05/08/2023   WKW        Review and comment on document                 0.50   1,650.00     825.00
                         subpoenas served on counsel
 05/09/2023   JM63       Correspond with M. Micheli re motion to        1.40   1,125.00    1,575.00
                         intervene order (.3); prepare intervention
                         order per Judge's requests (1.1)
 05/09/2023   KP17       Emails with R. Montefusco re discovery         0.60   1,875.00    1,125.00
                         issues
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 05/09/2023   LM20       Revise proposed order for motion to               0.10    855.00       85.50
                         intervene
 05/09/2023   MM53       Analyze discovery issues.                         0.30   1,650.00     495.00
 05/09/2023   MM53       Revise draft order to intervene.                  0.40   1,650.00     660.00
 05/09/2023   MM53       Correspond with K. Whitner and R.                 0.30   1,650.00     495.00
                         Montefusco regarding discovery
 05/09/2023   MW22       Analyze draft order on motion to intervene        1.70   1,320.00   2,244.00
                         (.5); analyze motions to dismiss relevant to
                         discovery issues (1.2)
 05/09/2023   RM30       Correspond with K. Whitner and A. Wald            1.60   1,600.00   2,560.00
                         re subpoena response (.6); review and revise
                         committee outreach re subpoena response
                         (.6); review and revise proposed order re
                         motion to intervene (.4)
 05/09/2023   RM30       Draft fact section of motion to dismiss           3.40   1,600.00   5,440.00
                         objection
 05/09/2023   SL38       Review intervention hearing outline               0.20   1,270.00     254.00
                         prepared by K. Hansen.
 05/09/2023   WKW        Correspond with M. Micheli and R.                 0.30   1,650.00     495.00
                         Montefusco regarding LTL subpoena
 05/10/2023   AHW1       Prepare form responses and objections for         1.50   1,290.00   1,935.00
                         subpoenas
 05/10/2023   JM63       Correspond with K. Hansen, and M.                 1.80   1,125.00   2,025.00
                         Murphy, R .Montefusco, M. Micheli, Jones
                         Day and Cole Schotz re motion to intervene
                         order (.8); review and revise intervention
                         order (.6); Correspond with M. Micheli re
                         intervention order (.3); attend call with Cole
                         Schotz re comments on intervention order
                         (.1)
 05/10/2023   MMM5 Telephone calls with M. Micheli and S. Van              0.60   1,750.00   1,050.00
                   Aalten regarding intervention order (.1);
                   correspond with S. Van Aalten regarding
                   intervention order (.5)
 05/10/2023   MM53       Analyze and comment on discovery issues.          0.30   1,650.00     495.00
 05/10/2023   MM53       Correspond with R. Montefusco regarding           0.40   1,650.00     660.00
                         motion to dismiss
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 05/10/2023   MM53       Telephone conference with S. Van Aalten         0.10   1,650.00     165.00
                         and M. Murphy regarding draft order to
                         intervene.
 05/10/2023   MM57       Update motion to dismiss filing tracker         0.20    540.00      108.00
 05/10/2023   RM30       Correspond with Steering Committee re           8.40   1,600.00   13,440.00
                         subpoena responses (.3); prepare parts of
                         draft response and objection to subpoena
                         (3.2); call with L. Parkins re motion to
                         dismiss objection (1.1); call with SteerCo
                         member re same (.4); analyze authority, case
                         documents and declarations re motion to
                         dismiss (3.4)
 05/10/2023   WKW        Review response to document subpoena            1.00   1,650.00    1,650.00
                         (.2); prepare objections to same (.7)
 05/11/2023   AHW1       Prepare responses and objections to             0.50   1,290.00     645.00
                         subpoenas
 05/11/2023   JM63       Review TCC proposed changes to                  0.20   1,125.00     225.00
                         intervention order (.1); correspond with M.
                         Micheli re same (.1)
 05/11/2023   KH18       Review TCC pleadings regarding standing         1.70   2,075.00    3,527.50
                         (1.2); correspond with R. Montefusco, K.
                         Whitner and A. Wald regarding TCC
                         standing motion (.5).
 05/11/2023   MMM5 Telephone calls with S. Van Aalten                    1.20   1,750.00    2,100.00
                   regarding intervention order (.2);
                   correspond with S. Van Aalten regarding
                   intervention order (.5); review and finalize
                   order denying certification (.3); telephone
                   call with C. Rubio regarding intervention
                   order (.2)
 05/11/2023   MM53       Review motion for standing filed by the         0.80   1,650.00    1,320.00
                         TCC (.6); prepare notes regarding same (.2).
 05/11/2023   MM53       Analyze and comment on subpoenas and            0.40   1,650.00     660.00
                         related discovery issues.
 05/11/2023   MM53       Revise order to intervene.                      0.20   1,650.00     330.00
 05/11/2023   MW22       Analyze draft responses and objections to       2.10   1,320.00    2,772.00
                         committee discovery requests (.8); analyze
                         authority related to objection bases under
                         federal civil and bankruptcy rules (1.3)
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 05/11/2023   MM57       Correspond with A. Wald re: subpoenas            1.50    540.00      810.00
                         (.1); review and revise draft subpoenas (1.4)
 05/11/2023   RM30       Draft motion to dismiss                          1.20   1,600.00   1,920.00
 05/11/2023   RM30       Review and revise subpoena response and          3.40   1,600.00   5,440.00
                         objection (2.8); correspond with M. Micheli,
                         K. Whitner and A. Wald re same (.6)
 05/11/2023   WKW        Review and revise response and objection         0.80   1,650.00   1,320.00
                         to subpoenas
 05/12/2023   AHW1       Prepare responses and objections to              1.90   1,290.00   2,451.00
                         subpoenas and document requests
 05/12/2023   LM20       Correspond with R. Montefusco re                 0.20    855.00      171.00
                         declarations in support of objection to
                         motion to dismiss
 05/12/2023   MMM5 Review and edit proposed response to                   0.20   1,750.00     350.00
                   subpoena
 05/12/2023   MM53       Revise client letter regarding order to          0.40   1,650.00     660.00
                         intervene.
 05/12/2023   MM53       Analyze subpoenas and related discovery          1.40   1,650.00   2,310.00
                         issues (.9); prepare comments on response
                         to subpoenas for A. Wald (.5)
 05/12/2023   MW22       Analyze TCC standing motion and cited            1.70   1,320.00   2,244.00
                         authority
 05/12/2023   RM30       Prepare parts of discovery responses (1.7);      5.50   1,600.00   8,800.00
                         analyze related privilege issues (1.7);
                         correspond with clients re same (2.1)
 05/12/2023   WKW        Review and revise subpoena objections for        1.10   1,650.00   1,815.00
                         committee members (1.0); correspond with
                         R. Montefusco regarding same and serving
                         (.1)
 05/13/2023   RM30       Analyze facts and case law re motion to          1.80   1,600.00   2,880.00
                         dismiss objection.
 05/14/2023   LM20       Draft declarations in support of objection       2.00    855.00    1,710.00
                         to motion to dismiss
 05/15/2023   AHW1       Analyze correspondence from K. Whitner,          0.30   1,290.00     387.00
                         R. Montefusco, and M. Micheli related to
                         AHCSC discovery
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 05/15/2023   LM20       Continue drafting committee member              1.80    855.00    1,539.00
                         declarations in support of objection to
                         motion to dismiss
 05/15/2023   MW22       Correspond with M. Micheli and M.               0.20   1,320.00     264.00
                         Murphy on standing motion strategy
 05/15/2023   MW22       Analyze sealing motion dispute (.3); analyze    0.60   1,320.00     792.00
                         issues related to motion to compel claimant
                         lists (.3)
 05/15/2023   RM30       Correspond with ad hoc committee                2.30   1,600.00   3,680.00
                         members re discovery responses
 05/15/2023   RM30       Correspond with K. Whitner re unredacted        1.70   1,600.00   2,720.00
                         claimant list objection
 05/16/2023   JM63       Correspond with M. Micheli re intervention      0.10   1,125.00     112.50
                         order
 05/16/2023   MMM5 Analyze application of section 1112(b)(2) to          0.40   1,750.00     700.00
                   motions to dismiss
 05/16/2023   MMM5 Review and revise slide deck regarding                0.70   1,750.00   1,225.00
                   intervention order (.4); review proposed
                   correspondence and draft order regarding
                   motion to intervene (.3)
 05/16/2023   MM53       Review and revise discovery responses.          0.30   1,650.00     495.00
 05/16/2023   MW22       Analyze standing motion (1.1); analyze draft    3.40   1,320.00   4,488.00
                         complaint (1.3); analyze case law related to
                         standing motion and draft complaint (1.0)
 05/16/2023   RM30       Analyze application of Bankruptcy Code          4.00   1,600.00   6,400.00
                         section 1112(b)(2) (2.1); draft parts of
                         motion to dismiss objection (1.9)
 05/16/2023   WCF        Analyze Third Circuit decision regarding        1.70   1,235.00   2,099.50
                         motion to dismiss (.6); analyze authorities
                         regarding dismissal under section 1112(b) of
                         Bankruptcy Code (1.1)
 05/17/2023   AHW1       Prepare response to subpoena for                0.30   1,290.00     387.00
                         documents for Ad Hoc Committee member
 05/17/2023   KH18       Analyze strategy for response to TCC            1.70   2,075.00   3,527.50
                         pleadings (.6); review and comment on
                         discovery issues (.6); Call with M. Murphy,
                         M. Micheli, R. Montefusco, and M. Whalen
                         re discovery issues (.5)
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 05/17/2023   MMM5 Review protective order (.4); telephone call            1.70   1,750.00   2,975.00
                   with K. Hansen, M. Micheli, M. Whalen,
                   and R. Montefusco regarding protective
                   order (.5); correspond with R. Montefusco
                   regarding subpoenas (.3); review discovery
                   issues to prepare for LTL meet and confer
                   call (.3); correspond with S. Van Aalten
                   regarding intervention order (.1); review
                   same (.1)
 05/17/2023   MMM5 Review proposed motion to dismiss                       0.20   1,750.00     350.00
                   schedule
 05/17/2023   MMM5 Review case law regarding section                       1.40   1,750.00   2,450.00
                   1112(b)(2)
 05/17/2023   MM53       Review order to intervene and related             0.30   1,650.00     495.00
                         discovery issues.
 05/17/2023   MM53       Review case findings regarding motion to          0.40   1,650.00     660.00
                         dismiss.
 05/17/2023   MM53       Correspond with M. Murphy and R.                  0.40   1,650.00     660.00
                         Montefusco regarding motion to dismiss
                         and discovery issues.
 05/17/2023   MM53       Review and comment on protective order.           0.60   1,650.00     990.00
 05/17/2023   MM53       Review and prepare notes on discovery             0.80   1,650.00   1,320.00
                         matters in preparation for discovery call.
 05/17/2023   MM53       Telephone conference with K. Hansen, M.           0.50   1,650.00     825.00
                         Murphy, R. Montefusco and M. Whalen
                         regarding discovery issues.
 05/17/2023   MW22       Correspond with M. Micheli regarding              0.20   1,320.00     264.00
                         discovery and plan issues
 05/17/2023   MW22       Call with M. Murphy, M. Micheli, K.               0.50   1,320.00     660.00
                         Hansen, and R. Montefusco regarding
                         protective order issues
 05/17/2023   MW22       Analyze draft response to motion to dismiss       0.90   1,320.00   1,188.00
 05/17/2023   MW22       Analyze motion for standing (.4); analyze         2.60   1,320.00   3,432.00
                         draft complaint (.8); analyze case law related
                         to standing motion and draft complaint
                         (1.4)
 05/17/2023   MM57       Correspond with M. Micheli re: critical           0.20    540.00      108.00
                         dates re: motions to dismiss
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 05/17/2023   RM30       Analyze case law re Bankruptcy Code             7.40   1,600.00   11,840.00
                         section 1112(b)(2) (1.6); prepare parts of
                         motion to dismiss objection (5.6); Call with
                         W. Farmer re same (.2)
 05/17/2023   RM30       Call with K. Hansen, M. Murphy, M.              2.00   1,600.00    3,200.00
                         Micheli, and M. Whalen re Committee
                         member discovery response (.5);
                         correspond with Steering Committee re ad
                         hoc committee member discovery
                         responses (.4); review and comment on
                         protective order (1.2)
 05/17/2023   WCF        Analyze authorities regarding section           3.60   1,235.00    4,446.00
                         1112(b) safe harbor regarding opposition to
                         motions to dismiss (2.3); call with R.
                         Montefusco regarding same (.2); draft parts
                         of opposition to motions to dismiss (1.1)
 05/18/2023   AHW1       Call with R. Montefusco, K. Whitner and         1.00   1,290.00    1,290.00
                         M. Whalen concerning discovery and case
                         strategy (.5); Review and revise draft
                         stipulation for protective order (.5)
 05/18/2023   KH18       Analyze strategy for responses to TCC           1.70   2,075.00    3,527.50
                         pleadings (.8) ; review and comment on
                         discovery issues (.9)
 05/18/2023   MMM5 Attend LTL meet and confer with Jones                 1.40   1,750.00    2,450.00
                   Day, White and Case, and Brown Rudnick
                   regarding discovery issues (.6); review TCC
                   statement of issues on appeal (.8)
 05/18/2023   MM53       Review and revise motion to dismiss             0.80   1,650.00    1,320.00
                         papers.
 05/18/2023   MM53       Follow up review of issues discussed in         0.20   1,650.00     330.00
                         discovery meet and confer.
 05/18/2023   MM53       Telephone conference with M. Murphy and         0.50   1,650.00     825.00
                         R. Montefusco regarding motion to dismiss
                         and discovery issues.
 05/18/2023   MM53       Review and prepare notes regarding              0.80   1,650.00    1,320.00
                         discovery matters in preparation for
                         discovery meet and confer.
 05/18/2023   MM53       Correspond with M. Murphy regarding             0.10   1,650.00     165.00
                         discovery issues.
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 Date         Initials   Description                                     Hours      Rate     Amount
 05/18/2023   MM53       Attend meet and confer with Brown                0.60   1,650.00     990.00
                         Rudnick, Jones Day, White and Case
                         regarding discovery issues.
 05/18/2023   MW22       Draft joinder stipulation regarding assent to    0.60   1,320.00     792.00
                         protective order (.4); correspond with R.
                         Montefusco and M. Micheli regarding same
                         (.2)
 05/18/2023   MW22       Call with K. Whitner, R. Montefusco, and         0.50   1,320.00     660.00
                         A. Wald regarding discovery and deposition
                         issues
 05/18/2023   RM30       Prepare notes for meet & confer (1.2);           1.80   1,600.00    2,880.00
                         conduct meet and confer with Brown
                         Rudnick and Jones Day re claimant lists and
                         discovery issues (.6)
 05/18/2023   RM30       Prepare parts of motion to dismiss               7.30   1,600.00   11,680.00
                         objection (4.1); analyze case law re
                         Bankruptcy Code section 1112(b)(2) (2.3);
                         correspond with W. Farmer re same (.4);
                         Call with K. Whitner, M. Whalen, and A.
                         Wald re discovery issues (.5)
 05/18/2023   SL38       Analyze standing motion and complaint            1.40   1,270.00    1,778.00
                         (1.0); prepare summary of same (.4)
 05/18/2023   WCF        Analyze authorities regarding section            3.50   1,235.00    4,322.50
                         1112(b) dismissal and unusual
                         circumstances (3.1); draft summary of
                         findings (.4)
 05/18/2023   WKW        Participate in meeting with R. Montefusco,       0.50   1,650.00     825.00
                         M. Whalen, and A. Wald regarding
                         preparing for discovery and depositions
 05/18/2023   WKW        Review filed motions to dismiss (.9);            1.50   1,650.00    2,475.00
                         comment on arguments for AHCSC
                         opposition to motions to dismiss (.6)
 05/19/2023   AHW1       Analyze correspondence from K. Whitner           0.10   1,290.00     129.00
                         and R. Montefusco related to discovery
 05/19/2023   KH18       Analysis of pleadings by TCC (1.0); prepare      2.60   2,075.00    5,395.00
                         notes regarding plan for response (.7);
                         correspond with R. Montefusco, A. Wald
                         and K. Whitner regarding discovery issues
                         (.5); prepare comments on same (.4)
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 Date         Initials   Description                                      Hours      Rate    Amount
 05/19/2023   LM20       Analyze Third Circuit precedent for               1.60    855.00    1,368.00
                         objection to motion to dismiss
 05/19/2023   MMM5 Continue reviewing motions to dismiss                   2.10   1,750.00   3,675.00
                   (1.8); review comments to objection to
                   motions to dismiss (.3)
 05/19/2023   MMM5 Review email from Brown Rudnick                         0.50   1,750.00     875.00
                   regarding discovery issues, rule 30(b)(6)
                   request, and proposed dates
 05/19/2023   MM53       Review and comment on discovery matters           0.60   1,650.00     990.00
                         and deposition schedules.
 05/19/2023   MM53       Draft revisions to motions to dismiss             1.20   1,650.00   1,980.00
                         papers.
 05/19/2023   MM53       Review intervention documents and form            0.40   1,650.00     660.00
                         declaration for law firms to send to clients.
 05/19/2023   MW22       Correspond with K. Whitner and R.                 0.20   1,320.00     264.00
                         Montefusco regarding protective order
 05/19/2023   RM30       Continue to prepare motion to dismiss             4.90   1,600.00   7,840.00
                         objection
 05/19/2023   RM30       Correspond with J. Ferrer re discovery            3.80   1,600.00   6,080.00
                         responses (.6); review and revise protective
                         order addendum (.6); draft meet and confer
                         emails to Brown Rudnick in connection
                         with TCC dispute concerning claimant lists
                         (1.4); correspond with K. Whitner and M.
                         Magzamen re proposed deposition list and
                         schedule (1.2)
 05/19/2023   WKW        Correspond with R. Montefusco regarding           0.30   1,650.00     495.00
                         Brown Rudnick deposition witness list,
                         availability of witnesses, and depo
                         preparation
 05/19/2023   WKW        Review and comment on draft motion to             1.20   1,650.00   1,980.00
                         dismiss response with supporting
                         declarations
 05/19/2023   WKW        Review Brown Rudnick deposition witness           0.30   1,650.00     495.00
                         list contained in email to parties identifying
                         discovery issues and disputes
 05/19/2023   WKW        Review and comment on draft addendum              0.40   1,650.00     660.00
                         to protective order for R. Montefusco
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 05/20/2023   KP17       Emails with R. Montefusco re privilege         0.60   1,875.00   1,125.00
                         issues (.2); call with R. Montefusco, K.
                         Whitner, M. Murphy, and M. Micheli
                         regarding same and discovery issues (.4)
 05/20/2023   MMM5 Review and prepare notes on pending                  0.50   1,750.00     875.00
                   litigation (.1); attend call with K. Whitner,
                   M. Micheli, K. Pasquale and R. Montefusco
                   regarding litigation strategy (.4)
 05/20/2023   MM53       Analyze discovery matters, deposition          0.40   1,650.00     660.00
                         schedules and unresolved issues to be
                         presented to the court
 05/20/2023   MM53       Telephone conference with K. Pasquale, M.      0.40   1,650.00     660.00
                         Murphy, K. Whitner and R. Montefusco
                         regarding discovery matters, depositions
                         and meet and confer update
 05/20/2023   MM57       Correspond with R. Montefusco re:              0.40    540.00      216.00
                         deposition prep (.2); case research for L.
                         Miliotes regarding cases cited (.2)
 05/20/2023   RM30       Call with K. Pasquale, K. Whitner, M.          1.50   1,600.00   2,400.00
                         Murphy, and M. Micheli re privilege issues
                         and scope of deposition defense (.4);
                         correspond with Steering Committee re
                         same (.8); review and comment on issues re
                         continued meet and confer re claimant lists
                         and discovery (2.3)
 05/20/2023   RM30       Continue to prepare motion to dismiss          3.20   1,600.00   5,120.00
                         objection
 05/20/2023   WKW        Conference with M. Micheli, K. Pasquale,       0.40   1,650.00     660.00
                         M. Murphy, and R. Montefusco regarding
                         depositions and need for privilege with
                         committee members
 05/20/2023   WKW        Review correspondence from R.                  0.80   1,650.00   1,320.00
                         Montefusco regarding disclosure of
                         claimant lists and TCC members' insistence
                         on one-way disclosure of unredacted
                         information
 05/21/2023   MMM5 Correspond with R. Montefusco regarding              0.40   1,750.00     700.00
                   litigation strategy
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 05/21/2023   MM53       Review and comment on responses to               0.80   1,650.00   1,320.00
                         discovery disputes, deposition schedules,
                         and unresolved issues to be presented to the
                         court.
 05/21/2023   MM53       Telephone conferences with R. Montefusco         0.50   1,650.00     825.00
                         regarding discovery responses
 05/21/2023   MM53       Correspond with M. Murphy and R.                 0.20   1,650.00     330.00
                         Montefusco regarding discovery disputes.
 05/21/2023   RM30       Review and comment re continued meet             2.40   1,600.00   3,840.00
                         and confer on claimant lists and discovery
                         issues (1.9); Calls with M. Micheli re same
                         (.5)
 05/21/2023   RM30       Prepare parts of motion to dismiss               5.30   1,600.00   8,480.00
                         objection (3.4); prepare parts of supporting
                         declarations (1.9)
 05/22/2023   KH18       Analysis of endless pleadings by TCC (.5);       3.30   2,075.00   6,847.50
                         consider and prepare notes regarding
                         discovery matters (2.0); correspond with K.
                         Whitner, R. Montefusco, M. Murphy and
                         M. Micheli regarding discovery issues (.8)
 05/22/2023   LM20       Review authority supporting omnibus              3.30    855.00    2,821.50
                         objection to motions to dismiss (2.5); revise
                         omnibus objection to motions to dismiss
                         (.8)
 05/22/2023   MMM5 Review issues and notes to prepare for meet            0.70   1,750.00   1,225.00
                   and confer with the TCC (.3); attend
                   portion of meet and confer with the TCC
                   regarding discovery issues (.4)
 05/22/2023   MMM5 Correspond with R. Montefusco regarding                1.00   1,750.00   1,750.00
                   objection to motion to dismiss (.2); review
                   draft objection to motion to dismiss (.8)
 05/22/2023   MM53       Analyze client certification responses.          0.20   1,650.00     330.00
 05/22/2023   MM53       Attend meet and confer with TCC, the             1.00   1,650.00   1,650.00
                         Debtors and R. Montefusco on open
                         discovery matters (.9); Follow up
                         correspondence with R. Montefusco res
                         same (.1)
 05/22/2023   MM53       Analyze protective order and related             0.20   1,650.00     330.00
                         discovery issues.
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 05/22/2023   MM53       Analyze discovery issues regarding               0.50   1,650.00     825.00
                         production of documents and client lists.
 05/22/2023   MW22       Analyze motion for standing and draft            1.10   1,320.00    1,452.00
                         complaint
 05/22/2023   MM57       Correspond with L. Miliotes and L. Morton        0.70    540.00      378.00
                         (CS) re: archived pleadings (research
                         project) (.2); research regarding same (.5)
 05/22/2023   RM30       Prepare for and attend call with K. Whitner      6.60   1,600.00   10,560.00
                         and L. Parkins re deposition prep (.9);
                         correspond with M. Winograd re claimant
                         list proposal (.4); prepare notes for meet &
                         confer re claimant lists (1.3); attend meet
                         and confer with Brown Rudnick and Jones
                         Day re claimant lists (.7); review topics and
                         related documents to prepare for
                         depositions (3.3)
 05/22/2023   RM30       Review and revise motion to dismiss              1.80   1,600.00    2,880.00
                         objection (1.2); correspond with W. Farmer
                         re alternate draft motion to dismiss
                         objection (.6)
 05/22/2023   WCF        Draft alternate opposition to motion to          0.70   1,235.00     864.50
                         dismiss regarding plan support
 05/22/2023   WKW        Conference with L. Parkins and R.                0.90   1,650.00    1,485.00
                         Montefusco regarding individual deposition
                         of committee members
 05/22/2023   WKW        Participate in correspondence with R.            0.60   1,650.00     990.00
                         Montefusco, M. Whalen, and M. Murphy
                         regarding discovery issues, witness lists,
                         deposition dates, and revised proposed
                         discovery schedule
 05/22/2023   WKW        Participate in meet and confer with TCC          0.90   1,650.00    1,485.00
                         counsel regarding discovery issues
 05/23/2023   AHW1       Call with K. Hansen, R. Montefusco, M.           0.50   1,290.00     645.00
                         Whalen, and K. Whitner regarding trial
                         preparation and discovery strategy
 05/23/2023   JM63       Review Brown Rudnick letter to Court re          0.20   1,125.00     225.00
                         discovery
 05/23/2023   JM63       Correspond with M. Micheli re motion to          0.10   1,125.00     112.50
                         dismiss pleadings
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 05/23/2023   KP17       Analyze evidentiary issues for motion to         2.80   1,875.00   5,250.00
                         dismiss hearing (.5); review and revise draft
                         objection to motion to dismiss (1.6);
                         Analyze discovery related issues (.5);
                         Correspond with R. Montefusco re same
                         (.2);
 05/23/2023   KH18       Review response to motions to dismiss (.5);      1.60   2,075.00   3,320.00
                         prepare comments on same (.8); correspond
                         with K. Whitner, K. Pasquale, R.
                         Montefusco, M. Murphy and M. Micheli
                         regarding same (.3)
 05/23/2023   KH18       Attend portion of call with K. Whitner, R.       0.40   2,075.00     830.00
                         Montefusco, M. Murphy and M. Micheli
                         regarding discovery
 05/23/2023   LM20       Revise two declarations in connection with       3.40    855.00    2,907.00
                         objection to motion to dismiss (1.3);
                         Correspond with R. Montefusco re same
                         (.2); further revise declarations re R.
                         Montefusco’ s comments (.5); correspond
                         with R. Montefusco re objection to motion
                         to dismiss (.2); revise omnibus objection to
                         motion to dismiss (1.1)
 05/23/2023   MMM5 Attend call with K. Hansen, K. Whitner, R.             0.50   1,750.00     875.00
                   Montefusco, M. Whalen, and M. Micheli
                   regarding trial preparation
 05/23/2023   MM53       Revise responses to discovery letters.           0.30   1,650.00     495.00
 05/23/2023   MM53       Telephone conference with K. Hansen, M.          0.50   1,650.00     825.00
                         Murphy, K. Whitner, and R. Montefusco
                         regarding trial strategy matters.
 05/23/2023   MM53       Analyze revisions to objection to motion to      0.30   1,650.00     495.00
                         dismiss.
 05/23/2023   MM53       Telephone conference with B. Hofmeister          0.50   1,650.00     825.00
                         (counsel to ad hoc committee member), K.
                         Whitner, R. Montefusco, L. Parkins and C.
                         Rubio regarding depositions matters for ad
                         hoc committee member
 05/23/2023   MM53       Analyze responses to discovery disputes,         0.90   1,650.00   1,485.00
                         deposition schedules and unresolved issues
                         to be presented to the court.
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 05/23/2023   MM53       Confer with R. Montefusco regarding                0.20   1,650.00     330.00
                         discovery issues.
 05/23/2023   MW22       Analyze depositions from preliminary               3.60   1,320.00    4,752.00
                         injunction hearing
 05/23/2023   MW22       Analyze letter from TCC counsel regarding          0.40   1,320.00     528.00
                         discovery disputes
 05/23/2023   MW22       Call with K. Whitner, R. Montefusco, M.            0.50   1,320.00     660.00
                         Murphy and A. Wald regarding pending
                         motions and hearing preparation
 05/23/2023   MM57       Correspond with K. Whitner regarding               0.20    540.00      108.00
                         motion to dismiss schedule (.1); correspond
                         with S. Lawand re: motion to dismiss
                         schedule (.1)
 05/23/2023   MM57       Review R. Montefusco acknowledgment of             0.20    540.00      108.00
                         protective order
 05/23/2023   RM30       Review and revise alternate draft motion to        3.20   1,600.00    5,120.00
                         dismiss
 05/23/2023   RM30       Attend call with B. Hoffmeister, M.                8.70   1,600.00   13,920.00
                         Murphy, K. Whitner, and M. Micheli re ad
                         hoc committee member deposition (1.2);
                         prepare parts of deposition outline (3.4);
                         draft responsive letter to Judge Kaplan re
                         claimant list dispute (1.9); correspond with
                         M. Murphy re same (.3); revise and finalize
                         letter to Judge Kaplan re claimant list
                         dispute (.5); call with K. Whitner, M.
                         Murphy, M. Whalen and M. Micheli re trial
                         prep issues (.5); call with ad hoc committee
                         member re deposition issues (.8)
 05/23/2023   SL38       Draft emails to local counsel regarding            2.10   1,270.00    2,667.00
                         redacting and sealing motion to dismiss
                         objection (.3); draft motion to seal related to
                         motion to dismiss objection (1.6); review
                         motion to dismiss deadlines (.2)
 05/23/2023   WCF        Draft alternate motion to dismiss regarding        5.40   1,235.00    6,669.00
                         plan support and client position (4.3);
                         correspond with R. Montefusco regarding
                         revisions to opposition to motions to
                         dismiss (.2); revise alternate motion to
                         dismiss regarding same (.9)
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 05/23/2023   WKW        Review and finalize protective order              0.20   1,650.00     330.00
 05/23/2023   WKW        Review email between parties leading to           0.80   1,650.00   1,320.00
                         Brown Rudnick letter to Chambers
                         regarding discovery issues
 05/23/2023   WKW        Participate in common defense call with Ad        0.60   1,650.00     990.00
                         hoc member counsel in preparation for
                         deposition
 05/23/2023   WKW        Participate in call with K. Hansen, M.            0.50   1,650.00     825.00
                         Whalen, M. Murphy, R. Montefusco, and A.
                         Wald regarding trial and deposition
                         preparation
 05/23/2023   WKW        Review revised draft of objection to motion       0.70   1,650.00   1,155.00
                         to dismiss
 05/23/2023   WKW        Revise Brown Rudnick letter to Court              0.30   1,650.00     495.00
                         regarding discovery dispute
 05/24/2023   AHW1       Attend M. Nachawati deposition (4.5);             6.10   1,290.00   7,869.00
                         prepare summary of same (1.6)
 05/24/2023   JM63       Call with L. Miliotes re confidentiality          0.50   1,125.00     562.50
                         requirements for depositions (.3); review
                         Haas deposition transcript and docket to
                         determine confidentiality requirements (.2)
 05/24/2023   KH18       Deposition debrief call with M. Murphy, M.        1.40   2,075.00   2,905.00
                         Micheli, K. Whitner, and R. Montefusco
                         (.5); Correspond with R. Montefusco re
                         same (.3) Review and analyze related
                         deposition issues (6).
 05/24/2023   LM20       Review authority supporting objection to          5.20    855.00    4,446.00
                         motions to dismiss (2.6); review and revise
                         declarations and objection to motions to
                         dismiss (.5); Correspond with S. Lawand re
                         confidentiality questions related to motion
                         to dismiss objection (.2); analyze
                         confidentiality agreements pertaining to
                         depositions in LTL 1.0 and current LTL
                         case (1.6); call with J. McMillan re same (.3)
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 05/24/2023   MMM5 Correspond with R. Montefusco regarding               1.00   1,750.00    1,750.00
                   M. Nachawati deposition (.5); call with K.
                   Hansen, K. Whitner, M. Micheli, and R.
                   Montefusco regarding M. Nachawati
                   deposition (.5)
 05/24/2023   MMM5 Attend call with J&J, Jones Day, R.                   0.20   1,750.00     350.00
                   Montefusco, K. Whitner, and W. Farmer on
                   motion to dismiss opposition brief
 05/24/2023   MM53       Review correspondence from TCC                  0.30   1,650.00     495.00
                         regarding pending litigation matters
 05/24/2023   MM53       Analyze disputed discovery issues.              1.00   1,650.00    1,650.00
 05/24/2023   MM53       Telephone conference with K. Hansen, K.         0.50   1,650.00     825.00
                         Whitner, M. Murphy and R. Montefusco
                         regarding M. Nachawati deposition.
 05/24/2023   MM53       Correspond with M. Murphy and R.                0.20   1,650.00     330.00
                         Montefusco regarding discovery issues.
 05/24/2023   MM53       Revise motions to dismiss.                      0.70   1,650.00    1,155.00
 05/24/2023   MM57       Correspond with M. Micheli and R.               1.20    540.00      648.00
                         Montefusco re: NDAs (.1); correspond with
                         R. Montefusco re: items produced (.2); draft
                         depositions schedule (.5); review production
                         by Debtor (.4)
 05/24/2023   RM30       Review and revise draft declarations            4.00   1,600.00    6,400.00
                         supporting motion to dismiss objection (.9);
                         Attend call with Debtor’s counsel, J&J, and
                         K. Whitner, M. Murphy and W. Farmer re
                         opposition to motions to dismiss (.2);
                         review and revise draft motion to dismiss
                         objection (2.9)
 05/24/2023   RM30       Review topics, authority, and certain           7.10   1,600.00   11,360.00
                         documents in preparation for deposition
                         (2.0); attend and defend M. Nachawati
                         deposition (4.1); Attend deposition debrief
                         call with K. Hansen, M. Murphy, M.
                         Micheli, and K. Whitner (.5); Attend call
                         with LTL, J&J, and K. Whitner re M.
                         Nachawati deposition (.5)
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 05/24/2023   SL38       Review draft motion to dismiss objection       2.90   1,270.00   3,683.00
                         and its exhibits for confidentiality
                         designations.
 05/24/2023   SL38       Analyze authorities cited in motion to         1.20   1,270.00   1,524.00
                         dismiss objection.
 05/24/2023   SL38       Draft motion to seal objection to motions      1.40   1,270.00   1,778.00
                         to dismiss.
 05/24/2023   WCF        Analyze authorities in opposition to motion    0.60   1,235.00     741.00
                         to dismiss (.4); Call with K. Whitner, M.
                         Murphy, and R. Montefusco and Debtor's
                         Counsel and J&J re same (.2)
 05/24/2023   WKW        Review draft objections to motion to           0.60   1,650.00     990.00
                         dismiss in light of deposition testimony
 05/24/2023   WKW        Attend M. Nachawati deposition                 4.10   1,650.00   6,765.00
 05/24/2023   WKW        Conference with J&J, LTL counsel and R.        0.50   1,650.00     825.00
                         Montefusco regarding M. Nachawati
                         deposition
 05/24/2023   WKW        Conference with J&J, LTL counsel, M.           0.20   1,650.00     330.00
                         Murphy, R. Montefusco, and W. Farmer
                         regarding motion to dismiss opposition
                         brief
 05/24/2023   WKW        Call with K. Hansen, R. Montefusco, M.         0.50   1,650.00     825.00
                         Micheli and M. Murphy re deposition
                         debrief
 05/24/2023   WKW        Review ad hoc committee members                4.00   1,650.00   6,600.00
                         preliminary injunction related deposition
                         transcripts in preparation for motion to
                         dismiss depositions
 05/25/2023   AHW1       Analyze pleadings in preparation for           0.40   1,290.00     516.00
                         depositions
 05/25/2023   KP17       Call with R. Montefusco re litigation          0.70   1,875.00   1,312.50
                         strategy (.3); review email from co-counsel
                         re same (.4)
 05/25/2023   KH18       Review and comment on discovery issues         1.30   2,075.00   2,697.50
 05/25/2023   LM20       Draft email to Debtors' counsel re             0.30    855.00      256.50
                         confidentiality of depositions
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 05/25/2023   LM20       Correspond with R. Montefusco re motion         3.10    855.00    2,650.50
                         to dismiss (.3); analyze case law re good
                         faith bankruptcy filings (.9); review
                         Bankruptcy Court's local rules in
                         connection with motion to dismiss
                         objection and supporting declarations (.6);
                         correspond with W. Farmer re same (.3);
                         correspond with Cole Schotz re upcoming
                         filings (.1); review and incorporate changes
                         to objection to motion to dismiss (.9)
 05/25/2023   MMM5 Correspond with R. Montefusco regarding               0.20   1,750.00     350.00
                   objection to motions to dismiss (.1);
                   correspond with Ad Hoc Group related to
                   same (.1)
 05/25/2023   MMM5 Analyze case law regarding section                    3.00   1,750.00   5,250.00
                   1112(b)(2) (1.2); analyze case law regarding
                   equitable mootness (1.1); review issues and
                   notes to prepare for call with USDOJ
                   regarding redacted rule 2019 statement (.4);
                   attend call with M. Micheli, R, Montefusco
                   and USDOJ regarding redacted rule 2019
                   statement (.3)
 05/25/2023   MM53       Draft revisions to objection to motions to      1.20   1,650.00   1,980.00
                         dismiss.
 05/25/2023   MM53       Telephone conference with B. Theriot            0.30   1,650.00     495.00
                         (DOJ), Z. Balasko (DOJ), S. Van Aalten, M.
                         Murphy and R. Montefusco regarding DOJ
                         information requests
 05/25/2023   MM53       Telephone conference with R. Montefusco,        0.30   1,650.00     495.00
                         M. Murphy and L. Parkins regarding
                         objection to motions to dismiss.
 05/25/2023   MM53       Review and comment on letters to                0.20   1,650.00     330.00
                         Chambers regarding discovery disputes.
 05/25/2023   MM53       Analyze confidentiality issues related to       0.30   1,650.00     495.00
                         evidence for objection to motions to
                         dismiss.
 05/25/2023   MM53       Telephone conference with R. Montefusco         0.20   1,650.00     330.00
                         regarding brief on motion to dismiss.
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 05/25/2023   MW22       Analyze evidentiary issues related to           2.30   1,320.00    3,036.00
                         deposition objections and evidentiary
                         preclusion
 05/25/2023   MW22       Analyze caselaw regarding standing motion       1.60   1,320.00    2,112.00
                         and merits of underlying claims
 05/25/2023   MM57       Update deposition schedule                      0.40    540.00      216.00
 05/25/2023   MM57       Correspond with R. Montefusco and L.            0.20    540.00      108.00
                         Miliotes re: brief and objection to motions
                         to dismiss
 05/25/2023   MM57       Review certain litigation deadlines for S.      0.30    540.00      162.00
                         Lawand and L. Miliotes (.2); correspond
                         with S. Van Aalten and L. Morton (CS) re:
                         litigation deadlines (.1)
 05/25/2023   RM30       Prepare outline for Onder deposition prep       0.90   1,600.00    1,440.00
                         (.6); Call with DOJ, M. Micheli and M.
                         Murphy re claimant lists (.3)
 05/25/2023   RM30       Review and revise Onder and Watts               9.80   1,600.00   15,680.00
                         declarations supporting objection to motion
                         to dismiss (1.8); correspond with L. Parkins
                         re same (.5); Call with M. Micheli and
                         Parkins and Rubio re same (.3) review and
                         revise draft motion to dismiss objection
                         (6.3); correspond with Steering Committee
                         re same (.4); Call with M. Micheli re motion
                         to dismiss objection and supporting
                         documents (.2); Call with K. Pasquale re
                         same (.3);
 05/25/2023   SL38       Review revised dismissal objection for          0.50   1,270.00     635.00
                         confidentiality issues.
 05/25/2023   WCF        Further analyze authorities in opposition to    2.70   1,235.00    3,334.50
                         motions to dismiss (1.1); prepare parts of
                         opposition to motions to dismiss (1.4);
                         correspond with R. Montefusco regarding
                         same (.2)
 05/25/2023   WKW        Review J. Onder declaration supporting          0.10   1,650.00     165.00
                         objections to motion to dismiss
 05/25/2023   WKW        Review Watts declaration supporting             0.20   1,650.00     330.00
                         objections to motion to dismiss
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 05/25/2023   WKW        Review counsel revisions to objection to       1.50   1,650.00   2,475.00
                         motion to dismiss and subsequent
                         correspondence by AHCSC members
                         regarding support for plan
 05/26/2023   JM63       Correspond with R. Montefusco, M.              4.10   1,125.00   4,612.50
                         Micheli, M. Murphy, and L. Miliotes re
                         revisions to objection to motion to dismiss
                         (.6); review and revise objection to motion
                         to dismiss (2.8); review and revise Watts
                         declaration supporting objection to motion
                         to dismiss (.4); correspond with R.
                         Montefusco re same (.1); review and revise
                         Onder declaration supporting objection to
                         motion to dismiss (.2)
 05/26/2023   KP17       Review revised draft objection to motions      0.90   1,875.00   1,687.50
                         to dismiss (.7); emails with R. Montefusco
                         re same (.2)
 05/26/2023   KH18       Review pending discovery (1.1); correspond     1.50   2,075.00   3,112.50
                         with K. Whitner, R. Montefusco, M.
                         Murphy and M. Micheli regarding discovery
                         issues (.4)
 05/26/2023   LM20       Correspond with J. McMillan re comments        3.30    855.00    2,821.50
                         on objection to motions to dismiss (.7);
                         review and incorporate same into objection
                         (2.2); correspond with R. Montefusco and
                         W. Farmer re same (.4)
 05/26/2023   MMM5 Review deposition summaries in connection            4.70   1,750.00   8,225.00
                   with motions to dismiss (.4); review and
                   comment on objection to motions to
                   dismiss and related declarations (2.7);
                   telephone call with M. Micheli and R.
                   Montefusco regarding objection to motions
                   to dismiss (.2); correspond with M. Micheli
                   regarding objection to motions to dismiss
                   (.5); revise portions of objection to motions
                   to dismiss in line with call with R.
                   Montefusco (.9)
 05/26/2023   MM53       Review and summarize letters to Chambers       1.10   1,650.00   1,815.00
                         and filed motions regarding discovery
                         disputes in preparation for May 30 hearing.
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 05/26/2023   MM53       Analyze disputed discovery issues and           0.50   1,650.00     825.00
                         related authority
 05/26/2023   MM53       Telephone conference with M. Murphy and         0.20   1,650.00     330.00
                         R. Montefusco regarding objection to
                         motions to dismiss.
 05/26/2023   MM53       Draft revisions to objection to motions to      1.20   1,650.00    1,980.00
                         dismiss.
 05/26/2023   MW22       Analyze authority on standing motion and        1.10   1,320.00    1,452.00
                         related prior case documents
 05/26/2023   MW22       Analyze case law and statutory authority        2.60   1,320.00    3,432.00
                         regarding witness testimony and trial
                         preclusion issues (2.4); correspond with K.
                         Whitner and R. Montefusco regarding same
                         (.2)
 05/26/2023   MW22       Analyze discovery letter to Chambers            0.20   1,320.00     264.00
                         regarding open disputes
 05/26/2023   MM57       Correspond with M. Micheli re: certain          0.10    540.00       54.00
                         deposition transcripts
 05/26/2023   MM57       Correspond with L. Miliotes, W. Farmer          2.70    540.00     1,458.00
                         and R. Montefusco re: excerpted exhibits
                         for objection to motions to dismiss (.4);
                         prepare exhibits for declaration and
                         objection to motions to dismiss (2.2);
                         review declarations in support of motions
                         to dismiss objection (.1)
 05/26/2023   RM30       Correspond with L. Parkins re Onder            10.30   1,600.00   16,480.00
                         declaration (.6); review and revise same
                         (1.2); review and revise Watts declaration
                         (1.6); review and finalize motion to dismiss
                         objection (6.5); call with M. Micheli and M.
                         Murphy re same (.2); Call with F. Farmer re
                         same (.2)
 05/26/2023   SL38       Analyze motions to compel, discovery            0.80   1,270.00    1,016.00
                         letters, and objections to motions to
                         dismiss.
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 05/26/2023   WCF        Revise opposition to motions to dismiss          4.20   1,235.00   5,187.00
                         and supporting declarations (3.8);
                         correspond with L. Miliotes and J. McMillan
                         regarding same (.2); call with R. Montefusco
                         regarding same (.2)
 05/26/2023   WKW        Review and revise opposition to motion to        0.80   1,650.00   1,320.00
                         dismiss brief and supporting declarations
 05/26/2023   WKW        Review deposition notices                        0.30   1,650.00     495.00
 05/27/2023   KH18       Review and comment on discovery issues           1.50   2,075.00   3,112.50
                         (1.0); correspond with K. Whitner, K.
                         Pasquale, R. Montefusco, M. Murphy and
                         M. Micheli regarding same (.5)
 05/27/2023   RM30       Review LTL motion to dismiss objection.          0.60   1,600.00     960.00
 05/28/2023   KH18       Analysis of ongoing discovery disputes           0.80   2,075.00   1,660.00
 05/29/2023   MW22       Analyze discovery issues related to              0.20   1,320.00     264.00
                         deposition and trial testimony
 05/29/2023   RM30       Correspond with K. Whitner re upcoming           1.80   1,600.00   2,880.00
                         depositions (.2); call with B. Hoffmeister re
                         Onder deposition (.4); review submissions
                         and prepare outline for hearing on
                         discovery issues (1.2).
 05/29/2023   SL38       Review and comment on protective order           0.70   1,270.00     889.00
                         papers
 05/30/2023   JM63       Correspond with L. Miliotes re notes for         0.10   1,125.00     112.50
                         deposition of Robert Wuesthoff
 05/30/2023   JM63       Review debtor's objection to motion to           0.20   1,125.00     225.00
                         dismiss.
 05/30/2023   KP17       Correspond with R. Montefusco re                 0.50   1,875.00     937.50
                         evidentiary issues in connection with
                         motions to dismiss
 05/30/2023   LM20       Attend and take notes on deposition of           5.20    855.00    4,446.00
                         Robert Wuesthoff (4.6); prepare summary
                         re same (.6)
 05/30/2023   MMM5 Review TCC letter to Judge Kaplan                      0.50   1,750.00     875.00
                   regarding potential conflict (.3); review reply
                   in support of motion for entry of protective
                   order (.2)
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 05/30/2023   MMM5 Review debtor's objection to motions to                0.60   1,750.00   1,050.00
                   dismiss
 05/30/2023   MM53       Analyze discovery issues regarding               0.40   1,650.00     660.00
                         production of documents and client lists in
                         preparation for hearing.
 05/30/2023   MM53       Analyze court rulings on disputed discovery      0.40   1,650.00     660.00
                         issues.
 05/30/2023   MM53       Review revised scheduling for motion for         0.20   1,650.00     330.00
                         standing and motion to preclude votes.
 05/30/2023   MM53       Correspond with S. Lawand regarding              0.20   1,650.00     330.00
                         scheduling issues for court hearing.
 05/30/2023   MM53       Review debtor's objection to motion to           0.20   1,650.00     330.00
                         compel.
 05/30/2023   MW22       Attend Murdica deposition                        1.80   1,320.00   2,376.00
 05/30/2023   MW22       Draft outline of objection to standing           1.30   1,320.00   1,716.00
                         motion (1.1); correspond with M. Micheli
                         regarding same (.2)
 05/30/2023   MM57       Correspond with K. Whitner re: credentials       0.70    540.00      378.00
                         for deposition (.1); draft acknowledgments
                         for M. Whalen and K. Whitner (.5);
                         correspond with Brown Rudnick regarding
                         executed acknowledgments (.1)
 05/30/2023   RM30       Prepare outline of issues for Birchfield         4.50   1,600.00   7,200.00
                         deposition (2.1); attend Birchfield
                         deposition (2.2); review and revise Steering
                         Committee update re claimant list ruling (.2)
 05/30/2023   SL38       Review and prepare notes on debtor's             0.70   1,270.00     889.00
                         objection to motions to dismiss.
 05/30/2023   WKW        Attend portion of J. Murdica deposition          1.70   1,650.00   2,805.00
 05/30/2023   WKW        Attend A. Birchfield deposition                  3.00   1,650.00   4,950.00
 05/30/2023   WKW        Review LTL objections to motion to               2.10   1,650.00   3,465.00
                         dismiss
 05/31/2023   AHW1       Correspond with R. Montefusco regarding          0.10   1,290.00     129.00
                         confidentiality designations in Nachawati
                         deposition
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 05/31/2023   KH18       Call with R. Montefusco, M. Murphy and         0.30   2,075.00     622.50
                         M. Micheli and jones Day regarding
                         depositions and discovery plan
 05/31/2023   KH18       Correspond with K. Whitner, K. Pasquale,       0.60   2,075.00   1,245.00
                         R. Montefusco, M. Murphy and M. Micheli
                         regarding motions to dismiss and next steps
                         (.3); review issues regarding same (.3)
 05/31/2023   MMM5 Telephone call with M. Micheli regarding             2.60   1,750.00   4,550.00
                   production of claimant information (.4);
                   review motion to compel filed by debtor
                   (.4); review and revise proposed order with
                   respect to claimant information (1.4);
                   Correspond with M. Micheli and R.
                   Montefusco regarding proposed order with
                   respect to claimant information (.2);
                   Correspond with M. Micheli, R.
                   Montefusco and S. Van Aalten regarding
                   proposed order with respect to claimant
                   information (.2)
 05/31/2023   MMM5 Telephone call with Jones Day, K. Hansen,            0.50   1,750.00     875.00
                   M. Micheli, and R. Montefusco regarding
                   case matters and discovery issues
 05/31/2023   MM53       Telephone conference with G. Gordon, B.        0.50   1,650.00     825.00
                         Erens, K. Hansen, M. Murphy, and R.
                         Montefusco regarding discovery and plan
                         issues.
 05/31/2023   MM53       Analyze proposed order regarding motion        0.40   1,650.00     660.00
                         to compel production of client lists.
 05/31/2023   MM53       Telephone conference with R. Montefusco,       0.20   1,650.00     330.00
                         M. Murphy and S. Van Aalten regarding
                         order to compel production of client lists.
 05/31/2023   MM53       Analyze discovery issues regarding             0.30   1,650.00     495.00
                         production of documents and client lists in
                         preparation for hearing.
 05/31/2023   MM53       Correspond with M. Murphy regarding            0.40   1,650.00     660.00
                         ongoing discovery disputes.
 05/31/2023   MM53       Analyze debtor's motion to compel law          0.30   1,650.00     495.00
                         firms to produce documents.
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 05/31/2023   MW22       Attend Lisman deposition (4.5); Prepare          4.90   1,320.00     6,468.00
                         summary of same (.4)
 05/31/2023   MM57       Update calendars for depositions (.1);           1.10    540.00       594.00
                         correspond with Lexitas re: standing orders
                         (.2); research regarding certain deposition
                         transcripts and prepare same for attorney
                         review (.7); correspond with R. Montefusco
                         re: same (.1)
 05/31/2023   RM30       Correspond with K. Pasquale re proposed          7.70   1,600.00    12,320.00
                         subpoena responses (.8); review and
                         comment on next steps for UnitedLex
                         document/data review (.6); calls with M.
                         Micheli (PH) and Jones Day re discovery
                         matters (.3); attend HoldCo rule 30(b)(6)
                         deposition (3.1); draft proposed order for
                         claimant list disclosure (2.9)
 05/31/2023   WCF        Attend, analyze deposition of Richard            4.00   1,235.00     4,940.00
                         Dickinson regarding motions to dismiss
                         chapter 11 case (3.6); draft notes regarding
                         same (.4)
 05/31/2023   WKW        Attend A. Lisman (JJCI/HoldCo)                   4.50   1,650.00     7,425.00
                         deposition
              Subtotal: B191 General Litigation                         509.50              761,793.50




 B240   Tax Issues
 05/18/2023   GS15       Review tax aspects of draft plan and             1.50   1,600.00     2,400.00
                         disclosure statement (1.2); Call with M.
                         Micheli re same (.3)
 05/18/2023   MM53       Telephone conference with G. Silber              0.30   1,650.00      495.00
                         regarding tax matters for plan and
                         disclosure statement.
              Subtotal: B240 Tax Issues                                   1.80                2,895.00
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 B310   Claims Administration and Objections
 05/08/2023   SL38       Further analyze claim objection procedures          1.40   1,270.00    1,778.00
                         and related precedent
 05/26/2023   MM53       Analyze certain scheduled claims.                   0.20   1,650.00     330.00
              Subtotal: B310 Claims Administration and                       1.60               2,108.00
                        Objections




 B320   Plan and Disclosure Statement (including Business Plan)
 05/01/2023   AM50       Analyze and comment on precedent TDPs               1.40   1,725.00    2,415.00
 05/01/2023   JM63       Correspond with L. Miliotes re case law             4.60   1,125.00    5,175.00
                         regarding tort resolution process (.2);
                         analyze precedents regarding mass tort case
                         trust amounts (3.2); draft summary re same
                         (1.2)
 05/01/2023   MMM5 Review trust distribution procedures                      0.90   1,750.00    1,575.00
 05/02/2023   LM20       Analyze case law on section 524(g) plans            1.60    855.00     1,368.00
 05/03/2023   AM50       Review draft TDP and precedents regarding           3.70   1,725.00    6,382.50
                         same (2.3); provide comments on same (1.4)
 05/03/2023   JM63       Correspond with K. Pasquale and L.                  0.70   1,125.00     787.50
                         Miliotes re eligibility of claimant voting (.4);
                         review asbestos bankruptcy cases re
                         claimant's eligibility to vote (.3)
 05/03/2023   JM63       Correspond with R. Montefusco re claims             1.30   1,125.00    1,462.50
                         legitimacy questions (.2); analyze case law
                         regarding mass tort claimants legitimacy of
                         claims (1.1)
 05/03/2023   MMM5 Review TDP and points of concern and                      1.40   1,750.00    2,450.00
                   outline potential resolution of key issues
 05/04/2023   AM50       Further review and provide comments on              5.80   1,725.00   10,005.00
                         draft TDP (3.2); participate on calls with
                         Parkins Rubio (co-counsel) on same (1.8);
                         correspond with M. Micheli, M. Murphy
                         and Parkins Rubio on same (.8)
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 05/04/2023   JM63       Analyze asbestos mass tort case voting        4.20   1,125.00   4,725.00
                         procedures (2.8); draft memo re same (1.4)
 05/04/2023   KP17       Analyze MDL Daubert decision and voting       1.80   1,875.00   3,375.00
                         criteria issues
 05/04/2023   MMM5 Begin review of plan of reorganization              1.70   1,750.00   2,975.00
 05/04/2023   MMM5 Review issues and prepare notes for call            1.40   1,750.00   2,450.00
                   regarding TDP (.4); attend call with L.
                   Parkins, C. Rubio, S. Van Aalten, K.
                   Hansen, M. Micheli and A. Miller regarding
                   TDP (1.0)
 05/04/2023   MMM5 Review objection of TCC to schedule                 0.40   1,750.00     700.00
                   disclosure statement hearing
 05/04/2023   MM53       Telephone conference with L. Parkins, C.      1.00   1,650.00   1,650.00
                         Rubio, S. Van Aalten, M. Murphy and A.
                         Miller regarding TDPs.
 05/04/2023   MM53       Telephone conference with A. Miller, S.       0.40   1,650.00     660.00
                         Van Aalten and C. Rubio regarding TDPs.
 05/04/2023   MM53       Review and comment on mass tort plan          0.80   1,650.00   1,320.00
                         precedent.
 05/04/2023   MM53       Analyze background documents on               0.40   1,650.00     660.00
                         settlement process and TDPs.
 05/04/2023   MM53       Review issues and prepare notes for           0.30   1,650.00     495.00
                         working group call regarding TDPs.
 05/05/2023   AM50       Follow up review and comment on TDPs          0.80   1,725.00   1,380.00
 05/05/2023   KP17       Review mediation letters from the TCC and     0.30   1,875.00     562.50
                         Debtor
 05/05/2023   MMM5 Continue review of plan of reorganization           2.50   1,750.00   4,375.00
                   (1.4); review and edit letter regarding
                   mediation (.4); review solicitation materials
                   (.7)
 05/05/2023   MM53       Analyze solicitation procedures.              0.40   1,650.00     660.00
 05/05/2023   MM53       Draft revisions to plan.                      3.80   1,650.00   6,270.00
 05/05/2023   MM57       Research regarding mass torts cases (.6);     0.70    540.00      378.00
                         correspond with M. Micheli re: same (.1)
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 Date         Initials   Description                                     Hours      Rate    Amount
 05/06/2023   KH18       Review and prepare notes on plan and             2.00   2,075.00   4,150.00
                         disclosure statement issues (1.3); review and
                         prepare notes on PSA and term sheet issues
                         (.7)
 05/06/2023   MMM5 Review and edit plan of reorganization                 5.40   1,750.00   9,450.00
                   (4.1); telephone call with M. Micheli
                   regarding plan comments and high level
                   issues (1.3)
 05/06/2023   MM53       Prepare parts of plan.                           4.50   1,650.00   7,425.00
 05/06/2023   MM53       Telephone conferences with M. Murphy             1.30   1,650.00   2,145.00
                         regarding plan comments.
 05/06/2023   MM53       Prepare inserts to trust distribution            2.00   1,650.00   3,300.00
                         procedures.
 05/06/2023   SL38       Analyze claim objection procedures and           0.90   1,270.00   1,143.00
                         related precedent
 05/06/2023   SL38       Analyze case law and statutory authority         3.10   1,270.00   3,937.00
                         regarding channeling injunctions
 05/06/2023   SL38       Draft response to objection to scheduling        2.90   1,270.00   3,683.00
                         motion.
 05/06/2023   SL38       Analyze good faith plan requirement and          2.80   1,270.00   3,556.00
                         related case law (1.2); analyze plan
                         solicitation and related case law (1.6)
 05/06/2023   WKW        Review mediation documents                       1.50   1,650.00   2,475.00
 05/07/2023   JM63       Correspond with S. Lawand regarding              0.60   1,125.00     675.00
                         scheduling objection response (.1); analyze
                         case law regarding postpetition claims
                         resolution procedures in connection with
                         response to scheduling objection (.5).
 05/07/2023   KH18       Review and prepare notes on plan and             1.80   2,075.00   3,735.00
                         disclosure statement issues (1.1); review and
                         prepare notes on PSA and term sheet issues
                         (.7).
 05/07/2023   MMM5 Continue review of TDPs                                1.20   1,750.00   2,100.00
 05/07/2023   MM53       Analyze plan solicitation procedures.            0.20   1,650.00     330.00
 05/07/2023   MM53       Revise pleading in support of disclosure         0.30   1,650.00     495.00
                         statement scheduling timeline.
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 Date         Initials   Description                                    Hours      Rate    Amount
 05/07/2023   SL38       Further analyze good faith plan requirement     0.40   1,270.00     508.00
                         and related case law
 05/07/2023   SL38       Continue to draft response to objection to      3.20   1,270.00   4,064.00
                         scheduling motion.
 05/07/2023   SL38       Further analyze case law and statutory          1.00   1,270.00   1,270.00
                         authority regarding channeling injunctions
 05/07/2023   SL38       Review and analyze chapter 11 plan,             2.90   1,270.00   3,683.00
                         disclosure statement motion, and trust
                         distribution procedures (2.2); prepare notes
                         regarding same (.7).
 05/07/2023   SL38       Further analyze claim objection procedures      1.40   1,270.00   1,778.00
                         and related precedent
 05/08/2023   JM63       Analyze prepackaged asbestos plan's             6.80   1,125.00   7,650.00
                         solicitation procedures in connection with
                         same for LTL (4.4); draft memo re same
                         (2.4)
 05/08/2023   JM63       Analyze case law in connection with             2.20   1,125.00   2,475.00
                         response to scheduling objection
 05/08/2023   KP17       Review draft pleadings regarding claims         0.70   1,875.00   1,312.50
 05/08/2023   KH18       Review and comment on response on plan,         1.70   2,075.00   3,527.50
                         disclosure statement and solicitation (1.2);
                         correspond with Ad Hoc Committee
                         regarding same (.5)
 05/08/2023   MMM5 Review plan, plan support agreement and               5.20   1,750.00   9,100.00
                   TDPs (2.8); prepare plan issues list for call
                   with Jones Day (1.4); attend call with Jones
                   Day regarding plan (1.0)
 05/08/2023   MM53       Correspond with M. Murphy regarding plan        0.70   1,650.00   1,155.00
                         and case matters.
 05/08/2023   MM53       Draft plan issues list.                         1.50   1,650.00   2,475.00
 05/08/2023   MM53       Correspond with S. Lawand regarding             0.20   1,650.00     330.00
                         response to disclosure statement pleading.
 05/08/2023   MM53       Telephone conference with D. Prieto, B.         1.00   1,650.00   1,650.00
                         Erens, K. Hansen and M. Murphy regarding
                         plan issues.
 05/08/2023   MM53       Review disclosure statement.                    0.40   1,650.00     660.00
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 Date         Initials   Description                                   Hours      Rate    Amount
 05/08/2023   MM53       Telephone conference with C. Rubio and L.      0.50   1,650.00     825.00
                         Parkins regarding plan.
 05/08/2023   MM53       Review and revise solicitation procedures      1.40   1,650.00   2,310.00
                         motion and related pleadings.
 05/08/2023   SL38       Further analyze good faith plan requirement    0.40   1,270.00     508.00
                         and related case law
 05/08/2023   SL38       Draft parts of omnibus response to             3.90   1,270.00   4,953.00
                         objections to scheduling motion.
 05/08/2023   SL38       Further analyze case law and statutory         0.90   1,270.00   1,143.00
                         authority regarding channeling injunctions
 05/08/2023   WKW        Review and prepare notes regarding             0.60   1,650.00     990.00
                         objections to debtor's motion to set
                         disclosure statement schedule
 05/09/2023   JM63       Correspond with M. Micheli re plan issues      0.10   1,125.00     112.50
 05/09/2023   JM63       Draft memo re prepackaged asbestos plan's      6.70   1,125.00   7,537.50
                         solicitation procedures in connection with
                         analysis of same for LTL (4.2); review
                         PG&E and Boy Scouts electronic voting
                         process in connection with analysis of same
                         for LTL (1.2); draft memo to M. Micheli re
                         same (1.1); correspond with L. Miliotes re
                         exculpation questions (.2).
 05/09/2023   LM20       Review and revise portion of response to       0.20    855.00      171.00
                         TCC objection to scheduling motion
 05/09/2023   MMM5 Correspond with M. Micheli regarding                 4.90   1,750.00   8,575.00
                   Imerys bankruptcy and open issues (.3);
                   review plan support agreement, TDPs, and
                   plan (2.8); create open issues list regarding
                   same in advance of meeting with ad hoc
                   committee (1.8)
 05/09/2023   MM53       Review and revise plan.                        1.70   1,650.00   2,805.00
 05/09/2023   MM53       Revise pleading in support of disclosure       1.30   1,650.00   2,145.00
                         statement scheduling timeline.
 05/09/2023   MM53       Revise draft trust distribution procedures.    0.50   1,650.00     825.00
 05/09/2023   MM53       Draft summary chart of plan issues.            2.00   1,650.00   3,300.00
 05/09/2023   SL38       Analyze authority for response to              3.10   1,270.00   3,937.00
                         scheduling motion.
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 05/09/2023   SL38       Draft parts of response to scheduling             4.90   1,270.00   6,223.00
                         motion objection.
 05/09/2023   SL38       Review and analyze draft solicitation             0.30   1,270.00     381.00
                         procedures.
 05/10/2023   AM50       Review draft plan of reorganization (1.2);        2.20   1,725.00   3,795.00
                         review issues list regarding same (.5); review
                         revised TDP (.5)
 05/10/2023   JM63       Review plan issues and issues list (.8);          2.90   1,125.00   3,262.50
                         correspond with M. Micheli re plan issues
                         (.3); review and revise plan issues call notes
                         (.2); attend call with M. Micheli re plan
                         issues (.5); review and revise plan issues
                         chart (.9); correspond with M. Micheli and
                         S. Lawand re same (.2).
 05/10/2023   KH18       Analyze and comment on plan issues and            1.00   2,075.00   2,075.00
                         next steps
 05/10/2023   LM20       Analyze case law on exculpation clauses in        4.70    855.00    4,018.50
                         plans of reorganization (2.1); prepare parts
                         of response to objection to motion for
                         scheduling disclosure statement hearing
                         (1.6); analyze authority re same (.7);
                         Correspond with S. Lawand re same (.2)
 05/10/2023   MMM5 Case update call with M. Micheli and D.                 0.30   1,750.00     525.00
                   Pietro at Jones Day re plan
 05/10/2023   MMM5 Attend call with Ad Hoc Group regarding                 0.90   1,750.00   1,575.00
                   next steps on plan (.5); review and edit plan
                   issues list (.4)
 05/10/2023   MM53       Telephone conference with M. Murphy and           0.30   1,650.00     495.00
                         D. Prieto regarding plan matters.
 05/10/2023   MM53       Review funding agreement and plan                 0.20   1,650.00     330.00
                         support agreement.
 05/10/2023   MM53       Review plan process matters.                      0.20   1,650.00     330.00
 05/10/2023   MM53       Continue to draft summary chart of plan           1.00   1,650.00   1,650.00
                         issues.
 05/10/2023   MM53       Telephone conference with J. McMillan             0.50   1,650.00     825.00
                         regarding plan term sheet.
 05/10/2023   MM53       Draft summary chart of plan issues to be          2.10   1,650.00   3,465.00
                         shared with Debtor.
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 05/10/2023   SL38       Analyze and comment on draft disclosure         5.10   1,270.00   6,477.00
                         statement, plan, and PSA.
 05/10/2023   SL38       Draft parts of response to scheduling           1.20   1,270.00   1,524.00
                         motion.
 05/10/2023   SL38       Analyze case law and statutory authority        3.60   1,270.00   4,572.00
                         regarding voting and solicitation issues.
 05/10/2023   SL38       Review case findings on solicitation.           0.40   1,270.00     508.00
 05/11/2023   AM50       Participate on calls with M. Micheli and        3.20   1,725.00   5,520.00
                         clients regarding case matters and TDP
                         (2.0); review and comment on draft TDPs
                         (1.2)
 05/11/2023   AM50       Review draft plan and plan issues list          1.00   1,725.00   1,725.00
 05/11/2023   JM63       Attend meeting with Jones Day, M. Micheli,      3.00   1,125.00   3,375.00
                         and M. Murphy re plan issues (1.2);
                         correspond with M. Micheli re comments
                         on plan issues list (.1); review and revise
                         plan issues list (.8); correspond with M.
                         Micheli re same (.1); review and comment
                         on LTL solicitation procedures (.8)
 05/11/2023   KH18       Analysis of TDP open issues (1.2)               1.90   2,075.00   3,942.50
                         correspond with Ad Hoc Member regarding
                         plan and TDP issues (.7)
 05/11/2023   LM20       Revise reply in support of motion to            1.80    855.00    1,539.00
                         schedule disclosure statement hearing (1.4);
                         correspond with S. Lawand re same (.4)
 05/11/2023   LS27       Call with M. Micheli regarding LTL plan         5.50    855.00    4,702.50
                         (.2); analyze mass tort cases regarding
                         direct/indirect personal injury claims and
                         protected parties to inform LTL plan
                         structure (3.2); prepare memo regarding
                         same (2.1)
 05/11/2023   MMM5 Review and edit response to objection to              0.60   1,750.00   1,050.00
                   disclosure statement scheduling
 05/11/2023   MMM5 Attend call with S. Van Aalten, M. Micheli,           1.40   1,750.00   2,450.00
                   J. McMillan, D. Prieto and B. Erens Jones
                   Day to discuss plan issues (1.2); telephone
                   conference with L. Parkins, C. Rubio and
                   M. Micheli regarding TDP and plan issues
                   (.2)
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 05/11/2023   MM53       Correspond with M. Murphy regarding plan         0.20   1,650.00     330.00
                         and case matters.
 05/11/2023   MM53       Draft summary chart of plan issues.              1.80   1,650.00   2,970.00
 05/11/2023   MM53       Call with L. Simpson regarding LTL plan.         0.20   1,650.00     330.00
 05/11/2023   MM53       Telephone conference with S. Van Aalten,         1.20   1,650.00   1,980.00
                         J. McMillan, M. Murphy, D. Prieto and B.
                         Erens regarding plan matters.
 05/11/2023   MM53       Telephone conference with L. Parkins, C.         0.20   1,650.00     330.00
                         Rubio and M. Murphy regarding TDP and
                         plan issues.
 05/11/2023   MM53       Review and comment on plan process               0.30   1,650.00     495.00
                         matters.
 05/11/2023   SL38       Draft inserts to response to scheduling          0.70   1,270.00     889.00
                         objection.
 05/11/2023   SL38       Analyze case law and statutory authority in      1.60   1,270.00   2,032.00
                         support of response to scheduling
                         objection.
 05/12/2023   JM63       Correspond with L. Miliotes re plan              5.20   1,125.00   5,850.00
                         documents (.3); review and revise
                         solicitation procedures, order and exhibits
                         (3.1); attend call with M. Micheli re same
                         (.6); correspond with M. Murphy and M.
                         Micheli re plan issues chart (.2); review and
                         revise plan issues chart (1.0).
 05/12/2023   KH18       Review and comment on plan and TDP               1.00   2,075.00   2,075.00
                         (.4); Call with M. Murphy and M. Micheli
                         regarding same (.6)
 05/12/2023   LM20       Analyze voting procedures in mass tort           1.30    855.00    1,111.50
                         cases (1.2); correspond with J. McMillan re
                         same (.1)
 05/12/2023   LM20       Prepare parts of reply in support of motion      2.10    855.00    1,795.50
                         to schedule disclosure statement hearing
                         (1.2); analyze case law re same (.5);
                         correspond with S. Lawand re same (.4)
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 Date         Initials   Description                                    Hours      Rate    Amount
 05/12/2023   LS27       Analyze mass tort cases and related             5.00    855.00    4,275.00
                         direct/indirect personal injury claims and
                         protected parties (2.8); draft memo
                         regarding findings (2.0); correspond with M.
                         Micheli regarding same (.2)
 05/12/2023   MMM5 Call with M. Micheli and K. Hansen                    2.50   1,750.00   4,375.00
                   regarding TDPs and next steps (.6); further
                   calls with M. Micheli regarding plan, TDPs,
                   and plan issues list (1.0); correspond with
                   M. Micheli regarding same (.1); telephone
                   calls with S. Van Aalten regarding TDPs
                   and next steps (.5); call with M. Micheli and
                   S. Van Aalten regarding same (.3)
 05/12/2023   MM53       Telephone conference with M. Murphy and         0.30   1,650.00     495.00
                         S. Van Aalten regarding plan process.
 05/12/2023   MM53       Telephone conference with M. Murphy and         0.60   1,650.00     990.00
                         K. Hansen regarding plan process.
 05/12/2023   MM53       Telephone conference with S. Higgins            0.20   1,650.00     330.00
                         regarding trust distribution procedures.
 05/12/2023   MM53       Analyze and comment on plan matters.            0.60   1,650.00     990.00
 05/12/2023   MM53       Telephone conferences with M. Murphy            1.00   1,650.00   1,650.00
                         regarding plan matters.
 05/12/2023   MM53       Review and comment on plan support              0.40   1,650.00     660.00
                         agreements.
 05/12/2023   MM53       Revise pleading in support of disclosure        0.50   1,650.00     825.00
                         statement scheduling timeline.
 05/12/2023   MM53       Telephone conference with J. McMillan           0.60   1,650.00     990.00
                         regarding solicitation procedures.
 05/12/2023   MM53       Revise trust distribution procedures.           0.40   1,650.00     660.00
 05/12/2023   MM57       Review and compare terms of PSAs (1.2);         1.30    540.00      702.00
                         correspond with L. Miliotes re: same (.1)
 05/12/2023   MM57       Correspond with J. McMillan re: solicitation    0.60    540.00      324.00
                         procedures (.1); research re same (.5)
 05/12/2023   SL38       Review and revise reply and statement in        0.30   1,270.00     381.00
                         support of disclosure statement scheduling
                         motion.
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 05/12/2023   WKW        Review draft response to TCC scheduling          0.80   1,650.00    1,320.00
                         motion objection regarding disclosure
                         statement
 05/13/2023   AM50       Review Debtor version of TDP (1.3);              1.50   1,725.00    2,587.50
                         correspond with M. Micheli and M. Murphy
                         on same (.2)
 05/13/2023   JM63       Review and revise solicitation procedures,       7.30   1,125.00    8,212.50
                         order and exhibits (1.8); correspond with M.
                         Micheli, clients, and M. Murphy re same
                         (.5); attend calls with M. Micheli re
                         solicitation procedures and plan issues (.8);
                         draft summary of solicitation issues (.6);
                         correspond with M. Micheli and M. Murphy
                         re same (.2); review and revise plan issues
                         list (3.0); correspond with M. Micheli and
                         Parkins & Rubio re solicitation procedures
                         (.2); attend call with Parkins & Rubio re
                         solicitation procedures (.2)
 05/13/2023   LM20       Analyze equitable mootness doctrine and          7.20    855.00     6,156.00
                         related case law (5.4); prepare summary of
                         findings (1.3); correspond with S. Lawand
                         re same (.5).
 05/13/2023   MMM5 Call with S. Heard and Ad Hoc Committee               13.90   1,750.00   24,325.00
                   member regarding filed plan and TDP (.8);
                   telephone call with Ad Hoc Committee
                   regarding TDPs (.8); correspond with Ad
                   Hoc Committee regarding same ( .3); review
                   TDPs (4.5); review and edit plan and plan
                   issues list (3.7 ); analyze related authority
                   and precedents (1.3); calls with M. Micheli
                   and J. McMillan regarding same and
                   solicitation procedures (.8); further calls
                   with M. Micheli regarding plan and TDP
                   (.8); call with Ad Hoc Committee regarding
                   same (.5); correspond with Ad Hoc
                   Committee regarding same ( 4)
 05/13/2023   MM53       Revise draft trust distribution procedures.      1.60   1,650.00    2,640.00
 05/13/2023   MM53       Analyze mass tort plan issues and related        3.30   1,650.00    5,445.00
                         case law and precedents.
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 05/13/2023   MM53       Review and revise solicitation procedures      0.40   1,650.00     660.00
                         pleadings.
 05/13/2023   MM53       Telephone conferences with M. Murphy           1.60   1,650.00   2,640.00
                         regarding plan and TDP matters (.8);
                         Telephone conferences with M. Murphy
                         and J. McMillan re same (.8)
 05/13/2023   MM53       Draft parts of and revisions to plan.          4.30   1,650.00   7,095.00
 05/13/2023   MM53       Revise and update summary chart of plan        0.70   1,650.00   1,155.00
                         issues.
 05/13/2023   SL38       Analyze section 524(g) issues and related      5.20   1,270.00   6,604.00
                         case law
 05/13/2023   SL38       Analyze equitable mootness issues and          3.70   1,270.00   4,699.00
                         related case law
 05/13/2023   SAH1       Call with M. Murphy and Ad Hoc                 0.80   1,625.00   1,300.00
                         Committee member regarding plan filing
                         and TDP
 05/14/2023   AM50       Review and comment on revised TDP.             1.50   1,725.00   2,587.50
 05/14/2023   JM63       Review and comment on disclosure               3.30   1,125.00   3,712.50
                         statement (.7); correspond with S. Lawand
                         re same (.1); correspond with M. Micheli re
                         plan issues list and plan (.2); correspond
                         with M. Micheli, M. Murphy, Jones Day,
                         and Parkins & Rubio re solicitation
                         procedures (.3); review and revise plan
                         issues chart (1.5); correspond with M.
                         Murphy, K. Hansen M. Micheli, and
                         SteerCo re same (.5)
 05/14/2023   KH18       Analyze and comment on TDP (1.1);              1.50   2,075.00   3,112.50
                         correspond with Ad Hoc Members
                         regarding same (.3); Call with M. Murphy
                         and M. Micheli re same (.1)
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 Date         Initials   Description                                     Hours      Rate    Amount
 05/14/2023   MMM5 Review and revise plan and disclosure                  4.90   1,750.00   8,575.00
                   statement (1.1); calls with M. Micheli
                   regarding same (1.0); call with Ad Hoc
                   Committee member and M. Micheli
                   regarding same (.3); call with M. Micheli
                   regarding TDP (.2); call with K. Hansen and
                   M. Micheli regarding plan update (.1);
                   telephone call with D. Prieto (Jones Day)
                   and M. Micheli regarding plan issues (.4);
                   review TDPs (1.4); correspond with Ad
                   Hoc Group regarding solicitation
                   procedures (.2); comment on draft
                   correspondence to Ad Hoc Group with
                   regard to plan (.2)
 05/14/2023   MM53       Draft parts of trust distribution procedures.    1.70   1,650.00   2,805.00
 05/14/2023   MM53       Telephone conference with M. Murphy              0.20   1,650.00     330.00
                         regarding TDP.
 05/14/2023   MM53       Analyze mass tort plan issues and related        0.60   1,650.00     990.00
                         case law
 05/14/2023   MM53       Telephone conference with M. Murphy and          0.10   1,650.00     165.00
                         K. Hansen regarding plan update
 05/14/2023   MM53       Telephone conferences with M. Murphy             0.70   1,650.00   1,155.00
                         regarding plan.
 05/14/2023   MM53       Draft revisions and updates to summary           0.60   1,650.00     990.00
                         chart of plan issues.
 05/14/2023   MM53       Telephone conference with M. Murphy and          0.30   1,650.00     495.00
                         Ad Hoc Committee member regarding plan
                         matters.
 05/14/2023   MM53       Telephone conference with M. Murphy and          0.40   1,650.00     660.00
                         D. Prieto regarding plan.
 05/14/2023   MM53       Review and revise disclosure statement.          1.20   1,650.00   1,980.00
 05/14/2023   MM53       Telephone conference with M. Murphy              0.30   1,650.00     495.00
                         regarding plan and disclosure statement
                         matters.
 05/14/2023   SL38       Analyze and prepare notes regarding              2.50   1,270.00   3,175.00
                         equitable mootness issues and related case
                         law
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 05/14/2023   SL38       Analyze and provide comments to plan               6.90   1,270.00   8,763.00
                         (3.2); analyze and provide comments to
                         disclosure statement (3.7)
 05/15/2023   AM50       Review emails from M. Micheli and M.               0.80   1,725.00   1,380.00
                         Murphy re TDP and plan issues
 05/15/2023   JM63       Correspond with M. Micheli and L. Miliotes         1.20   1,125.00   1,350.00
                         re LTL 1 research on New Mexico litigation
                         outcome (.3); attend call with L. Miliotes re
                         New Mexico litigation outcome in LTL 1
                         (.3); review outcome of New Mexico
                         litigation in LTL 1 (.6)
 05/15/2023   JM63       Calls with M. Micheli re revisions to plan         5.30   1,125.00   5,962.50
                         issues list (.6); review and revise plan issues
                         list (.7); correspond with M. Micheli, M.
                         Murphy, K. Hansen, and SteerCo RE same
                         (.3); correspond with R. Montefusco and L.
                         Miliotes re plan and TDP (.3); review
                         revised solicitation procedures directive
                         from Jones Day (.3); attend call with M.
                         Micheli, and Parkins & Rubio re same (.2);
                         attend call with Jones Day and M. Micheli
                         re revisions to solicitation procedures (.2);
                         review and mark up solicitation procedures
                         (1.9); correspond with M. Micheli and
                         Parkins & Rubio re same (.4); review filed
                         plan (.4)
 05/15/2023   JM63       Analyze issue related to common benefit            0.50   1,125.00     562.50
                         fund payments in plans (.4); correspond
                         with L. Miliotes re same (.1)
 05/15/2023   KH18       Review plan and TDP (2.2); Attend meeting          3.60   2,075.00   7,470.00
                         with Ad Hoc Members regarding same
                         (1.0); Attend meeting with M. Micheli, M.
                         Murphy, S. Heard and L. Miliotes regarding
                         same (.4)
 05/15/2023   LM20       Attend portion of call with K. Hansen, M.          0.30    855.00      256.50
                         Murphy, and M. Micheli re plan and
                         disclosure statement updates
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 05/15/2023   LM20       Analyze prior filings in LTL 1.0 and prior     1.70    855.00     1,453.50
                         state actions to inform plan and disclosure
                         statement negotiations (1.4); call with J.
                         McMillan re same (.3).
 05/15/2023   MMM5 Telephone call with D. Prieto (Jones Day)            7.90   1,750.00   13,825.00
                   regarding open plan and solicitation issues
                   (.4); attend call with D. Prieto, J. Murdica,
                   and M. Micheli regarding open plan issues
                   (.3); continue to review and edit plan,
                   proposed changes, and issues list (1.7);
                   review findings regarding LTL1 and related
                   rulings (.6); review revised TDP (.8);
                   telephone calls with Jones Day regarding
                   potential resolution of open issues (1.2);
                   correspond with Ad Hoc Group regarding
                   same (.8); review filed plan (1.2); update
                   plan issues list (.5); call with K. Hansen, M.
                   Micheli, L. Miliotes regarding plan updates
                   (.4)
 05/15/2023   MM53       Analyze and comment on revised drafts of       0.40   1,650.00     660.00
                         trust distribution procedures.
 05/15/2023   MM53       Analyze open plan issues (2.8); prepare        3.40   1,650.00    5,610.00
                         notes regarding same (.6)
 05/15/2023   MM53       Analyze mass tort plan issues and related      0.50   1,650.00     825.00
                         precedents
 05/15/2023   MM53       Telephone conference with M. Murphy, K.        0.40   1,650.00     660.00
                         Hansen, S. Heard, and L. Miliotes regarding
                         plan update
 05/15/2023   MM53       Supplement summary chart of plan issues        0.90   1,650.00    1,485.00
                         based on plan revisions.
 05/15/2023   MM53       Telephone conference with C. Rubio and L.      0.20   1,650.00     330.00
                         Parkins regarding TDP.
 05/15/2023   MM53       Telephone conference with J. McMillan, C.      0.20   1,650.00     330.00
                         Rubio and L. Parkins regarding solicitation
                         procedures.
 05/15/2023   MM53       Analyze and comment on solicitation            0.40   1,650.00     660.00
                         procedures and revised drafts of same
 05/15/2023   MM53       Telephone conference with J. McMillan          0.60   1,650.00     990.00
                         regarding plan term sheet.
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 05/15/2023   MM53       Telephone conference with J. McMillan and       0.20   1,650.00     330.00
                         G. Ghaul (Jones Day) regarding solicitation
                         procedures.
 05/15/2023   MM53       Attend portion of telephone conference          0.20   1,650.00     330.00
                         with D. Prieto, J. Murdica and M. Murphy
                         regarding plan issues.
 05/15/2023   SAH1       Call with M. Murphy, K. Hansen, M.              0.40   1,625.00     650.00
                         Micheli, and L. Miliotes regarding proposed
                         plan
 05/16/2023   JM63       Review and revise plan issues list (.1);        4.40   1,125.00   4,950.00
                         analyze issues related to common benefit
                         trusts in bankruptcy cases (.9); attend call
                         with ad hoc committee, M. Murphy and M.
                         Micheli re plan and TDP issues (.5);
                         correspond with M. Micheli re revisions to
                         plan issues list (.1); attend call with M.
                         Micheli re Jones Day plan issues list (1.1);
                         review and revise plan issues list (1.4);
                         correspond with M. Murphy, M. Micheli,
                         and SteerCo re same (.3)
 05/16/2023   LM20       Analyze authority on issues related to plan     2.30    855.00    1,966.50
                         confirmation when exclusivity is terminated
                         (1.4); analyze common benefit funds in
                         bankruptcy cases (.9)
 05/16/2023   MMM5 Review and revise plan and TDP issues list            0.40   1,750.00     700.00
 05/16/2023   MM53       Correspond with M. Murphy regarding plan        0.30   1,650.00     495.00
                         issues list and open TDP issues.
 05/16/2023   MM53       Telephone conference with J. McMillan           1.10   1,650.00   1,815.00
                         regarding plan term sheet.
 05/16/2023   MM53       Analyze and comment on revised drafts of        0.60   1,650.00     990.00
                         trust distribution procedures.
 05/16/2023   MM57       Research regarding certain documents            0.30    540.00      162.00
                         regarding disclosure statement and plan of
                         reorganization
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 05/17/2023   JM63       Correspond with M. Micheli and SteerCo re          2.70   1,125.00   3,037.50
                         TDPs (.3); attend call with Parkins & Rubio
                         re TDPs (.1); review and revise plan issues
                         list and TDP issues list (1.2); correspond
                         with M. Micheli, SteerCo, and M. Murphy
                         re same (.3); draft email to Jones Day re
                         plan issues list (.2); correspond with L.
                         Miliotes re SteerCo plan and TDP issues list
                         call (.1); review solicitation case findings in
                         preparation for call on solicitation
                         procedures (.4); correspond with M. Micheli
                         re same (.1)
 05/17/2023   KH18       Analyze and comment on plan and TDP                2.10   2,075.00   4,357.50
                         (1.5); correspond with Ad Hoc Members
                         regarding same (.6)
 05/17/2023   LM20       Research and analyze plan exclusivity and          1.50    855.00    1,282.50
                         solicitation with respect to multiple plans
 05/17/2023   MMM5 Review TDP issues list (.7); prepare outline             2.20   1,750.00   3,850.00
                   for call with Jones Day to review plan and
                   TDP issues (.2); attend call with M. Micheli,
                   Jones Day regarding plan and TDP issues
                   (.9); finalize updated draft of plan and TDP
                   issues list (.4)
 05/17/2023   MM53       Analyze authority regarding competing              0.40   1,650.00     660.00
                         plans.
 05/17/2023   MM53       Telephone conference with M. Murphy and            0.90   1,650.00   1,485.00
                         D. Prieto regarding plan.
 05/17/2023   MM53       Draft revisions and updates to summary             0.30   1,650.00     495.00
                         chart of plan issues based on plan revisions.
 05/17/2023   MM53       Revise trust distribution procedures.              0.20   1,650.00     330.00
 05/18/2023   JM63       Correspond with M. Micheli re solicitation         4.90   1,125.00   5,512.50
                         procedures (.1); analyze common benefit
                         funds in bankruptcy cases for plan purposes
                         (3.4); draft summary of findings (1.4)
 05/18/2023   JM63       Review mediation order and draft summary           1.30   1,125.00   1,462.50
                         (.5); correspond with M. Micheli re same
                         (.2); draft email to mediators re introduction
                         (.4); correspond with M. Micheli and M.
                         Murphy re draft email to mediators (.2)
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 Date         Initials   Description                                     Hours      Rate    Amount
 05/18/2023   KH18       Correspond with Ad Hoc Members                   1.80   2,075.00   3,735.00
                         regarding plan and TDP (.8); analyze and
                         comment on same (1.0)
 05/18/2023   MMM5 Correspond with M. Micheli regarding                   0.40   1,750.00     700.00
                   mediators (.2); review and revise
                   correspondence with the mediators (.2)
 05/18/2023   MM53       Consider and comment on open and                 0.50   1,650.00     825.00
                         disputed plan issues.
 05/18/2023   MM53       Review and outline issues to be discussed at     0.60   1,650.00     990.00
                         mediation.
 05/18/2023   SL38       Review revised plan and disclosure               0.60   1,270.00     762.00
                         statement (.4); analyze same in connection
                         with plan support agreement (.2)
 05/18/2023   SL38       Analyze case law regarding claims exclusion      2.30   1,270.00   2,921.00
                         for voting and distribution purposes.
 05/18/2023   SL38       Review and comment on motion to exclude          0.40   1,270.00     508.00
                         non-ovarian claims.
 05/19/2023   JM63       Review precedent solicitation procedures         3.00   1,125.00   3,375.00
                         for attorney directives and voting by
                         claimants (2.2); correspond with M. Micheli
                         and M. Murphy re draft solicitation
                         procedures (.2)
 05/19/2023   JM63       Analyze issues related to substantial            0.70   1,125.00     787.50
                         contribution and attorneys fees
 05/19/2023   JM63       Further analyze issues related to common         2.40   1,125.00   2,700.00
                         benefit funds in bankruptcy cases (.5); draft
                         summary of findings (.1); Prepare summary
                         of same for M. Murphy and M. Micheli (.4);
                         attend call with M. Micheli re solicitation
                         procedures and common benefit fund
                         findings (.5); review and mark up Jones
                         Day's solicitation procedures and exhibits
                         drafts (.9);
 05/19/2023   KH18       Correspond with Debtor regarding plan            1.20   2,075.00   2,490.00
                         related issues (.9); call with M. Murphy and
                         M. Micheli regarding TDP and plan (.3)
 05/19/2023   MMM5 Review motion to preclude claims filed by              0.40   1,750.00     700.00
                   MRHFM
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 05/19/2023   MMM5 Review case findings regarding solicitation          2.50   1,750.00   4,375.00
                   procedures (.8); review case law and
                   precedents regarding common benefit plans
                   (1.4); call with M. Micheli and K. Hansen re
                   plan settlement (.3)
 05/19/2023   MM53       Telephone conference with M. Murphy and        0.30   1,650.00     495.00
                         K. Hansen regarding plan settlement
                         matters.
 05/19/2023   MM53       Review revised solicitation procedures         0.30   1,650.00     495.00
                         motion and related pleadings.
 05/19/2023   MM53       Supplement issues list for comments to         0.70   1,650.00   1,155.00
                         disclosure statement.
 05/19/2023   MM53       Telephone conference with J. McMillan          0.50   1,650.00     825.00
                         regarding common benefit case law and
                         plan issues.
 05/19/2023   MM53       Review case findings on common benefit         0.40   1,650.00     660.00
                         fund issues.
 05/19/2023   MM53       Correspond with M. Murphy to prep for          0.20   1,650.00     330.00
                         Steering Committee meeting.
 05/19/2023   MM53       Analyze items to be addressed at mediation     0.40   1,650.00     660.00
                         for plan and trust distribution procedures.
 05/19/2023   WKW        Review draft solicitation orders and           1.20   1,650.00   1,980.00
                         procedures exhibits
 05/20/2023   MM53       Correspond with K. Hansen regarding            0.10   1,650.00     165.00
                         mediation and open plan issues.
 05/21/2023   LM20       Analyze solicitation procedures in             2.00    855.00    1,710.00
                         connection with precedent plans of
                         reorganization
 05/21/2023   MM53       Draft revisions and updates to summary         0.80   1,650.00   1,320.00
                         chart of plan and trust distribution
                         procedures in preparation for meeting with
                         Debtor
 05/21/2023   MM53       Analyze revised solicitation procedures        0.30   1,650.00     495.00
                         motion and related pleadings.
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 05/22/2023   JM63       Review and mark up Jones Day's                   7.10   1,125.00   7,987.50
                         solicitation procedures (1.7); attend meeting
                         with SteerCo and Jones Day re plan and
                         TDP issues list (2.0); correspond with M.
                         Micheli, Parkins & Rubio and Cole Schotz
                         re plan and TDP issues list (.5); review and
                         revise notes from Jones Day and SteerCo
                         meeting re plan and TDP issues (.4); review
                         and revise plan and TDP issues list (2.1);
                         attend call with M. Micheli re plan and TDP
                         issues list (.4)
 05/22/2023   KH18       Call with Jones Day, M. Micheli and M.           1.20   2,075.00   2,490.00
                         Murphy regarding plan ad TDP issues (.2);
                         correspond with Steering Committee
                         regarding TDP (1.0)
 05/22/2023   MMM5 Telephone call with M. Micheli regarding               3.60   1,750.00   6,300.00
                   open issues in the plan and TDPs (.3);
                   attend call with Jones Day regarding plan
                   and TDPs (.5); attend call with debtor and
                   its advisors regarding TDPs (2.0); review
                   and revise form letter of support for plan
                   (.4); Correspond with M. Micheli regarding
                   TDPs and next steps (.2)
 05/22/2023   MM53       Telephone conference with M. Murphy and          0.20   1,650.00     330.00
                         D. Prieto regarding TDP and plan issues
                         list.
 05/22/2023   MM53       Call with M. Murphy regarding open TDP           0.30   1,650.00     495.00
                         issues.
 05/22/2023   MM53       Telephone conference with Steering               2.00   1,650.00   3,300.00
                         Committee, E. Haas, J. Murdica, K.
                         Loundsbury, D. Prieto, M. Murphy, J.
                         Alberto, S. Van Aalten and J. McMillan
                         regarding trust distribution procedures and
                         plan issues.
 05/22/2023   MM53       Revise and update summary of plan issues         1.00   1,650.00   1,650.00
                         and trust distribution procedures in
                         preparation for meeting with Debtor.
 05/22/2023   MM53       Telephone conference with J. McMillan            0.40   1,650.00     660.00
                         regarding updated list of trust distribution
                         procedures.
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 05/22/2023   MM53       Analyze types of cancer claims in                 0.20   1,650.00     330.00
                         connection with plan
 05/22/2023   SL38       Analyze plan voting and distribution issues       1.10   1,270.00   1,397.00
                         and related authority
 05/23/2023   JM63       Review and revise plan and TDP issues list        3.10   1,125.00   3,487.50
                         (1.0); review and revise mediation version
                         of plan and TDP issues list (.7); correspond
                         with M. Micheli re same (.6); draft email to
                         clients, Parkins & Rubio, and Cole Schotz
                         re plan and TDP issues list (.2); Call with M.
                         Micheli re same (.4); correspond with Cole
                         Schotz, M. Micheli, M. Murphy and Parkins
                         & Rubio re mediation version of the plan
                         and TDP issues list (.2)
 05/23/2023   KH18       Analyze and comment on plan issues (.3);          0.50   2,075.00   1,037.50
                         correspond with ad hoc members regarding
                         same (.2)
 05/23/2023   MMM5 Review and revise summary of issues with                1.00   1,750.00   1,750.00
                   plan and TDP (.7); telephone call with M.
                   Micheli regarding same (.3)
 05/23/2023   MM53       Revise and update summary chart of plan           1.40   1,650.00   2,310.00
                         issues and trust distribution procedures in
                         preparation for meeting with Debtor.
 05/23/2023   MM53       Telephone conferences with J. McMillan            0.40   1,650.00     660.00
                         regarding plan and trust distribution
                         procedures summary issues list.
 05/23/2023   MM53       Telephone conference with M. Murphy               0.30   1,650.00     495.00
                         regarding discovery matters and open plan
                         and trust distribution provisions.
 05/24/2023   JM63       Review and mark up Jones Day draft                3.90   1,125.00   4,387.50
                         solicitation procedures and related exhibits
                         (1.8)); attend mediation with K. Hansen, M.
                         Murphy, and M. Micheli, mediators, and Ad
                         Hoc Committee re plan and TDP issues
                         (2.1)
 05/24/2023   KH18       Participate in mediation call with M.             3.80   2,075.00   7,885.00
                         Murphy, M. Micheli, and J. McMillan;
                         mediators, and clients (2.1); review certain
                         submissions to prepare for same (1.7)
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 05/24/2023   MMM5 Prepare outline of issues for mediation (.7);        2.80   1,750.00   4,900.00
                   attend mediation call with K. Hansen, M.
                   Micheli, and J. McMillan (2.1)
 05/24/2023   MMM5 Review revised solicitation procedures and           1.30   1,750.00   2,275.00
                   precedent
 05/24/2023   MMM5 Telephone call with M. Micheli regarding             0.10   1,750.00     175.00
                   mediation
 05/24/2023   MM53       Attend mediation with Steering Committee,      2.10   1,650.00   3,465.00
                         mediators, K. Hansen, M. Murphy, J.
                         McMillan, C. Rubio, L. Parkins J. Alberto,
                         S. Van Aalten and J. McMillan regarding
                         trust distribution procedures and plan
                         issues.
 05/24/2023   MM53       Review motion to preclude votes (.3); draft    0.50   1,650.00     825.00
                         notes regarding response to same (.2)
 05/24/2023   MM53       Draft summary of talking points and agenda     0.70   1,650.00   1,155.00
                         for mediation.
 05/24/2023   MM53       Revise and update summary chart of plan        0.50   1,650.00     825.00
                         issues and trust distribution procedures in
                         preparation for meeting with Debtor.
 05/24/2023   MM53       Telephone conference with M. Murphy            0.10   1,650.00     165.00
                         regarding mediation.
 05/24/2023   MJ1        Review and analyze issues, documents           1.60   1,235.00   1,976.00
                         regarding plan (1.3); correspond with M.
                         Micheli regarding same (.3)
 05/25/2023   JM63       Review amended appointment of co-              1.10   1,125.00   1,237.50
                         mediators order (.5); draft summary re same
                         (.3); correspond with M. Micheli, K. Hansen
                         and L. Miliotes re same (.3)
 05/25/2023   KH18       Mediation follow up call with M. Micheli       3.50   2,075.00   7,262.50
                         and M. Murphy (.2); review and comment
                         on plan and TDP (2.2); Telephone
                         conference with D. Prieto, M. Murphy, M.
                         Micheli and regarding plan and trust
                         distribution procedures (.8).
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 05/25/2023   MMM5 Review correspondence from SteerCo                    1.20   1,750.00   2,100.00
                   regarding plan (.2); attend call with Jones
                   Day to discuss open issues with plan and
                   TDP and next steps (.8); call with K.
                   Hansen and M. Micheli re mediation (.2)
 05/25/2023   MM53       Review unresolved plan issues for call with     0.40   1,650.00     660.00
                         Jones Day.
 05/25/2023   MM53       Draft revisions and updates to summary          0.50   1,650.00     825.00
                         chart of plan issues and trust distribution
                         procedures in preparation for meeting with
                         Debtor.
 05/25/2023   MM53       Draft summary memorandum to Steering            0.20   1,650.00     330.00
                         Committee re meeting with Debtors on
                         plan and trust distribution procedures.
 05/25/2023   MM53       Call with M. Murphy and K. Hansen               0.20   1,650.00     330.00
                         regarding mediation and objection to
                         motions to dismiss.
 05/25/2023   MM53       Analyze open settlement items based on          0.80   1,650.00   1,320.00
                         mediation discussion.
 05/25/2023   MM53       Telephone conference with D. Prieto, K.         0.80   1,650.00   1,320.00
                         Hansen, M. Murphy regarding plan and
                         trust distribution procedures.
 05/25/2023   MM53       Telephone conference with S. Lawand             0.60   1,650.00     990.00
                         regarding objection to motion to preclude
                         votes.
 05/25/2023   SL38       Attend call with M. Micheli regarding           0.60   1,270.00     762.00
                         motion to exclude nonovarian claims.
 05/25/2023   SL38       Analyze case law and statutory authority for    3.80   1,270.00   4,826.00
                         response to motion to exclude nonovarian
                         claims.
 05/25/2023   WKW        Review ad hoc committee member                  0.20   1,650.00     330.00
                         correspondence with mediator and counsel
                         regarding support for plan
 05/26/2023   KH18       Analyze next steps in mediation (.6);           1.00   2,075.00   2,075.00
                         correspond with ad hoc members regarding
                         mediation (.4)
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 05/28/2023   KH18       Analyze mediation related issues (.9);           1.00   2,075.00    2,075.00
                         prepare notes regarding next steps in
                         mediation (.1)
 05/28/2023   SL38       Draft objection to motion to exclude             2.60   1,270.00    3,302.00
                         nonovarian claims.
 05/28/2023   SL38       Analyze case law and statutory authority         6.40   1,270.00    8,128.00
                         regarding voting, distribution, claims
                         allowance, and plan objection issues (4.2);
                         draft summary of findings re same (2.2)
 05/28/2023   SL38       Analyze case law and statutory authority         2.80   1,270.00    3,556.00
                         regarding procedural objections to motion
                         to exclude nonovarian claims.
 05/29/2023   SL38       Analyze authority in support of objection to     8.90   1,270.00   11,303.00
                         motion to exclude nonovarian claims (4.1);
                         Draft objection re same (4.8)
 05/30/2023   JM63       Correspond with M. Micheli re revisions to       0.80   1,125.00     900.00
                         plan and TDP issues list (.3); correspond
                         with M. Micheli re plan and TDP issues list
                         call with Jones Day and Barnes
                         &Thornburg (.2); review and revise Parkins
                         & Rubio plan and TDP issues list (.3)
 05/30/2023   LM20       Review precedent pleadings on substantive        0.50    855.00      427.50
                         consolidation
 05/30/2023   MMM5 Telephone call with M. Micheli regarding               0.40   1,750.00     700.00
                   TDPs (.2); telephone call with M. Micheli
                   and K. Hansen regarding TDPs (.2)
 05/30/2023   MM53       Correspond with K. Hansen and C. Rubio           0.10   1,650.00     165.00
                         regarding trust distribution procedures
 05/30/2023   MM53       Telephone conference with M. Murphy and          0.20   1,650.00     330.00
                         K. Hansen regarding trust distribution
                         procedures and plan issues.
 05/30/2023   MM53       Draft revisions and updates to summary of        1.40   1,650.00    2,310.00
                         plan issues and trust distribution procedures
                         in preparation for meeting with steering
                         committee.
 05/30/2023   SL38       Analyze claims allowance processes under         6.40   1,270.00    8,128.00
                         section 524(g)
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 05/30/2023     SL38       Draft objection to motion to exclude                    2.30    1,270.00        2,921.00
                           nonovarian claims.
 05/31/2023     JM63       Review and revise plan issues list (1.1);               1.20    1,125.00        1,350.00
                           correspond with M. Micheli re same (.1)
 05/31/2023     MM53       Review revisions and updates to summary                 0.30    1,650.00          495.00
                           of plan issues and trust distribution
                           procedures based on comments from
                           SteerCo members
 05/31/2023     RM30       Analyze Purdue decision re third party                  0.60    1,600.00          960.00
                           releases
                Subtotal: B320 Plan and Disclosure Statement                    460.60                   661,590.50
                          (including Business Plan)



        Total                                                                  1,522.50                 2,181,878.50

                                                 Timekeeper Summary

 ID      Timekeeper Name                 Title                      Hours                 Rate                  Fee
 KH18    Kris Hansen                     Partner                    100.50           2,075.00             208,537.50
 KP17    Ken Pasquale                    Partner                       23.00         1,875.00              43,125.00
 MMM5 Matt M. Murphy                     Partner                    166.70           1,750.00             291,725.00
 AM50    Allison Miller                  Partner                       27.40         1,725.00              47,265.00
 WKW     William K. Whitner              Partner                       65.80         1,650.00             108,570.00
 SAH1    Scott A. Heard                  Partner                        8.50         1,625.00              13,812.50
 MM53    Matthew Micheli                 Of Counsel                 223.20           1,650.00             368,280.00
 RM30    Ryan Montefusco                 Of Counsel                 209.30           1,600.00             334,880.00
 GS15    Gary Silber                     Of Counsel                     1.50         1,600.00               2,400.00
 KAT2    Katherine A. Traxler            Of Counsel                     1.40         1,025.00               1,435.00
 MW22    Michael C. Whalen               Associate                     72.10         1,320.00              95,172.00
 AHW1    Abigail H. Wald                 Associate                     40.50         1,290.00              52,245.00
 SL38    Sam Lawand                      Associate                  178.80           1,270.00             227,076.00
 MJ1     Mike Jones                      Associate                      1.60         1,235.00               1,976.00
 WCF     Will C. Farmer                  Associate                     27.50         1,235.00              33,962.50
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 JM63    Jillian A. McMillan     Associate              180.00       1,125.00      202,500.00
 AG29    Angelika S. Glogowski   Associate                6.20        915.00         5,673.00
 LS27    Louise Simpson          Associate               10.50        855.00         8,977.50
 LM20    Lanie Miliotes          Associate              121.10        855.00       103,540.50
 MM57    Michael Magzamen        Paralegal               56.50        540.00        30,510.00
 DM26    David Mohamed           Paralegal                0.40        540.00          216.00

 Costs incurred and advanced

 Date        Description                                         Quantity   Rate     Amount
 05/05/2023 Photocopy Charges                                     183.00    0.08       14.64
 05/11/2023 Photocopy Charges                                     180.00    0.08       14.40
 05/12/2023 Photocopy Charges                                     642.00    0.08       51.36
 05/16/2023 Photocopy Charges                                    1,005.00   0.08       80.40
 05/01/2023 Westlaw                                                                    50.60
 05/01/2023 Westlaw                                                                    50.60
 05/01/2023 Computer Search (Other)                                                     4.50
 05/02/2023 Local - Meals - Lanie Miliotes; 04/30/2023;                                24.94
            Restaurant: Sweetgreen; City: New York; Lunch;
            Number of people: 1; Weekend meal after working
            4+ hours
 05/02/2023 Local - Meals - Lanie Miliotes; 04/29/2023;                                28.34
            Restaurant: Bondi Sushi; City: New York ; Dinner;
            Number of people: 1; Weekend meal after working
            4+ hours
 05/02/2023 Westlaw                                                                   202.42
 05/02/2023 Westlaw                                                                    56.29
 05/03/2023 Lexis/On Line Search                                                       25.84
 05/03/2023 Lexis/On Line Search                                                       74.40
 05/03/2023 Lexis/On Line Search                                                       77.53
 05/03/2023 Westlaw                                                                   423.86
 05/03/2023 Westlaw                                                                   513.89
 05/04/2023 Westlaw                                                                   125.96
 05/04/2023 Westlaw                                                                   524.48
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 05/04/2023 Computer Search (Other)                                          41.13
 05/05/2023 Local - Meals - Sam Lawand; 04/27/2023;                          34.57
            Restaurant: Uber Eats; City: New York ; Dinner;
            Number of people: 1; after-hours dinner expense
 05/05/2023 Westlaw                                                         321.67
 05/05/2023 Computer Search (Other)                                          18.54
 05/06/2023 Lexis/On Line Search                                             24.80
 05/06/2023 Westlaw                                                         151.23
 05/06/2023 Westlaw                                                         202.42
 05/07/2023 Lexis/On Line Search                                             24.80
 05/07/2023 Westlaw                                                         191.43
 05/08/2023 Taxi/Ground Transportation - Vital Transportation               226.24
            Services, Inc. (USD)(JPMSUA); Package; Invoice #
            6053256 dated 05/19/2023; Service Type: Car
 05/08/2023 Westlaw                                                         159.46
 05/08/2023 Westlaw                                                          50.60
 05/08/2023 Computer Search (Other)                                           2.16
 05/08/2023 Computer Search (Other)                                           3.51
 05/09/2023 Local - Meals - Sam Lawand; 05/02/2023;                          34.87
            Restaurant: Midtown West; City: New York;
            Dinner; Number of people: 1; after-hours dinner
            expense
 05/09/2023 Westlaw                                                          50.60
 05/09/2023 Computer Search (Other)                                           3.51
 05/10/2023 Computer Search (Other)                                           0.36
 05/11/2023 Lexis/On Line Search                                             74.40
 05/11/2023 Westlaw                                                          33.54
 05/11/2023 Computer Search (Other)                                          37.17
 05/12/2023 UPS/Courier Service - UPS (USD) (JPMPCARD);                      52.42
            Invoice # 00000A6T163193; 05/12/2023; Kris
            Hansen, Esq..
 05/12/2023 Computer Search (Other)                                          16.56
 05/13/2023 Westlaw                                                         874.01
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 05/15/2023 Computer Search (Other)                                          10.44
 05/16/2023 Local - Meals - Sam Lawand; 05/03/2023;                          34.87
            Restaurant: Dim Sum Palace; City: New York;
            Dinner; Number of people: 1; after-hours work
            meal expense
 05/16/2023 Local - Taxi - Sam Lawand; 05/03/2023; From/To:                  30.96
            office/home; Service Type: Lyft; taxi expense for
            car ride home from late-night work
 05/16/2023 Westlaw                                                         126.51
 05/16/2023 Westlaw                                                          33.34
 05/16/2023 Westlaw                                                          50.60
 05/17/2023 Lexis/On Line Search                                             25.84
 05/17/2023 Westlaw                                                         108.27
 05/17/2023 Westlaw                                                         456.42
 05/17/2023 Computer Search (Other)                                          19.62
 05/18/2023 Westlaw                                                          25.30
 05/18/2023 Westlaw                                                         349.72
 05/18/2023 Computer Search (Other)                                          18.45
 05/19/2023 Westlaw                                                         101.21
 05/19/2023 Westlaw                                                          25.30
 05/19/2023 Computer Search (Other)                                          13.95
 05/20/2023 Lexis/On Line Search                                             24.80
 05/20/2023 Westlaw                                                          50.60
 05/20/2023 Westlaw                                                          72.18
 05/21/2023 Westlaw                                                         192.22
 05/21/2023 Computer Search (Other)                                           1.89
 05/22/2023 Westlaw                                                          75.91
 05/23/2023 Local - Meals - Sam Lawand; 05/10/2023;                          20.00
            Restaurant: Uber Eats; City: New York ; Dinner;
            Number of people: 1; after-hours dinner expense
 05/23/2023 Local - Meals - Sam Lawand; 05/11/2023;                          34.87
            Restaurant: Dim Sum Palace ; City: New York;
            Dinner; Number of people: 1; After-hours dinner
            expense while working on client related matter
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 05/23/2023 Local - Meals - Sam Lawand; 05/09/2023;                             34.92
            Restaurant: Dim Sum Palace; City: New York;
            Dinner; Number of people: 1; after-hours work
            meal expense
 05/23/2023 Lexis/On Line Search                                                51.69
 05/24/2023 Westlaw                                                              7.65
 05/25/2023 Lexis/On Line Search                                                24.80
 05/25/2023 Westlaw                                                            101.21
 05/25/2023 Westlaw                                                            322.26
 05/26/2023 Lexis/On Line Search                                                24.81
 05/26/2023 Lexis/On Line Search                                                77.53
 05/26/2023 Westlaw                                                             50.60
 05/30/2023 Court Reporting Services - Lexitas, Invoice#                     4,692.90
            1448080 Dated 05/30/23, Deposition transcript of
            Majed Nachawati taken on 5/24/2023
 05/30/2023 Westlaw                                                             75.91
 05/31/2023 Local - Meals - Sam Lawand; 05/18/2023;                             34.87
            Restaurant: Dim Sum Palace; City: New York ;
            Dinner; Number of people: 1; after hours work
            meal expense
 Total Costs incurred and advanced                                          $12,376.87

             Current Fees and Costs                                    $2,194,255.37
             Total Balance Due - Due Upon Receipt                      $2,194,255.37
